   24-3296 (L)
                  25-119 (Con)
UNITED STATES COURT OF APPEALS
    FOR THE SECOND CIRCUIT
                 NEWTON’S PHARMACY, INC.,

                                      Plaintiff-Appellant

                                v.

           PROCTOR & GAMBLE COMPANY, ET. AL.,

                                     Defendants-Appellees

          On Appeal from the United States District Court
               For the Eastern District of New York


  PLAINTIFF-APPELLANT NEWTON’S PHARMACY, INC.’S
                    APPENDIX
                   Volume 1 of 6


Joe P. Leniski, Jr.                  Alyson S. Beridon
HERZFELD, SUETHOLZ,                  HERZFELD, SUETHOLZ,
GASTEL, LENISKI AND WALL,            GASTEL, LENISKI AND WALL
PLLC                                 PLLC
223 Rosa L. Parks Avenue, Ste. 300   600 Vine Street, Suite 2720
Nashville, Tennessee 37203           Cincinnati, Ohio 45202
(615) 800-6225                       (513) 381-2224
                            i.

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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT


Date: January 16, 2025                                       DC Docket #: 1:23-md-3089
Docket #: 25-119                                             DC Court: EDNY (BROOKLYN)
Short Title: In Re: Oral Phenylephrine Marketing and Sales   Trial Judge - Brian M. Cogan
Practices Litigation




                        NOTICE OF RECORD ON APPEAL FILED

In the above referenced case the document indicated below has been filed in the Court.

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From:           ecf_bounces@nyed.uscourts.gov
To:             nobody@nyed.uscourts.gov
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                                             U.S. District Court

                                      Eastern District of New York

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Darren T. Kaplan      DKAPLAN@KAPLANGORE.COM

James Lawrence Bernard james.bernard@hoganlovells.com, managing-clerk-
8205@ecf.pacerpro.com, nymanagingclerk@hoganlovells.com

Christopher G. Campbell christopher.campbell@dlapiper.com,
DocketingNewYork@dlapiper.com, jamye.bailey@us.dlapiper.com

Michael A London mlondon@douglasandlondon.com, aaccettella@douglasandlondon.com,
adileo@douglasandlondon.com, dyastrovskaya@douglasandlondon.com,
lferrante@douglasandlondon.com, lgreenberg@douglasandlondon.com,
lmaldonado@douglasandlondon.com, vanello@douglasandlondon.com
                   Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 2 of 130
                                            A-3
Diogenes P. Kekatos       dkekatos@seegerweiss.com

Lindsey H. Taylor       ltaylor@rgrdlaw.com, e_file_fl@rgrdlaw.com, e_file_sd@rgrdlaw.com

Peter Samberg      Psamberg@gmail.com, PSamberg@gmail.com

James E. Cecchi       jcecchi@carellabyrne.com

Jay P. Lefkowitz (Terminated) lefkowitz@kirkland.com,
kenymanagingclerk@kirkland.com

Elizabeth J. Cabraser     ecabraser@lchb.com, elizabeth-cabraser-1441@ecf.pacerpro.com

David R. Buchanan dbuchanan@seegerweiss.com, akarlitz@seegerweiss.com,
cfajardo@seegerweiss.com, gsutton@seegerweiss.com, sdaniel@seegerweiss.com,
skibria@seegerweiss.com

Richard Fama       rfama@cozen.com, richard-fama-4711@ecf.pacerpro.com

Christopher A. Seeger      cseeger@seegerweiss.com

Alexander E. Barnett abarnett@cpmlegal.com, adelavan@cpmlegal.com,
azapala@cpmlegal.com, jverducci@cpmlegal.com, mcaylao@cpmlegal.com,
mgarimella@cpmlegal.com, skong@cpmlegal.com

Michael Robert Reese       mreese@reesellp.com

Jason P. Sultzer    sultzerj@thesultzerlawgroup.com, ciullaa@thesultzerlawgroup.com

Stuart A. Davidson sdavidson@rgrdlaw.com, e_file_fl@rgrdlaw.com,
e_file_sd@rgrdlaw.com, fscialpi@rgrdlaw.com, jmiller@rgrdlaw.com,
khanson@rgrdlaw.com, sdavidson@ecf.courtdrive.com

Jeffrey Scott Grand      jgrand@seegerweiss.com

Melanie H. Muhlstock       mmuhlstock@yourlawyer.com, kalexander@yourlawyer.com

Bryan L. Clobes       bclobes@caffertyfaucher.com

Raymond C Silverman         rsilverman@yourlawyer.com

Stephen J. Fearon, Jr     cathy@sfclasslaw.com, stephen@sfclasslaw.com

Kathleen Chavez       gkeg4@aol.com

Kirk J. Goza    kgoza@gohonlaw.com

Cara Edwards       cara.edwards@dlapiper.com, Docketingnewyork@dlapiper.com

Lexi J. Hazam      lhazam@lchb.com, lexi-hazam-7782@ecf.pacerpro.com
                   Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 3 of 130
                                            A-4
Cari Campen Laufenberg claufenberg@kellerrohrback.com, cari-laufenberg-
2758@ecf.pacerpro.com, sarah-skaggs-6083@ecf.pacerpro.com

Bradley D. Honnold       bhonnold@gohonlaw.com

Brian T. Guthrie      bguthrie@saul.com

Frederick S. Longer      flonger@lfsblaw.com, MHutson@lfsblaw.com

Scott A. George sgeorge@seegerweiss.com, cbarnes@seegerweiss.com,
klaukaitis@seegerweiss.com, lgriffith@seegerweiss.com

Lauren Schultz Colton lauren.colton@hoganlovells.com, lauren-colton-
4498@ecf.pacerpro.com

Virginia E Anello vanello@douglasandlondon.com, adileo@douglasandlondon.com,
jgrenner@douglasandlondon.com, smarkham@douglasandlondon.com

Michael M. Weinkowitz        mweinkowitz@lfsblaw.com, asweeney@lfsblaw.com,
kshub@lfsblaw.com

Jonathan D. Selbin      jselbin@lchb.com, jonathan-selbin-9692@ecf.pacerpro.com,
kfoster@lchb.com

Nilda Maria Isidro     isidron@gtlaw.com, NEF-PLPG@gtlaw.com, pinedac@gtlaw.com

Pieter Van Tol     pieter.vantol@hoganlovells.com

Thomas P. Cartmell       tcartmell@wcllp.com, m.goldwasser@wcllp.com

Steven A. Kanner       skanner@fklmlaw.com, mkhamoo@fklmlaw.com

Elizabeth A. Fegan beth@feganscott.com, 1111388420@filings.docketbird.com,
carlye@feganscott.com, info@feganscott.com

Christopher Munro Young        christopher.young@us.dlapiper.com

M Ryan Casey       r.casey@kanner-law.com, a.tennis@kanner-law.com

Hannah Y Shay Chanoine        hchanoine@omm.com, hannah-chanoine-
5830@ecf.pacerpro.com

Derek W. Loeser       dloeser@kellerrohrback.com

Philip J. Furia    furiap@thesultzerlawgroup.com, ciullaa@thesultzerlawgroup.com

Adam J. Levitt     alevitt@gelaw.com

Charles E. Schaffer     cschaffer@lfsblaw.com, vjennings@lfsblaw.com
                  Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 4 of 130
                                             A-5
Jason Louis Lichtman      jlichtman@lchb.com, jason-lichtman-9410@ecf.pacerpro.com

Sara K. Thompson thompsons@gtlaw.com, jamesu@gtlaw.com,
patsi.montineri@gtlaw.com

Daniel R. Leathers     dleathers@lchb.com, daniel-leathers-4263@ecf.pacerpro.com

David S. Stellings dstellings@lchb.com, david-stellings-4750@ecf.pacerpro.com,
jrudnick@lchb.com

Colleen Gulliver Colleen.Gulliver@us.dlapiper.com, DocketingNewYork@dlapiper.com,
colleen-gulliver-6541@ecf.pacerpro.com, new-york-docketing-7871@ecf.pacerpro.com

L. Timothy Fisher      ltfisher@bursor.com

Cortlin Hall Lannin      clannin@cov.com, docketing@cov.com, maony@cov.com

Paul V. Sweeny       paulvsweeny87@gmail.com, paul@sfclasslaw.com

Nick Suciu      nsuciu@milberg.com, nsuciu@ecf.courtdrive.com

Andrew David Bizer andrew@bizerlaw.com, assistant@bizerlaw.com,
ewest@bizerlaw.com, gdereus@bizerlaw.com, jdaniel@bizerlaw.com

Andrew Soukup        asoukup@cov.com, docketing@cov.com, maony@cov.com

Jeff Ostrow     ostrow@kolawyers.com, becker@kolawyers.com, marcheco@kolawyers.com

Robert W. Sparkes, III     robert.sparkes@klgates.com

Zarrina Ozari     zozari@clarksonlawfirm.com

Kiley L. Grombacher kgrombacher@bradleygrombacher.com,
fvalle@bradleygrombacher.com, ljnicholes@bradleygrombacher.com,
mbradley@bradleygrombacher.com, mvalle@bradleygrombacher.com,
sboucher@bradleygrombacher.com

Gary M. Klinger gklinger@milberg.com, atyrrell@milberg.com, dlietz@milberg.com,
gklinger@ecf.courtdrive.com, hsheflin@milberg.com, mbenvenuto@milberg.com,
spassanisi@milberg.com

Jeffrey W Golan       jgolan@barrack.com, kmirigliani@barrack.com

David J. Stanoch d.stanoch@kanner-law.com, cbarnes@golombhonik.com,
m.colfer@kanner-law.com, s.johnson@kanner-law.com

Jacob Rae (Terminated)      jacob.rae@kirkland.com

Dale Goldstein     goldsteind@gtlaw.com, gtcourtalert@gtlaw.com
                  Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 5 of 130
                                            A-6
Jennifer Janeira Nagle     jennifer.nagle@klgates.com

Demet Basar       Demet.Basar@Beasleyallen.com, whitney.oakley@beasleyallen.com

Adam J. Levitt alevitt@dicellolevitt.com, 5525369420@filings.docketbird.com,
dlgchicago@dicellolevitt.com

Scott Alan George       sgeorge@seegerweiss.com

Kevin Bruce Love      klove@cridenlove.com

Roy T. Willey, IV roy@akimlawfirm.com, cult@akimlawfirm.com,
efile.akimlaw@gmail.com, monica@akimlawfirm.com

Sarah Westcot      swestcot@bursor.com, swestcot@ecf.courtdrive.com

Melissa S. Weiner mweiner@pwfirm.com, 2693782420@filings.docketbird.com,
egrant@pwfirm.com, hcory@pwfirm.com, kbernal@pwfirm.com

Blake G. Abbott      blake.abbott@poulinwilley.com, cmad@akimlawfirm.com

Sara Castronuova      scastronuova@douglasandlondon.com

Rebecca D Gilliland rebecca.gilliland@beasleyallen.com, april.taylor@beasleyallen.com,
rebecca.schnyder@beasleyallen.com

Russell Busch      rbusch@milberg.com, sbishop@milberg.com, tkuiper@milberg.com

Charles R Webb       Rusty@rustywebb.com

Sara J. Watkins     swatkins@peircelaw.com, mrossi@peircelaw.com

Jason Scott Goldstein     jgoldstein@yourlawyer.com, drosen@yourlawyer.com

Marlene Jaye Goldenberg mgoldenberg@nighgoldenberg.com,
hknutson@goldenberglaw.com, jdavis@nighgoldenberg.com,
jmalanday@nighgoldenberg.com

John Hunter Bryson       hbryson@milberg.com, sbishop@milberg.com, tkuiper@milberg.com

Mark Lesko mark.lesko@gtlaw.com, gtcourtalert@gtlaw.com, nicole.harris@gtlaw.com,
rosa.pipitone@gtlaw.com

Bryan F. Aylstock baylstock@awkolaw.com, bwilliams@awkolaw.com,
cduer@awkolaw.com

Ryan Clarkson      rclarkson@clarksonlawfirm.com, ssatow@clarksonlawfirm.com

Katrina Carroll    katrina@lcllp.com, dan@lcllp.com
                  Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 6 of 130
                                             A-7
Jacob White      jacobwhite@taylorkinglaw.com, otaramason@taylorkinglaw.com

Paul Doolittle    paul.doolittle@poulinwilley.com

Jonathan David Lindenfeld jonathan@feganscott.com,
1111388420@filings.docketbird.com, carlye@feganscott.com, info@feganscott.com

Jennifer M. Hoekstra     jhoekstra@awkolaw.com

R. Jason Richards     jrichards@awkolaw.com, cduer@awkolaw.com

Robert James Herrington     herringtonr@gtlaw.com

Robyn E. Bladow (Terminated)      robyn.bladow@kirkland.com

Andrew Daniel Bluth      abluth@singletonschreiber.com

Jennifer L. Roche     jroche@proskauer.com

Christopher Ross Rodriguez     crodriguez@singletonschreiber.com

Baldassare Vinti, PHV     bvinti@proskauer.com

Jeffrey H. Warshafsky, PHV      jwarshafsky@proskauer.com

Brianna Elizabeth Donet     bdonet@carltonfields.com

Conlee Schell Whiteley     C.Whiteley@kanner-law.com

Philip Furia     furiap@thesultzerlawgroup.com

George T. Williamson      gwilliamson@farr.com

Ruben Honik       ruben@honiklaw.com

Joseph A. Kronawitter     jkronawitter@hab-law.com

Taylor Foye      tfoye@hab-law.com

Tyler Hudson      thudson@wcllp.com

Christopher J. Schmidt    cjschmidt@bclplaw.com

Kristen A. Cooke      kcooke@smbtrials.com

Beth C. Boggs      bboggs@balblawyers.com

Zahra Rose Dean      zdean@kohnswift.com

Paige A. Munro-Delotto      paige@pmdlawoffices.com
                   Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 7 of 130
                                              A-8
Alex M. Kashurba        amk@chimicles.com

Paul J Doolittle      pauld@akimlawfirm.com

Blake Garrett Abbott      blake.abbott@poulinwilley.com

Reagan Charleston Thomas        rthomas@awkolaw.com

Benjamin Stephen McIntosh ben.mcintosh@swmwlaw.com,
ashley.solomon@swmwlaw.com

Michael Klebanov michael.klebanov@huschblackwell.com,
shirley.sherman@huschblackwell.com

Tanner Cook        tanner.cook@huschblackwell.com

Aaron W. Smith        aw@awsmithlaw.com

Kelly Wallis       kelly@awsmithlaw.com

Ethan Charles Duckworth        ec@awsmithlaw.com

John Dean Curtis, II      jcurtis@bcattorneys.com

Alyson Steele Beridon alyson@hsglawgroup.com, ben@hsglawgroup.com,
nicole@hsglawgroup.com

Benjamin A. Gastel       ben@hsglawgroup.com

Joey P. Leniski, Jr     joey@hsglawgroup.com

Julie R. Schindel      julie.schindel@hoganlovells.com

Andrew S Baker        andrew.baker@bakerlawgroup.net

Allan Kanner       a.kanner@kanner-law.com

Jeffrey A. Barrack      jbarrack@barrack.com

Austin Evans austin.evans@gtlaw.com, austin-evans--8152@ecf.pacerpro.com,
slovana.mancuso@gtlaw.com

Adam J. Zapala        azapala@cpmlegal.com

Peter J Mougey        mailsec@levinlaw.com

Chad C Alexander        calexander@siebenpolklaw.com

Ann Elizabeth Motl       motla@gtlaw.com
                   Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 8 of 130
                                             A-9
Michael Andrew Burns        epefile@mostynlaw.com

Joseph R. Santoli     josephsantoli002@gmail.com

Jacob Payne     jacob.payne@state.nm.us

Brian S Colon      bcolon@singletonschreiber.com

Robert James Sanchez       rsanchez@singletonschreiber.com

D. Aaron Rihn       arihn@peircelaw.com

Andrea Gold       agold@tzlegal.com

Kevin Ira Goldberg      kigoldberg@aol.com

Stacy A. Burrows      stacy@bartonburrows.com

Seth K. Jones      seth@bartonburrows.com

John E Tangren       jtangren@dicellolevitt.com

Mark Philip Pifko      mpifko@baronbudd.com

Roland Tellis      rtellis@baronbudd.com

Manish Borde       mborde@bordelaw.com

William A. Kershaw        bill@ktblegal.com, lisa@ktblegal.com

James A. Streett     james@streettlaw.com

Robert J. Wagoner      bob@dwslaw.com

Seth Eric Miles     seth@bucknermiles.com

Brett Elliott von Borke     vonborke@bucknermiles.com

Derek Eduardo Leon        dleon@leoncosgrove.com

Scott Brian Cosgrove      scosgrove@leoncosgrove.com

Ken B. Moll       info@molllawgroup.com

Valeria F Benitez     vbenitez@molllawgroup.com

Brian Ku    brian@kumussman.com

Gerald Singleton      gsingleton@singletonschreiber.com
                  Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 9 of 130
                                          A-10
Laura S Dunning ldunning@levinlaw.com, ldunning@ecf.courtdrive.com,
mailsec@levinlaw.com

John Richard Ternieden     jternieden@singletonschreiber.com

Ruby A. Nagamine       ruby.nagamine@klgates.com

Debra Nicole Guntner      nguntner@awkolaw.com, bwilliams@awkolaw.com,
cduer@awkolaw.com

William Henry London       wlondon@fklmlaw.com

Jonathan Marc Jagher      jjagher@fklmlaw.com

Laura Flahive Wu      lflahivewu@cov.com, docketing@cov.com

Benjamin I. Siminou      bsiminou@singletonschreiber.com

David Philip Milian     david@lawmilian.com

Kevin S. Hannon       khannon@singletonschreiber.com

Diana Cole Surprenant      diana.surprenant@arlaw.com, yvonne.evans@arlaw.com

Daniel Schwartz     dschwartz@dicellolevitt.com

Jordan Jacobson     jjacobson@ktmc.com

Melissa L Yeates      myeates@ktmc.com

Scott G. Braden     scott@lcllp.com, maggie@lcllp.com, sara@lcllp.com

Daniel Brandon Rogers      drogers@shb.com

Michael Fitzgerald Healy     mfhealy@shb.com, jgilmete@shb.com, sfdistribution@shb.com

Paige Sensenbrenner      paige.sensenbrenner@arlaw.com, bridget.chandler@arlaw.com

Tyler Graden      tgraden@ktmc.com

Glenn Danas, I     gdanas@clarksonlawfirm.com, jmedwid@clarksonlawfirm.com

Shireen M. Clarkson      sclarkson@clarksonlawfirm.com

Amy J. Laurendeau       alaurendeau@omm.com

Trent James Nelson      tnelson@singletonschreiber.com

Terence Richard Coates     tcoates@msdlegal.com
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 10 of 130
                                           A-11
Elizabeth Christine Chavez     ecc@fmcolaw.com

Bret Koch Pufahl     bkp@fmcolaw.com

Jessica M Haynes      jessi.haynes@beasleyallen.com

Alison D Hawthorne       alison.hawthorne@beasleyallen.com

Jennifer M French     jennf@lcllp.com, maggie@lcllp.com, sara@lcllp.com

Sophie Zavaglia     sophie@swmwlaw.com

Karl Riley   koriley@cozen.com

Michael A. Sacchet mas@ciresiconlin.com, bmg@ciresiconlin.com,
kma@ciresiconlin.com, kww@ciresiconlin.com, mlo@ciresiconlin.com,
tlh@ciresiconlin.com

Lindsey Scarcello     lscarcello@wcllp.com, pbradshaw@wcllp.com

Gregory Edward Ostfeld       ostfeldg@gtlaw.com

Erin J. Ruben     eruben@milberg.com

Andrew James Soukup        asoukup@cov.com

Melissa Susan Weiner       mweiner@pwfirm.com

Ryan Thomas Gott       rgott@pwfirm.com

Phillip Russell Perdew     rperdew@lockelord.com

Alyssa Marie Gregory       alyssa.gregory@lockelord.com

Kristen Lake Cardoso       cardoso@kolawyers.com

Jonathan Marc Streisfeld     streisfeld@kolawyers.com

Bradley Joseph Andreozzi      bradley.andreozzi@faegredrinker.com

Sophie Honey Gotlieb       sophie.gotlieb@faegredrinker.com

Shannon M. Barrett       sbarrett@omm.com, shannon-barrett-6705@ecf.pacerpro.com

Jeffrey A. N. Kopczynski      jkopczynski@omm.com

Eric Lombardo       elombardo@kellerrohrback.com

Faith E. A. Lewis     flewis@lchb.com, faith--lewis-8791@ecf.pacerpro.com
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 11 of 130
                                       A-12
Andrew Kaufman       akaufman@lchb.com, andrew-kaufman-1312@ecf.pacerpro.com

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Haleon PLC


Conlee S. Whiteley


Cristina M. Moreno
U.S. Attorney's Office
99 NE 4th Street
Miami, FL 33132

Daniel E. Gustafson
Heins Mills & Olson, P.L.C.
3550 IDS Center
80 South Eighth Street
Minneappolis, MN 55402

Joshua B. Kons
50 Albany Turnpike
Ste. 4024
Canton, CT 06019

Robert Housman
9001 Clifford Ave
Chevy Chase, MD 20815

Robert A. Horn
Robert A. Horn
345 East 73rd Street
New York, NY 10001

Timothy Butler
309172
Yaphank Correctional Facility
10 Center Dr
Riverhead, NY 11901
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                                 U.S. District Court
                       Eastern District of New York (Brooklyn)
                 CIVIL DOCKET FOR CASE #: 1:23−md−03089−BMC

In Re: Oral Phenylephrine Marketing and Sales Practices        Date Filed: 12/06/2023
Litigation                                                     Date Terminated: 11/12/2024
Assigned to: Judge Brian M. Cogan                              Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Fraud                                 Nature of Suit: 370 Fraud or
                                                               Truth−In−Lending
                                                               Jurisdiction: Diversity
In Re
In Re: Oral Phenylephrine Marketing
and Sales Practices Litigation

Plaintiff
Sandra Yousefzadeh                              represented by Andrew Kaufman
                                                               Lieff Cabraser Heimann & Bernstein, LLP
                                                               Tennessee
                                                               222 2nd Avenue South
                                                               Suite 1640
                                                               Nashville, TN 37201
                                                               615−313−9000
                                                               Email: akaufman@lchb.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                              Daniel R. Leathers
                                                              Lieff Cabraser Heimann & Bernstein, LLP
                                                              250 Hudson Street
                                                              8th Floor
                                                              New York, NY 10013−1413
                                                              212−355−9500
                                                              Fax: 212−355−9592
                                                              Email: dleathers@lchb.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Darren T. Kaplan
                                                              Kaplan Gore LLP
                                                              346 Westbury Ave
                                                              Ste 200
                                                              Carle Place, NY 11514
                                                              212−999−7370
                                                              Fax: 404−537−3320
                                                              Email: DKAPLAN@KAPLANGORE.COM
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              David S. Stellings
                                                              Lieff Cabraser Heimann & Bernstein, LLP
                                                              250 Hudson Street
                                                              8th Floor
                                                              New York, NY 10013
                                                              212−355−9500
                                                              Fax: 212−355−9592
                                                              Email: dstellings@lchb.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Elizabeth J. Cabraser
                                                              Lieff, Cabraser, Heimann & Bernstein, LLP
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 13 of 130
                                      A-14             275 Battery Street, 29th Floor
                                                       San Francisco, CA 94111
                                                       415−956−1000
                                                       Fax: 415−956−1008
                                                       Email: ecabraser@lchb.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Faith E. A. Lewis
                                                       Lieff Cabraser Heimann & Bernstein, LLP
                                                       275 Battery Street, 29th Floor
                                                       San Francisco, CA 94111
                                                       415−956−1000
                                                       Fax: 415−956−1008
                                                       Email: flewis@lchb.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason Louis Lichtman
                                                       Lieff, Cabraser, Heimann & Bernstein
                                                       250 Hudson Street, 8th Floor
                                                       New York, NY 10013
                                                       212−355−9500
                                                       Fax: 212−355−9592
                                                       Email: jlichtman@lchb.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan D. Selbin
                                                       Lieff Cabraser Heimann & Bernstein, LLP
                                                       250 Hudson Street
                                                       8th Floor
                                                       New York, NY 10013
                                                       212−355−9500
                                                       Fax: 212−355−9508
                                                       Email: jselbin@lchb.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Lexi J. Hazam
                                                       Lieff Cabraser Heimann & Bernstein, LLP
                                                       275 Battery Street, 29th Floor
                                                       San Francisco, CA 94111−3339
                                                       415−956−1000
                                                       Fax: 415−956−1008
                                                       Email: lhazam@lchb.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       Singleton Schreiber LLP
                                                       1414 K Street
                                                       Suite 470
                                                       Sacramento, CA 95814
                                                       916−248−8478
                                                       Fax: 619−255−1515
                                                       Email: emin@singletonschreiber.com
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Robyn Cronin                             represented by Melanie H. Muhlstock
                                                        Parker Waichman LLP
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 14 of 130
                                           A-15            6 Harbor Park Drive
                                                           Port Washington, NY 11050
                                                           516−466−6500
                                                           Fax: 516−723−4729
                                                           Email: mmuhlstock@yourlawyer.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Raymond C Silverman
                                                           Parker Waichman LLP
                                                           6 Harbor Park Drive
                                                           Port Washington, NY 11050
                                                           516−466−6500
                                                           Fax: 516−723−4711
                                                           Email: rsilverman@yourlawyer.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jason Scott Goldstein
                                                           Parker Waichman LLP
                                                           6 Harbor Park Drive
                                                           −
                                                           11050
                                                           Port Washington, NY 11050
                                                           516−466−6500
                                                           Email: jgoldstein@yourlawyer.com
                                                           ATTORNEY TO BE NOTICED

                                                           YuQing Emily Min
                                                           (See above for address)
                                                           TERMINATED: 07/16/2024
                                                           ATTORNEY TO BE NOTICED

Plaintiff
John Coyle                                  represented by Virginia E Anello
individually and on behalf of all others                   Douglas & London, P.C.
similarly situated                                         111 John Street, Suite 1400
                                                           New York, NY 10038
                                                           212−566−7500
                                                           Fax: 212−566−7501
                                                           Email: vanello@douglasandlondon.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           YuQing Emily Min
                                                           (See above for address)
                                                           TERMINATED: 07/16/2024
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Timothy Butler                              represented by Timothy Butler
                                                           309172
                                                           Yaphank Correctional Facility
                                                           10 Center Dr
                                                           Riverhead, NY 11901
                                                           PRO SE

                                                           YuQing Emily Min
                                                           (See above for address)
                                                           TERMINATED: 07/16/2024
                                                           ATTORNEY TO BE NOTICED

Plaintiff
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 15 of 130

Archanatep Boonparn
                                            A-16
                                             represented by Peter Samberg
                                                             Peter Samberg
                                                             Dmdl
                                                             100 Ardsley Avenue West
                                                             Ardsley on Hudson, NY 10503
                                                             914−391−1213
                                                             Email: Psamberg@gmail.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             David J. Stanoch
                                                             Kanner & Whiteley, LLC
                                                             701 Camp Street
                                                             New Orleans, LA 70130
                                                             504−524−5777
                                                             Email: d.stanoch@kanner−law.com
                                                             ATTORNEY TO BE NOTICED

                                                             YuQing Emily Min
                                                             (See above for address)
                                                             TERMINATED: 07/16/2024
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Kaycie Coppock                                represented by Bryan F. Aylstock
                                                             Aylstock, Witkin, Kreis & Overholtz PLLC
                                                             17 E. Main St
                                                             Ste 200
                                                             Pensacola, FL 32502
                                                             850−202−1010
                                                             Email: baylstock@awkolaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Jennifer M. Hoekstra
                                                             Aylstock, Witkin, Kreis & Overholtz
                                                             17 E Main Street
                                                             Suite 200
                                                             Pensacola, FL 32502
                                                             850−202−1010
                                                             Fax: 850−916−7449
                                                             Email: jhoekstra@awkolaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             R. Jason Richards
                                                             Aylstock, Witkin, Kreis & Overholtz,
                                                             PLLC
                                                             17 E. Main Street
                                                             Ste 200
                                                             Pensacola, FL 32502
                                                             850−202−1010
                                                             Email: jrichards@awkolaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             YuQing Emily Min
                                                             (See above for address)
                                                             TERMINATED: 07/16/2024
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Chioma Ozuzu                                  represented by Melanie H. Muhlstock
individually, and on behalf of all others                    (See above for address)
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 16 of 130

similarly situated
                                        A-17             LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Raymond C Silverman
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jason Scott Goldstein
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Kenneth Levi Pack                          represented by Andrew Daniel Bluth
                                                          Singleton Schreiber, LLP
                                                          1414 K Street
                                                          Ste #470
                                                          Sacramento, CA 95814
                                                          916−248−8478
                                                          Fax: 619−255−1515
                                                          Email: abluth@singletonschreiber.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Christopher Ross Rodriguez
                                                         Singleton Schreiber, LLP
                                                         1414 K Street
                                                         Suite 470
                                                         Sacramento, CA 95814
                                                         916−248−8478
                                                         Fax: 619−255−1515
                                                         Email: crodriguez@singletonschreiber.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kevin S. Hannon
                                                         Singleton Schreiber, LLP
                                                         1641 N. Downing St
                                                         Denver, CO 80218
                                                         720−704−6028
                                                         Fax: 619−255−1515
                                                         Email: khannon@singletonschreiber.com
                                                         ATTORNEY TO BE NOTICED

                                                         Trent James Nelson
                                                         Singleton Schreiber
                                                         1414 K Street, Suite 470
                                                         Sacramento, CA 95814
                                                         916−248−8478
                                                         Fax: 619−255−1515
                                                         Email: tnelson@singletonschreiber.com
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 17 of 130

Min Ji Jung
                                        A-18
                                         represented by Andrew Daniel Bluth
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Christopher Ross Rodriguez
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kevin S. Hannon
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Trent James Nelson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Steve Audelo                               represented by Bryan F. Aylstock
On Behalf Of Themselves and All Other                     (See above for address)
Similarly Situated                                        LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        R. Jason Richards
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Natalie Juneau                             represented by Andrew David Bizer
                                                          Bizer & DeReus, LLC
                                                          3319 St. Claude Ave.
                                                          New Orleans, LA 70117
                                                          504−619−9999
                                                          Fax: 504−948−9996
                                                          Email: andrew@bizerlaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Conlee Schell Whiteley
                                                        Kanner & Whiteley, L.L.C.
                                                        701 Camp Street
                                                        New Orleans, LA 70130
                                                        504−524−5777
                                                        Email: C.Whiteley@kanner−law.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        David J. Stanoch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 18 of 130
                                        A-19            (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Robert Fichera                             represented by Andrew David Bizer
Individually, and on behalf of others                     (See above for address)
similarly situated                                        LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Conlee Schell Whiteley
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        David J. Stanoch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Kamonica McWhite                           represented by Michael Robert Reese
                                                          Reese LLP
                                                          100 West 93rd Street
                                                          16th floor
                                                          New York, NY 10025
                                                          (212) 643−0500
                                                          Fax: (212) 253−4272
                                                          Email: mreese@reesellp.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Paul Doolittle
                                                        Poulin, Willey, Anastopoulo, LLC
                                                        32 Ann Street
                                                        Charleston, SC 29403
                                                        803−222−2222
                                                        Email: paul.doolittle@poulinwilley.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Philip Furia
                                                        THE SULTZER LAW GROUP, P.C.
                                                        85 CIVIC PLAZA, SUITE 200
                                                        POUGHKEEPSIE, NY 12601
                                                        201−744−0064
                                                        Email: furiap@thesultzerlawgroup.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Philip J. Furia
                                                        The Sultzer Law Group, P.C.
                                                        85 Civic Center Plaza, Suite 200
                                                        Suite 200
                                                        Poughkeepsie, NY 12601
                                                        845−483−7100
                                                        Fax: 888−749−7747
                                                        Email: furiap@thesultzerlawgroup.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 19 of 130
                                     A-20
                                                      Jason P. Sultzer
                                                      Sultzer & Lipari, PLLC
                                                      85 Civic Center Plaza
                                                      Suite 200
                                                      Poughkeepsie, NY 12601
                                                      845−483−7100
                                                      Fax: 888−749−7747
                                                      Email: sultzerj@thesultzerlawgroup.com
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Erin Barton                             represented by Daniel Schwartz
                                                       DiCello Levitt LLP
                                                       10 North Dearborn st
                                                       Ste Sixth Floor
                                                       Chicago, IL 60602
                                                       312−214−7900
                                                       Email: dschwartz@dicellolevitt.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      James E. Cecchi
                                                      Carella, Byrne, Cecchi, Olstein, Brody &
                                                      Agnello, P.C.
                                                      5 Becker Farm Road
                                                      Roseland, NJ 07068
                                                      973−994−1700
                                                      Fax: 973−994−1744
                                                      Email: jcecchi@carellabyrne.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Lindsey H. Taylor
                                                      Robbins Geller Rudman & Dowd LLP
                                                      225 NE Mizner Boulevard
                                                      Suite 720
                                                      Boca Raton, FL 33432
                                                      561−750−3000
                                                      Fax: 561−750−3364
                                                      Email: ltaylor@rgrdlaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Christopher A. Seeger
                                                      Seeger Weiss LLP
                                                      55 Challenger Road 6th Floor
                                                      Ridgefield Park, NJ 07660
                                                      212−584−0700
                                                      Email: cseeger@seegerweiss.com
                                                      ATTORNEY TO BE NOTICED

                                                      David R. Buchanan
                                                      Seeger Weiss, LLP
                                                      77 Water Street
                                                      26th Flr.
                                                      New York, NY 10005
                                                      212−584−0700
                                                      Fax: 212−584−0799
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 20 of 130
                                     A-21            Email: dbuchanan@seegerweiss.com
                                                     ATTORNEY TO BE NOTICED

                                                     Diogenes P. Kekatos
                                                     Seeger Weiss LLP
                                                     One William Street
                                                     New York, NY 10004
                                                     212−584−0700
                                                     Fax: 212−584−0799
                                                     Email: dkekatos@seegerweiss.com
                                                     ATTORNEY TO BE NOTICED

                                                     Jeffrey Scott Grand
                                                     Bernstein Liebhard LLP
                                                     10 East 40th Street
                                                     28th floor
                                                     New York, NY 10017
                                                     212−779−1414
                                                     Fax: 212−779−3218
                                                     Email: jgrand@seegerweiss.com
                                                     ATTORNEY TO BE NOTICED

                                                     Scott Alan George
                                                     Seeger Weiss LLP
                                                     325 Chestnut Street
                                                     Suite 917
                                                     Philadelphia, PA 19106
                                                     212−584−0700
                                                     Email: sgeorge@seegerweiss.com
                                                     ATTORNEY TO BE NOTICED

                                                     Stuart A. Davidson
                                                     Robbins Geller Rudman & Dowd LLP
                                                     225 NE Mizner Boulevard
                                                     Suite 720
                                                     Boca Raton, FL 33432
                                                     561−750−3000
                                                     Fax: 561−750−3364
                                                     Email: sdavidson@rgrdlaw.com
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Kimberly Buscaglia                      represented by James E. Cecchi
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Lindsey H. Taylor
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Christopher A. Seeger
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     David R. Buchanan
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 21 of 130
                                      A-22
                                                          Diogenes P. Kekatos
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Jeffrey Scott Grand
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Scott Alan George
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Stuart A. Davidson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Francis W. Catanese                      represented by James E. Cecchi
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                          Lindsey H. Taylor
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Christopher A. Seeger
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          David R. Buchanan
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Diogenes P. Kekatos
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Jeffrey Scott Grand
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Scott Alan George
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Stuart A. Davidson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Samuel Gallo                             represented by
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 22 of 130
                                     A-23            James E. Cecchi
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Lindsey H. Taylor
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Christopher A. Seeger
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     David R. Buchanan
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Diogenes P. Kekatos
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Jeffrey Scott Grand
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Scott Alan George
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Stuart A. Davidson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Kristin Depaola                         represented by Conlee S. Whiteley
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                     David J. Stanoch
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     George T. Williamson
                                                     Farr Law Firm P.A.
                                                     99 Nesbit Street
                                                     Punta Gorda, FL 33950
                                                     941−639−1158
                                                     Fax: 941−639−0028
                                                     Email: gwilliamson@farr.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Marlene Jaye Goldenberg
                                                     Nigh Goldenberg Raso & Vaughn
                                                     14 Ridge Square NW
                                                     Third Floor
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 23 of 130
                                    A-24            Washington, DC 20016
                                                    612−424−9900
                                                    Fax: 202−792−7927
                                                    Email: mgoldenberg@nighgoldenberg.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Ruben Honik
                                                    Honik LLC
                                                    1515 Market Street
                                                    Suite 1100
                                                    Philadelphia, PA 19102
                                                    267−435−1300
                                                    Email: ruben@honiklaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Marlene Jaye Goldenberg
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    YuQing Emily Min
                                                    (See above for address)
                                                    TERMINATED: 07/16/2024
                                                    ATTORNEY TO BE NOTICED

Plaintiff
Michael Walker                         represented by Bradley D. Honnold
                                                      Goza & Honnold, LLC
                                                      2630 City Center Square
                                                      1100 Main Street
                                                      P. O. Box 482355
                                                      Kansas City, MO 64148−2355
                                                      (816) 512−2171
                                                      Fax: (816) 512−2172
                                                      Email: bhonnold@gohonlaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Joseph A. Kronawitter
                                                    Horn, Aylward & Bandy, LLC
                                                    2600 Grand Boulevard
                                                    Suite 1100
                                                    Kansas City, MO 64108
                                                    816−421−0700
                                                    Fax: 816−421−0899
                                                    Email: jkronawitter@hab−law.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Kirk J. Goza
                                                    Goza & Honnold, LLC
                                                    11150 Overbrook Rd.
                                                    Suite 250
                                                    Leawood, KS 66211
                                                    816 512−2171
                                                    Fax: 816 512−2172
                                                    Email: kgoza@gohonlaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Lindsey Scarcello
                                                    Wagstaff & Cartmell LLP
                                                    4740 Grand Avenue
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 24 of 130
                                       A-25            Suite 300
                                                       Kansas City, MO 64112
                                                       816−701−1100
                                                       Fax: 816−531−2372
                                                       Email: lscarcello@wcllp.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Robert A. Horn
                                                       Robert A. Horn
                                                       345 East 73rd Street
                                                       New York, NY 10001
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Taylor Foye
                                                       Horn Aylward & Bandy, LLC
                                                       2600 Grand Blvd
                                                       Suite 1100
                                                       Kansas City, MO 64108
                                                       816−421−0700
                                                       Fax: 816−421−0899
                                                       Email: tfoye@hab−law.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Thomas P. Cartmell
                                                       Wagstaff & Cartmell, LLP
                                                       4740 Grand Ave.
                                                       Ste. 300
                                                       Kansas City, MO 64112
                                                       816−701−1100
                                                       Fax: 816−531−2372
                                                       Email: tcartmell@wcllp.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Tyler Hudson
                                                       Wagstaff & Cartmell
                                                       4740 Grand Ave, Suite 300
                                                       Kansas City, MO 64112
                                                       816−701−1177
                                                       Email: thudson@wcllp.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Cathy Kleiman                             represented by Paul Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Philip Furia
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason P. Sultzer
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 25 of 130
                                      A-26             (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Richard Scoffier                         represented by Ruben Honik
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       David J. Stanoch
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Annette Striegel                         represented by Paul Doolittle
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       Philip Furia
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason P. Sultzer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Martha A. Page                           represented by Cari Campen Laufenberg
                                                        Keller Rohrback LLP
                                                        1201 3rd Avenue
                                                        Suite 3400
                                                        Seattle, WA 98101
                                                        206−442−1563
                                                        Email: claufenberg@kellerrohrback.com
                                                        LEAD ATTORNEY

                                                       James E. Cecchi
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Derek W. Loeser
                                                       Keller Rohrback LLP
                                                       1201 3rd Ave
                                                       Suite 3400
                                                       Seattle, WA 98101
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 26 of 130
                                     A-27             206−623−1900
                                                      Email: dloeser@kellerrohrback.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Eric Lombardo
                                                      Keller Rohrback LLP
                                                      Complex Litigation
                                                      1201 3rd Ave
                                                      Ste. 3400
                                                      Seattle, WA 98101
                                                      206−428−0539
                                                      Email: elombardo@kellerrohrback.com
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Emily Cohen                             represented by Paige A. Munro−Delotto
                                                       Munro−Delotto Law LLC
                                                       400 Westminster Street
                                                       Ste. 200
                                                       Providence, RI 02903
                                                       401−521−4529
                                                       Fax: 866−593−9755
                                                       Email: paige@pmdlawoffices.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Zahra Rose Dean
                                                      Kohn, Swift & Graf, P.C.
                                                      1600 Market Street
                                                      Suite 2500
                                                      Philadelphia, PA 19103
                                                      215−238−1700
                                                      Fax: 215−238−1968
                                                      Email: zdean@kohnswift.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Janet Jones                             represented by Alex M. Kashurba
                                                       CHIMICLES SCHWARTZ KRINER &
                                                       DONALDSON−SMITH LLP
                                                       361 W. LANCASTER AVENUE
                                                       HAVERFORD, PA 19041
                                                       610−642−8500
                                                       Email: amk@chimicles.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 27 of 130
                                       A-28
Plaintiff
Cathy Kleiman                             represented by Blake Garrett Abbott
                                                         Poulin Willey Anastopoulo LLC
                                                         32 Ann Street
                                                         Charleston, SC 29403
                                                         843−614−8888
                                                         Email: blake.abbott@poulinwilley.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Paul Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Paul J Doolittle
                                                         Poulin Willey Anastopoulo LLC
                                                         32 Ann Street
                                                         Charleston, SC 29403
                                                         843−834−4712
                                                         Email: pauld@akimlawfirm.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Roy T. Willey , IV
                                                         Anastopoulo Law Firm, LLC
                                                         South Carolina
                                                         32 Ann St
                                                         Charleston
                                                         Charleston, SC 29403
                                                         843−614−8888
                                                         Email: roy@akimlawfirm.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Jason P. Sultzer
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Lateef Murdock                            represented by Reagan Charleston Thomas
                                                         Aylstock, Witkin, Kreis, and Overholtz
                                                         17 E. Main Street
                                                         #200
                                                         Pensacola, FL 32502
                                                         985−778−8134
                                                         Email: rthomas@awkolaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Shireen M. Clarkson
                                                         Clarkson Law Firm, P.C.
                                                         22525 Pacific Coast Highway
                                                         Malibu, CA 90265
                                                         213−788−4050
                                                         Fax: 213−788−4070
                                                         Email: sclarkson@clarksonlawfirm.com
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 28 of 130
                                      A-29            LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Glenn Danas , I
                                                      Clarkson Law Firm, P.C.
                                                      22525 Pacific Coast Highway
                                                      Malibu, CA 90265
                                                      213−788−4050
                                                      Fax: 213−788−4070
                                                      Email: gdanas@clarksonlawfirm.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Clarkson
                                                      Clarkson Law Firm, P.C.
                                                      Clarkson Law Firm, P.C.
                                                      22525 Pacific Coast Highway
                                                      Malibu, CA 90265
                                                      213−788−4050
                                                      Email: rclarkson@clarksonlawfirm.com
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Zarrina Ozari
                                                      Clarkson Law Firm
                                                      22525 Pacific Coast Highway
                                                      Malibu, CA 90265
                                                      646−318−4724
                                                      Email: zozari@clarksonlawfirm.com
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Gwen Thomas                              represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Marcel Perez Pirio                       represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Shireen M. Clarkson
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Glenn Danas , I
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Clarkson
                                                      (See above for address)
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 29 of 130
                                      A-30            ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Zarrina Ozari
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Layne Barter                             represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Shireen M. Clarkson
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Glenn Danas , I
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Clarkson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Zarrina Ozari
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Jose Cortez Hernandez                    represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Shireen M. Clarkson
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Glenn Danas , I
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Clarkson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
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                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 30 of 130
                                        A-31
                                                        Zarrina Ozari
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Robert Lundin                              represented by Reagan Charleston Thomas
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Shireen M. Clarkson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Glenn Danas , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ryan Clarkson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

                                                        Zarrina Ozari
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Jaedon Daniels                             represented by Reagan Charleston Thomas
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Shireen M. Clarkson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Glenn Danas , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ryan Clarkson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

                                                        Zarrina Ozari
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 31 of 130

Plaintiff
                                      A-32
Mychael Willon                           represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Shireen M. Clarkson
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Glenn Danas , I
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Clarkson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Zarrina Ozari
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Amy Weinberg                             represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Shireen M. Clarkson
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Glenn Danas , I
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Clarkson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Zarrina Ozari
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Dimitri Lamdon                           represented by Reagan Charleston Thomas
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 32 of 130
                                     A-33
                                                     Shireen M. Clarkson
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Glenn Danas , I
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Ryan Clarkson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

                                                     Zarrina Ozari
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Elie El Rai                             represented by Reagan Charleston Thomas
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Shireen M. Clarkson
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Glenn Danas , I
                                                     (See above for address)
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Ryan Clarkson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

                                                     Zarrina Ozari
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Tatyana Dekhtyar                        represented by Reagan Charleston Thomas
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Shireen M. Clarkson
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 33 of 130
                                        A-34            Glenn Danas , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ryan Clarkson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

                                                        Zarrina Ozari
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Olivia Rodesta                             represented by Reagan Charleston Thomas
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Shireen M. Clarkson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Glenn Danas , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ryan Clarkson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Lauren Debeliso                            represented by Reagan Charleston Thomas
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Shireen M. Clarkson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Glenn Danas , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ryan Clarkson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 34 of 130
                                        A-35            (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

                                                        Zarrina Ozari
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Lorette Kenney                             represented by Reagan Charleston Thomas
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Shireen M. Clarkson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Glenn Danas , I
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ryan Clarkson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

                                                        Zarrina Ozari
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Daniel Heaghney                            represented by Benjamin Stephen McIntosh
                                                          SWMW Law, LLC
                                                          701 Market Street
                                                          Suite 1000
                                                          St. Louis, MO 63101
                                                          314−480−5180
                                                          Fax: 314−932−1566
                                                          Email: ben.mcintosh@swmwlaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Sophie Zavaglia
                                                        SWMW Law, LLC
                                                        701 Market Street
                                                        Suite 1000
                                                        Saint Louis, MO 63104
                                                        314−480−5180
                                                        Email: sophie@swmwlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 35 of 130
                                       A-36
Plaintiff
Scott Collier                             represented by M Ryan Casey
                                                         Kanner & Whiteley
                                                         701 Camp Street
                                                         New Orleans, LA 70130
                                                         504−524−5777
                                                         Fax: 504−524−5763
                                                         Email: r.casey@kanner−law.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Amanda Thorns                             represented by M Ryan Casey
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Andrew Isom                               represented by Aaron W. Smith
                                                         A. W. Smith Law Firm PC
                                                         2100 West Broadway
                                                         Columbia, MO 65203
                                                         (573) 777−3333
                                                         Fax: (573) 443−7301
                                                         Email: aw@awsmithlaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                        Ethan Charles Duckworth
                                                        The A.W. Smith Law Firm, P.C.
                                                        2100 West Broadway
                                                        Suite 500
                                                        Columbia, MO 65203
                                                        573−777−3333
                                                        Fax: 573−443−7301
                                                        Email: ec@awsmithlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kelly Wallis
                                                        Kespohl, McCrary, & Corenjo, L.L.C.
                                                        1103 E. Walnut St.
                                                        Columbia, MO 65201
                                                        (573) 443−2889
                                                        Fax: (573) 443−3889
                                                        Email: kelly@awsmithlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 36 of 130
                                     A-37             (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
John Jeffrey Bader                      represented by John Dean Curtis , II
                                                       Burch & Cracchiolo PA
                                                       1850 N Central Ave., Ste. 1700
                                                       Phoenix, AZ 85004
                                                       602−234−8760
                                                       Email: jcurtis@bcattorneys.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Brian Lloyd Fireng                      represented by John Dean Curtis , II
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Carrie Diane Huff                       represented by John Dean Curtis , II
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Joseph Samuel Sorge                     represented by John Dean Curtis , II
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Joshua Edward Sorge                     represented by John Dean Curtis , II
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 37 of 130
                                        A-38
Plaintiff
Christine Ann Waters                       represented by John Dean Curtis , II
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Eduardo Flores                             represented by L. Timothy Fisher
                                                          Bursor & Fisher, PA
                                                          1990 N. California Blvd., Ste. 940
                                                          Walnut Creek, CA 94596
                                                          925−300−4455
                                                          Fax: 925−407−2700
                                                          Email: ltfisher@bursor.com
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah Westcot
                                                          Bursor & Fisher P.A.
                                                          701 Brickell Avenue
                                                          Suite 2100
                                                          Miami, FL 33131
                                                          305−330−5512
                                                          Email: swestcot@bursor.com
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Sarah Westcot
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Christopher McPhee                         represented by Andrew Daniel Bluth
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Christopher Ross Rodriguez
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Kevin S. Hannon
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Trent James Nelson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 38 of 130
                                        A-39            YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Justin Vorise                              represented by Andrew Daniel Bluth
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Christopher Ross Rodriguez
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kevin S. Hannon
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Trent James Nelson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Jordan Nelson                              represented by Sarah Westcot
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                        Sarah Westcot
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Regina Peralta                             represented by Sarah Westcot
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                        Sarah Westcot
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 39 of 130

Krista Wright
                                        A-40
                                         represented by Bradley D. Honnold
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Joseph A. Kronawitter
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Kirk J. Goza
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Lindsey Scarcello
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Robert A. Horn
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Taylor Foye
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Thomas P. Cartmell
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Tyler Hudson
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Tiffany Travis                             represented by Alyson Steele Beridon
                                                          Herzfeld Suetholz Gastel Leniski and Wall
                                                          PLLC
                                                          600 Vine St.
                                                          Ste 2720
                                                          Cincinnatti, OH 45202
                                                          513−381−2224
                                                          Fax: 615−994−8625
                                                          Email: alyson@hsglawgroup.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Benjamin A. Gastel
                                                          Herzfeld, Suetholz, Gastel, Leniski and
                                                          Wall, PLLC
                                                          223 Rosa L Parks Ave.
                                                          Ste 300
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 40 of 130
                                       A-41              Nashville, TN 37203
                                                         615−800−6225
                                                         Email: ben@hsglawgroup.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Joey P. Leniski , Jr.
                                                         223 Rosa L. Parks Ave.
                                                         Suite 300
                                                         Nashville, TN 37203
                                                         615−800−6225
                                                         Fax: 615−994−8625
                                                         Email: joey@hsglawgroup.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Randall Sygal                             represented by Katrina Carroll
                                                         Lynch Carpenter LLP
                                                         111 W. Washington, STE 1240
                                                         Chicago, IL 60602
                                                         312−750−1265
                                                         Email: katrina@lcllp.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Jennifer M French
                                                         Lynch Carpenter, LLP
                                                         California
                                                         1234 Camino Del Mar
                                                         Del Mar, CA 92014
                                                         619−762−1903
                                                         Fax: 858−313−1850
                                                         Email: jennf@lcllp.com
                                                         ATTORNEY TO BE NOTICED

                                                         Scott G. Braden
                                                         Lynch Carpenter, LLP
                                                         California
                                                         1234 Camino del Mar
                                                         Del Mar, CA 92014
                                                         619−762−1903
                                                         Fax: 724−656−1556
                                                         Email: scott@lcllp.com
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Regina Brookshier                         represented by Katrina Carroll
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 41 of 130
                                      A-42            ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Erzen Krica                              represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Allison Sammarco                         represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Hollie Verdi                             represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 42 of 130
                                        A-43             (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Scott G. Braden
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Cathy Kleiman                              represented by Andrew S Baker
                                                          The Baker Law Group
                                                          89 E. Nationwide Blvd.
                                                          Ste 2nd Floor
                                                          OH
                                                          Columbus, OH 43215
                                                          614−228−1882
                                                          Fax: 614−228−1862
                                                          Email: andrew.baker@bakerlawgroup.net
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Blake G. Abbott
                                                         Anastopoulo Law Firm, LLC
                                                         32 Ann Street
                                                         Charleston, SC 29403
                                                         309−265−5200
                                                         Email: blake.abbott@poulinwilley.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Paul Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Paul J Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jason P. Sultzer
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         YuQing Emily Min
                                                         (See above for address)
                                                         TERMINATED: 07/16/2024
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Millard Adkins                             represented by Frederick S. Longer
                                                          Levin Fishbein Sedran & Berman
                                                          510 Walnut Street
                                                          Suite 500
                                                          Philadelphia, PA 19106
                                                          215−592−1500
                                                          Fax: 215−592−4663
                                                          Email: flonger@lfsblaw.com
                                                          LEAD ATTORNEY
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 43 of 130
                                      A-44            ATTORNEY TO BE NOTICED

                                                      Michael M. Weinkowitz
                                                      Levin Fishbein Sedran & Berman
                                                      510 Walnut Street
                                                      Suite 500
                                                      Philadelphia, PA 19106
                                                      215−592−1500
                                                      Fax: 215−592−4663
                                                      Email: mweinkowitz@lfsblaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Rosalyn Anderson                         represented by Michael M. Weinkowitz
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Frederick S. Longer
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Eli Erlick                               represented by Michael M. Weinkowitz
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Frederick S. Longer
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Donna Bailey                             represented by Michael M. Weinkowitz
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Frederick S. Longer
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 44 of 130
                                       A-45
Plaintiff
Rosalie Jackson                           represented by Michael M. Weinkowitz
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Frederick S. Longer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Recoa Russell                             represented by Michael M. Weinkowitz
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Frederick S. Longer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Frank Anderson                            represented by Michael M. Weinkowitz
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Frederick S. Longer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Tina Haluszka                             represented by Michael M. Weinkowitz
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Frederick S. Longer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 45 of 130

Tatiana Benjamin
                                     A-46
                                      represented by Scott Alan George
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Christopher A. Seeger
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      David R. Buchanan
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Diogenes P. Kekatos
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey Scott Grand
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Stuart A. Davidson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Christine Contreras                     represented by Scott A. George
                                                       Seeger Weiss LLP
                                                       1515 Market Street
                                                       Suite 1380
                                                       Philadelphia, PA 19102
                                                       215−564−2300
                                                       Fax: 215−851−8029
                                                       Email: sgeorge@seegerweiss.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED
                                                      Christopher A. Seeger
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      David R. Buchanan
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Diogenes P. Kekatos
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey Scott Grand
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott Alan George
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Stuart A. Davidson
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 46 of 130
                                       A-47            (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Natasha Freeman                           represented by Scott A. George
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                       Christopher A. Seeger
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       David R. Buchanan
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Diogenes P. Kekatos
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Jeffrey Scott Grand
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Scott Alan George
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Stuart A. Davidson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Robin Glauser                             represented by Scott A. George
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                       Christopher A. Seeger
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       David R. Buchanan
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Diogenes P. Kekatos
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Jeffrey Scott Grand
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 47 of 130
                                      A-48            (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott Alan George
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Stuart A. Davidson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Anthony Rogers                           represented by Scott A. George
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Christopher A. Seeger
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      David R. Buchanan
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Diogenes P. Kekatos
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey Scott Grand
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott Alan George
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Stuart A. Davidson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Heather Fong                             represented by Bradley D. Honnold
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Joseph A. Kronawitter
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kirk J. Goza
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 48 of 130
                                    A-49             (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Lindsey Scarcello
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Robert A. Horn
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Taylor Foye
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Thomas P. Cartmell
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Tyler Hudson
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Jamieka Holmes                         represented by Jacob White
                                                      Taylor King Law, PA
                                                      Springdale
                                                      410 N Thompson St, Suite B
                                                      72764
                                                      Springdale, AR 72764
                                                      479−208−4780
                                                      Fax: 870−568−0141
                                                      Email: jacobwhite@taylorkinglaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Paul Doolittle
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Mari Jones                             represented by Allan Kanner
                                                      Kanner and Whiteley LLC
                                                      701 Camp St
                                                      New Orleans, LA 70130−3504
                                                      504−524−5777
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 49 of 130
                                       A-50             Fax: 504−524−5763
                                                        Email: a.kanner@kanner−law.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        David J. Stanoch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Michele Kasparie                          represented by Jeffrey A. Barrack
                                                         BARRACK, RODOS & BACINE
                                                         2001 MARKET STREET
                                                         3300 TWO COMMERCE SQUARE
                                                         PHILADELPHIA, PA 19103−7087
                                                         215−963−0600
                                                         Fax: 215−963−0838
                                                         Email: jbarrack@barrack.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Kimberly James                            represented by Jeffrey A. Barrack
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Greg Enriquez                             represented by Adam J. Zapala
                                                         Cotchett Pitre & McCarthy LLP
                                                         840 Malcolm Road, Suite 200
                                                         Burlingame, CA 94010
                                                         (650) 697−6000
                                                         Fax: (650) 697−0577
                                                         Email: azapala@cpmlegal.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Alexander E. Barnett
                                                        Dicello Levitt LLP
                                                        485 Lexington Avenue
                                                        Suite 1001
                                                        New York, NY 10017
                                                        646−933−1000
                                                        Fax: 646−494−9648
                                                        Email: abarnett@cpmlegal.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 50 of 130
                                       A-51
                                                        Daniel E. Gustafson
                                                        Heins Mills & Olson, P.L.C.
                                                        3550 IDS Center
                                                        80 South Eighth Street
                                                        Minneappolis, MN 55402
                                                        Fax: (612) 338−4692
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Rachel Parker                             represented by Ruben Honik
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        David J. Stanoch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Krystal Rampalli                          represented by Blake G. Abbott
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                        Chad C Alexander
                                                        Sieben Polk, P.A.
                                                        2600 Eagan Woods Drive
                                                        Suite 50
                                                        Eagan, MN 55121
                                                        651−437−3148
                                                        Fax: 651−437−2732
                                                        Email: calexander@siebenpolklaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Paul Doolittle
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Cody Morgan                               represented by Kiley L. Grombacher
                                                         Bradley/Grombacher LLP
                                                         31365 Oak Crest Drive
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 51 of 130
                                    A-52            Suite 240
                                                    Westlake Village, CA 91361
                                                    805−270−7100
                                                    Fax: 805−270−7100
                                                    Email: kgrombacher@bradleygrombacher.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                    Michael Andrew Burns
                                                    Mostyn Law− Houston TX
                                                    3810 W Alabama Street
                                                    Houston, TX 77027
                                                    713−714−0000
                                                    Email: epefile@mostynlaw.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Debra Nicole Guntner
                                                    Aylstock Witkin Kreis & Overholtz
                                                    17 E. Main St.
                                                    Pensacola, FL 32501
                                                    850−202−1010
                                                    Email: nguntner@awkolaw.com
                                                    ATTORNEY TO BE NOTICED

                                                    Michael A. Sacchet
                                                    Ciresi Conlin LLP
                                                    225 S. 6th Street
                                                    Suite 4600
                                                    Minneapolis, MN 55402
                                                    612−361−8220
                                                    Email: mas@ciresiconlin.com
                                                    ATTORNEY TO BE NOTICED

                                                    YuQing Emily Min
                                                    (See above for address)
                                                    TERMINATED: 07/16/2024
                                                    ATTORNEY TO BE NOTICED

Plaintiff
Anthony DeRosa                         represented by Elizabeth A. Fegan
                                                      Fegan Scott LLC
                                                      150 S. Wacker Dr
                                                      Ste 24th Floor
                                                      Chicago, IL 60606
                                                      312−741−1019
                                                      Fax: 312−264−0100
                                                      Email: beth@feganscott.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                    Jonathan David Lindenfeld
                                                    Fegan Scott LLC
                                                    305 Broadway
                                                    Ste 7th Floor
                                                    New York, NY 10007
                                                    212−208−1489
                                                    Email: jonathan@feganscott.com
                                                    ATTORNEY TO BE NOTICED

                                                    YuQing Emily Min
                                                    (See above for address)
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 52 of 130
                                     A-53             TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Daryl Means                             represented by Benjamin Stephen McIntosh
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Sophie Zavaglia
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Jacob Reinkraut                         represented by Joseph R. Santoli
                                                       340 Devon Court
                                                       Ridgwood, NJ 07450
                                                       201−926−9200
                                                       Email: josephsantoli002@gmail.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Paul V. Sweeny
                                                      Squitieri & Fearon, LLP
                                                      305 Broadway
                                                      Ste 7th Floor
                                                      New York, NY 10007
                                                      212−421−6492
                                                      Fax: 212−421−6553
                                                      Email: paulvsweeny87@gmail.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Stephen J. Fearon , Jr.
                                                      Squitieri & Fearon, LLP
                                                      305 Broadway
                                                      7thfloor
                                                      New York, NY 10007
                                                      212−421−6492
                                                      Email: cathy@sfclasslaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Michael Lee                             represented by Katrina Carroll
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 53 of 130
                                        A-54            ATTORNEY TO BE NOTICED

                                                        Scott G. Braden
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Toni Heuchan                               represented by Katrina Carroll
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                        Jennifer M French
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Scott G. Braden
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Michelle Garza                             represented by Katrina Carroll
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                        Jennifer M French
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Scott G. Braden
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Cece Davenport                             represented by Katrina Carroll
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                        Jennifer M French
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Scott G. Braden
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 54 of 130
                                      A-55            (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Claudette Sanes                          represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Daniel Flick                             represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Janis Zimmerman                          represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 55 of 130
                                       A-56             YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Andrea Wilson                             represented by Stephen J. Fearon , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Richard Chavez                            represented by Brian S Colon
                                                         Singleton Schreiber
                                                         6501 Americas Parkway NE
                                                         Suite 670
                                                         87110
                                                         Albuquerque, NM 87301
                                                         505−270−2154
                                                         Email: bcolon@singletonschreiber.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Christopher Ross Rodriguez
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jacob Payne
                                                        Singleton Schreiber, LLP
                                                        6501 Americas Parkway NE, Suite 670
                                                        Albuquerque, NM 87110
                                                        505−539−1314
                                                        Fax: 505−539−1314
                                                        Email: jacob.payne@state.nm.us
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Robert James Sanchez
                                                        Singleton Schreiber
                                                        New Mexico
                                                        6501 Americas Parkway NE
                                                        Suite 670
                                                        ALBUQUERQUE, Ste 670
                                                        Albuquerque, NM 87110
                                                        505−230−4882
                                                        Email: rsanchez@singletonschreiber.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Andrew Daniel Bluth
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Kevin S. Hannon
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Trent James Nelson
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 56 of 130
                                    A-57             (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Kathleen Emmons                        represented by Jeffrey W Golan
                                                      Barrack Rodos & Bacine
                                                      3300 Two Commerce Square
                                                      2001 Market Street
                                                      Philadelphia, Pa 19103
                                                      215−963−0600
                                                      Fax: 215−963−0838
                                                      Email: jgolan@barrack.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Nathan Jackson                         represented by Jeffrey W Golan
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Rosalyn Anderson                       represented by Charles E. Schaffer
                                                      Levin Sedran & Berman
                                                      510 Walnut Street
                                                      Ste 500
                                                      Philadelphia, PA 19106
                                                      215−592−1500
                                                      Fax: 215−592−4663
                                                      Email: cschaffer@lfsblaw.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                     D. Aaron Rihn
                                                     PEIRCE LAW OFFICES
                                                     707 GRANT ST
                                                     2500 GULF TOWER
                                                     PITTSBURGH, PA 15219
                                                     412−281−7229
                                                     Email: arihn@peircelaw.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Frederick S. Longer
                                                     (See above for address)
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 57 of 130
                                      A-58            LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Sara J. Watkins
                                                      Robert Peirce & Associates, P.C.
                                                      707 Grant Street
                                                      Suite 125
                                                      Pittsburgh, PA 15219
                                                      412−281−7229
                                                      Fax: 412−281−4229
                                                      Email: swatkins@peircelaw.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Eli Erlick                               represented by Charles E. Schaffer
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Frederick S. Longer
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Donna Bailey                             represented by Charles E. Schaffer
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Frederick S. Longer
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Rosalie Jackson                          represented by Charles E. Schaffer
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Frederick S. Longer
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 58 of 130
                                       A-59            YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Frank Anderson                            represented by Charles E. Schaffer
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                       Frederick S. Longer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Tina Haluszka                             represented by Charles E. Schaffer
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                       Frederick S. Longer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
James Hsieh                               represented by Andrea Gold
                                                         Tycko And Zavareei Llp
                                                         2000 Pennsylvania Nw
                                                         Suite 1010
                                                         Washington, DC 20006
                                                         (202) 973−0900
                                                         Fax: Not a member
                                                         Email: agold@tzlegal.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Dominic Rio                               represented by Andrea Gold
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 59 of 130
                                      A-60             TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Mohanad Abdelkarim                       represented by Andrea Gold
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Steven Checchia                          represented by Andrea Gold
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Tamula Chamberlain                       represented by Jeffrey W Golan
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Stacy Rankin                             represented by Kevin Ira Goldberg
                                                        Goldberg Law, LLC
                                                        401 Salk Circle
                                                        Gaithersburg, MD 20878
                                                        301−343−5817
                                                        Email: kigoldberg@aol.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Harold Nyanjom                           represented by Seth K. Jones
                                                        Barton and Burrows, LLC
                                                        5201 Johnson Drive, Suite 110
                                                        Mission, KS 66205
                                                        913−563−6256
                                                        Email: seth@bartonburrows.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                  Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 60 of 130
                                         A-61              Stacy A. Burrows
                                                           Barton and Burrows, LLC
                                                           5201 Johnson Drive, Suite 110
                                                           Mission, KS 66205
                                                           913−563−6253
                                                           Fax: 913−563−6259
                                                           Email: stacy@bartonburrows.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           David J. Stanoch
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           YuQing Emily Min
                                                           (See above for address)
                                                           TERMINATED: 07/16/2024
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Hannah De Priest                            represented by Adam J. Levitt
                                                           DiCello Levitt Gutzler LLC
                                                           Ten North Dearborn Street
                                                           Ste Sixth Floor
                                                           Chicago, IL 60602
                                                           312−214−7900
                                                           Email: alevitt@dicellolevitt.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           John E Tangren
                                                           DiCello Levitt LLP
                                                           Ten North Dearborn St.
                                                           Sixth Floor
                                                           Chicago, IL 60602
                                                           312−214−7900
                                                           Email: jtangren@dicellolevitt.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Stuart A. Davidson
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           YuQing Emily Min
                                                           (See above for address)
                                                           TERMINATED: 07/16/2024
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Frizell Johnson                             represented by Adam J. Levitt
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           John E Tangren
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Stuart A. Davidson
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 61 of 130
                                      A-62            YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Ruben Varela                             represented by Adam J. Levitt
                                                        Grant & Eisenhofer P.A.
                                                        30 North Lasalle Street
                                                        Suite 2350
                                                        Chicago, IL 60602
                                                        312−214−0000
                                                        Fax: 312−214−0001
                                                        Email: alevitt@gelaw.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      John E Tangren
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Stuart A. Davidson
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Joy Taylor                               represented by Mark Philip Pifko
                                                        Baron & Budd, P.C.
                                                        15910 Ventura Boulevard
                                                        Encino Plaza, Suite 1600
                                                        Encino, CA 91436
                                                        (818) 839−2333
                                                        Fax: (818) 986−9698
                                                        Email: mpifko@baronbudd.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Roland Tellis
                                                      Baron Budd, P.C.
                                                      15910 Ventura Boulevard
                                                      Encino Plaza, Suite 1600
                                                      Encino, CA 91436
                                                      818−839−2333
                                                      Fax: 818−986−9698
                                                      Email: rtellis@baronbudd.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Laura S Dunning
                                                      Levin, Papantonio, Rafferty, Proctor,
                                                      Buchanan, OBrien, Barr
                                                      Florida
                                                      316 S Baylen Street
                                                      Suite 600
                                                      Pensacola, FL 32502
                                                      850−435−7068
                                                      Email: ldunning@levinlaw.com
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 62 of 130
                                    A-63            ATTORNEY TO BE NOTICED

                                                    Peter J Mougey
                                                    Levin, Papantonio, Rafferty, Proctor,
                                                    Buchanan, OBrien, Barr
                                                    316 S. Baylen St.
                                                    Suite 600
                                                    Pensacola, FL 32502
                                                    850−435−7068
                                                    Email: mailsec@levinlaw.com
                                                    ATTORNEY TO BE NOTICED

                                                    YuQing Emily Min
                                                    (See above for address)
                                                    TERMINATED: 07/16/2024
                                                    ATTORNEY TO BE NOTICED

Plaintiff
Anthony Coleman                        represented by Mark Philip Pifko
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                    Laura S Dunning
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Peter J Mougey
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    YuQing Emily Min
                                                    (See above for address)
                                                    TERMINATED: 07/16/2024
                                                    ATTORNEY TO BE NOTICED

Plaintiff
Natasha Hernandez                      represented by L. Timothy Fisher
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                    Sarah Westcot
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    YuQing Emily Min
                                                    (See above for address)
                                                    TERMINATED: 07/16/2024
                                                    ATTORNEY TO BE NOTICED

Plaintiff
Jessica Thompson                       represented by Manish Borde
                                                      BORDE LAW PLLC
                                                      1700 7TH AVE
                                                      STE 2100
                                                      SEATTLE, WA 98101
                                                      206−531−2722
                                                      Email: mborde@bordelaw.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 63 of 130
                                      A-64            YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Emily Hansen                             represented by William A. Kershaw
                                                        Kershaw Talley Barlow PC
                                                        401 Watt Avenue
                                                        Ste 1
                                                        Sacramento, CA 95864
                                                        916−779−7000
                                                        Fax: 916−244−4829
                                                        Email: bill@ktblegal.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Sommer Milous                            represented by William A. Kershaw
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Andrew Gutierrez                         represented by William A. Kershaw
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Newton's Pharmacy, Inc.                  represented by Alyson Steele Beridon
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      James A. Streett
                                                      107 West Main
                                                      Russellville, AR 72801
                                                      Email: james@streettlaw.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 64 of 130
                                       A-65
Plaintiff
Rebecca Lynn Reyes                        represented by Cari Campen Laufenberg
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Robert J. Wagoner
                                                        Dittmer, Wagoner & Steele, LLC
                                                        Ohio
                                                        107 W. Johnstown Road
                                                        43230
                                                        Gahanna, OH 43230
                                                        614−471−8181
                                                        Fax: 614−540−7473
                                                        Email: bob@dwslaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Derek W. Loeser
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Eric Lombardo
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Sierra Vent                               represented by Andrew S Baker
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Blake G. Abbott
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Paul Doolittle
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Paul J Doolittle
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Hector Valdes                             represented by Brett Elliott von Borke
                                                         Buckner and Miles, P.A.
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 65 of 130
                                      A-66            2020 Salzedo Street, Suite 302
                                                      33134
                                                      Coral Gables, FL 33133
                                                      305−964−8003
                                                      Email: vonborke@bucknermiles.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kevin Bruce Love
                                                      Criden & Love PA
                                                      7301 SW 57th Court
                                                      Suite 515
                                                      South Miami, FL 33143
                                                      305−357−9000
                                                      Fax: 357−9050
                                                      Email: klove@cridenlove.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Seth Eric Miles
                                                      Buckner + Miles
                                                      3350 Mary Street
                                                      Miami, FL 33133
                                                      305−964−8003
                                                      Fax: 786−523−0485
                                                      Email: seth@bucknermiles.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Joanne Silva                             represented by Cristina M. Moreno
                                                        U.S. Attorney's Office
                                                        99 NE 4th Street
                                                        Miami, FL 33132
                                                        305−961−9180
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                      Derek Eduardo Leon
                                                      Leon Cosgrove, LLC
                                                      255 Alhambra Circle
                                                      Suite 800
                                                      Coral Gables, FL 33134
                                                      305 740−1977
                                                      Email: dleon@leoncosgrove.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Scott Brian Cosgrove
                                                      Leon Cosgrove LLP
                                                      255 Alhambra Circle − 8th Floor
                                                      Miami, FL 33134
                                                      305−740−1975
                                                      Fax: 305−437−8158
                                                      Email: scosgrove@leoncosgrove.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                  Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 66 of 130
                                         A-67             (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Shelby Noviskis                             represented by Ken B. Moll
                                                           Moll Law Group
                                                           180 N Stetson Ave.
                                                           35th Floor
                                                           Chicago, IL 60601
                                                           312−462−1700
                                                           Fax: Active
                                                           Email: info@molllawgroup.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Valeria F Benitez
                                                          Moll Law Group
                                                          180 N Stetson Ave
                                                          35th Floor
                                                          Chicago, IL 60601
                                                          312−462−1700
                                                          Fax: 312−756−0045
                                                          Email: vbenitez@molllawgroup.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
James Carrigan                              represented by Brian Ku
                                                           KU & MUSSMAN PA
                                                           18501 PINES BLVD STE 209−A
                                                           PEMBROKE PINES, FL 33029
                                                           305−891−1322
                                                           Fax: 305−891−4512
                                                           Email: brian@kumussman.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          YuQing Emily Min
                                                          (See above for address)
                                                          TERMINATED: 07/16/2024
                                                          ATTORNEY TO BE NOTICED

Plaintiff
Shawn L. Thomas                             represented by James E. Cecchi
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Jordan Jacobson
                                                          Kessler Topaz Meltzer Check LLP
                                                          280 King of Prussia Rd.
                                                          Radnor, PA 19087
                                                          210−844−5709
                                                          Email: jjacobson@ktmc.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 67 of 130
                                     A-68            Melissa L Yeates
                                                     Kessler Topaz Meltzer & Check, LLP
                                                     280 King of Prussia Rd
                                                     Radnor, PA 19087
                                                     610−667−7706
                                                     Fax: 610−667−7056
                                                     Email: myeates@ktmc.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Tyler Graden
                                                     Kessler Topaz Meltzer & Check, LLP
                                                     280 King of Prussia Road
                                                     Radnor, PA 19087
                                                     610−667−7706
                                                     Email: tgraden@ktmc.com
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Charles Geoffrey Woods                  represented by James E. Cecchi
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Jordan Jacobson
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Melissa L Yeates
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Tyler Graden
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED
                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
John Jeffrey Ward                       represented by Katrina Carroll
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                     Jennifer M French
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Scott G. Braden
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 68 of 130
                                      A-69            (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Ruta Taito                               represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Dr. Karen Schwartz                       represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Thomas Lewis                             represented by Katrina Carroll
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                      Jennifer M French
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Scott G. Braden
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 69 of 130
                                       A-70
Plaintiff
Dena Fichot                               represented by Katrina Carroll
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                       Jennifer M French
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Scott G. Braden
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Pamela Joyner                             represented by Paul Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Philip J. Furia
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason P. Sultzer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Kristin Lawrence                          represented by Paul Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Philip Furia
                                                       The Sultzer Law Group, P.C.
                                                       85 Civic Plaza, Suite 200
                                                       Poughkeepsi, NY 12601
                                                       201−744−0064
                                                       Email: furiap@thesultzerlawgroup.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason P. Sultzer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 70 of 130
                                       A-71            ATTORNEY TO BE NOTICED

Plaintiff
Sharon Rourk                              represented by Paul Doolittle
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Philip Furia
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Jason P. Sultzer
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Izabel Pena−Venegas                       represented by Christopher Ross Rodriguez
an individual                                            (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Gerald Singleton
                                                       Singleton Schreiber, LLP
                                                       591 Camino de la Reina, Suite 1025
                                                       San Diego, CA 92108
                                                       619−771−3473
                                                       Email: gsingleton@singletonschreiber.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Andrew Daniel Bluth
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Kevin S. Hannon
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Trent James Nelson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Beverly Ward                              represented by Christopher Ross Rodriguez
an individual                                            (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Gerald Singleton
                                                       (See above for address)
                                                       LEAD ATTORNEY
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 71 of 130
                                       A-72            ATTORNEY TO BE NOTICED

                                                       Andrew Daniel Bluth
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Kevin S. Hannon
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Trent James Nelson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Abby Jergins                              represented by Christopher Ross Rodriguez
an individual                                            (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       John Richard Ternieden
                                                       SINGLETON SCHREIBER LLP
                                                       1414 K ST STE 470
                                                       SACRAMENTO, CA 95814
                                                       916−248−8478
                                                       Email: jternieden@singletonschreiber.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Andrew Daniel Bluth
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Kevin S. Hannon
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Trent James Nelson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Bill Jergins                              represented by Christopher Ross Rodriguez
an individual                                            (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       John Richard Ternieden
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Andrew Daniel Bluth
                                                       (See above for address)
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 72 of 130
                                            A-73            ATTORNEY TO BE NOTICED

                                                            Kevin S. Hannon
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Trent James Nelson
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            YuQing Emily Min
                                                            (See above for address)
                                                            TERMINATED: 07/16/2024
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Archi Hipkins                                represented by Christopher Ross Rodriguez
an individual on behalf of themselves and                   (See above for address)
all others similarly situated                               LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            John Richard Ternieden
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Andrew Daniel Bluth
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Kevin S. Hannon
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Trent James Nelson
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            YuQing Emily Min
                                                            (See above for address)
                                                            TERMINATED: 07/16/2024
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Darrell Wayne Grimsley, Jr.                  represented by Peter J Mougey
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Laura S Dunning
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            YuQing Emily Min
                                                            (See above for address)
                                                            TERMINATED: 07/16/2024
                                                            ATTORNEY TO BE NOTICED

Plaintiff
Krystal Rampalli                             represented by Blake G. Abbott
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 73 of 130
                                     A-74             ATTORNEY TO BE NOTICED

                                                      Bryan F. Aylstock
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Paul Doolittle
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      R. Jason Richards
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Roy T. Willey , IV
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Christine Harrison                      represented by Joshua B. Kons
                                                       50 Albany Turnpike
                                                       Ste. 4024
                                                       Canton, CT 06019
                                                       860−920−5181
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      YuQing Emily Min
                                                      (See above for address)
                                                      TERMINATED: 07/16/2024
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Viva Cohen                              represented by Jonathan Marc Jagher
                                                       Freed Kanner London & Millen Llc
                                                       923 Fayette Street
                                                       Conshohocken, PA 19428
                                                       United Sta
                                                       (610) 234−6487
                                                       Fax: Not a member
                                                       Email: jjagher@fklmlaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Nia−imara Atu Barberousse Binns
                                                      Freed Kanner London & Millen LLC
                                                      100 Tri−State International
                                                      Ste 128
                                                      Lincolnshire, IL 60069
                                                      224−632−4510
                                                      Email: nbinns@fklmlaw.com
                                                      TERMINATED: 03/28/2024
                                                      LEAD ATTORNEY
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 74 of 130
                                       A-75             ATTORNEY TO BE NOTICED

                                                        Steven A. Kanner
                                                        Freed Kanner London & Millen LLC
                                                        100 Tri−State International
                                                        Ste 128
                                                        Lincolnshire, IL 60069
                                                        224−632−4500
                                                        Email: skanner@fklmlaw.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        William Henry London
                                                        Freed Kanner London & Millen
                                                        100 Tri−State International
                                                        Ste 128
                                                        Lincolnshire, IL 60069
                                                        224−632−4500
                                                        Email: wlondon@fklmlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Joey Cohen                                represented by Jonathan Marc Jagher
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Nia−imara Atu Barberousse Binns
                                                        (See above for address)
                                                        TERMINATED: 03/28/2024
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Steven A. Kanner
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        William Henry London
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
William Bryan                             represented by Benjamin I. Siminou
                                                         SINGLETON, SCHREIBER LAW FIRM
                                                         591 Camino De La Reina
                                                         Suite 1025
                                                         San Diego, CA 92101
                                                         619−704−3288
                                                         Email: bsiminou@singletonschreiber.com
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 75 of 130
                                     A-76            LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Christopher Ross Rodriguez
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Andrew Daniel Bluth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Kevin S. Hannon
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Trent James Nelson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Jack Hinsberger                         represented by Benjamin I. Siminou
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Christopher Ross Rodriguez
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Andrew Daniel Bluth
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Kevin S. Hannon
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Trent James Nelson
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     YuQing Emily Min
                                                     (See above for address)
                                                     TERMINATED: 07/16/2024
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Nancy Welharticky                       represented by Benjamin I. Siminou
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Christopher Ross Rodriguez
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 76 of 130
                                       A-77            Andrew Daniel Bluth
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Kevin S. Hannon
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Trent James Nelson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Robert Housman                            represented by Robert Housman
                                                         9001 Clifford Ave
                                                         Chevy Chase, MD 20815
                                                         202−486−5874
                                                         PRO SE

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Jay Valinsky                              represented by David Philip Milian
                                                         The Milian Legal Group
                                                         1395 Brickell Avenue
                                                         Suite 800
                                                         Miami, FL 33131
                                                         768−808−9736
                                                         Email: david@lawmilian.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       YuQing Emily Min
                                                       (See above for address)
                                                       TERMINATED: 07/16/2024
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Rethea Morris                             represented by Christopher Ross Rodriguez
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Kevin S. Hannon
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Andrew Daniel Bluth
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Trent James Nelson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 77 of 130
                                       A-78
                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Robert Haid                               represented by Christopher Ross Rodriguez
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Kevin S. Hannon
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Andrew Daniel Bluth
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Trent James Nelson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Plaintiffs                                represented by Michael A London
                                                         Douglas & London
                                                         59 Maiden Lane
                                                         6th Floor
                                                         New York, NY 10038
                                                         212−566−7500
                                                         Fax: 212−566−7501
                                                         Email: mlondon@douglasandlondon.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Sara Castronuova
                                                        Douglas & London, P.C.
                                                        59 Maiden Lane
                                                        6th Floor
                                                        New York, NY 10038
                                                        212−566−7500
                                                        Email: scastronuova@douglasandlondon.com
                                                        ATTORNEY TO BE NOTICED

                                                        YuQing Emily Min
                                                        (See above for address)
                                                        TERMINATED: 07/16/2024
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Michael Folks                             represented by Terence Richard Coates
                                                         Markovits, Stock & DeMarco, LLC
                                                         119 E. Court Street
                                                         Suite 530
                                                         Cincinnati, OH 45202
                                                         513−651−3700
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 78 of 130
                                       A-79             Fax: 513−665−0219
                                                        Email: tcoates@msdlegal.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Sharon Manier                             represented by Terence Richard Coates
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Jay Valinsky                              represented by David Philip Milian
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Stan Szrajer                              represented by Bret Koch Pufahl
                                                         Foote, Mielke, Chavez, & O'Neil, LLC
                                                         1541 East Fabyan Parkway
                                                         Suite 101
                                                         Geneva, IL 60134
                                                         630−232−7450
                                                         Email: bkp@fmcolaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Elizabeth Christine Chavez
                                                        Foote, Mielke, Chavez & O'Neil, LLC
                                                        Illinois
                                                        1541 East Fabyan Parkway
                                                        Suite 101
                                                        60134, Suite 200
                                                        Geneva, IL 60134
                                                        630−232−7450
                                                        Fax: 630−232−7452
                                                        Email: ecc@fmcolaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kathleen Chavez
                                                        Chavez Law Firm, P.C.
                                                        416 S Second Street
                                                        Geneva, IL 60134
                                                        630−232−4480
                                                        Fax: 630−845−8982
                                                        Email: gkeg4@aol.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Achorea Tisdale                           represented by Bryan L. Clobes
                                                         Cafferty Faucher
                                                         1717 Arch St
                                                         Ste 3610
                                                         Philadelphia, PA 19103
                                                         215−864−2800
                                                         Fax: 215−864−2810
                                                         Email: bclobes@caffertyfaucher.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 79 of 130
                                      A-80             ATTORNEY TO BE NOTICED

Plaintiff
Marisol Scharon                          represented by Bryan L. Clobes
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Haley Hadden                             represented by Alison D Hawthorne
                                                        Beasley Allen et al
                                                        Alabama
                                                        PO Box 4160
                                                        36013
                                                        Montgomery, AL 36104
                                                        334−269−2343
                                                        Fax: 334−954−7555
                                                        Email: alison.hawthorne@beasleyallen.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                       Jessica M Haynes
                                                       Beasley Allen Law Firm
                                                       301 St. Louis Street
                                                       Mobile, AL 36602
                                                       251−308−1515
                                                       Email: jessi.haynes@beasleyallen.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Rebecca D Gilliland
                                                       Beasley Allen et al
                                                       Fraud Department
                                                       218 Commerce Street
                                                       P.O. Box 4160 (36103)
                                                       Ste Building 272
                                                       Montgomery, AL 36104
                                                       334−269−2343
                                                       Email: rebecca.gilliland@beasleyallen.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Demet Basar
                                                       Beasley, Allen, Crow, Methvin, Portis &
                                                       Miles P.C.
                                                       218 Commerce St.
                                                       PO Box 4160
                                                       Montgomery, AL 36103−4160
                                                       334−269−2343
                                                       Fax: 334−954−5777
                                                       Email: Demet.Basar@Beasleyallen.com
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Bonnie Van Noy                           represented by Alison D Hawthorne
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 80 of 130
                                      A-81
                                                       Jessica M Haynes
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Rebecca D Gilliland
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Demet Basar
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Jonathan Brandman                        represented by Jennifer M French
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Gwen Lewi                                represented by Glenn Danas , I
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                       Reagan Charleston Thomas
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Ryan Clarkson
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Shireen M. Clarkson
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Zarrina Ozari
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
John Boswell                             represented by Elizabeth Christine Chavez
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Plaintiff
Mohamad Tlaib                            represented by Erin J. Ruben
                                                        Milberg Coleman Bryson Phillips
                                                        Grossman Pllc
                                                        900 W. Morgan Street
                                                        Raleigh, NC 27603
                                                        (919) 600−5000
Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 81 of 130
                       A-82            Fax: Not a member
                                       Email: eruben@milberg.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Gary M. Klinger
                                       Milberg Coleman Bryson Phillips
                                       Grossman PLLC
                                       227 W. Monroe Street
                                       Suite 2100
                                       Chicago, IL 60606
                                       866−252−0878
                                       Email: gklinger@milberg.com
                                       LEAD ATTORNEY
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED

                                       Jeff Ostrow
                                       Kopelowitz Ostrow P.A.
                                       One West Las Olas Blvd
                                       Suite 500
                                       Fort Lauderdale, FL 33301
                                       954−525−4100
                                       Fax: 954−525−4300
                                       Email: ostrow@kolawyers.com
                                       LEAD ATTORNEY
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED

                                       John Hunter Bryson
                                       Milberg Coleman Bryson Phillips
                                       Grossman, PLLC
                                       900 W. Morgan St.
                                       Raleigh, NC 27603
                                       919−600−5000
                                       Fax: 919−600−5035
                                       Email: hbryson@milberg.com
                                       LEAD ATTORNEY
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED

                                       Jonathan Marc Streisfeld
                                       Kopelowitz Ostrow P.A.
                                       One West Las Olas Boulevard
                                       Suite 500
                                       Fort Lauderdale, FL 33301
                                       (954) 525−4100
                                       Fax: Not a member
                                       Email: streisfeld@kolawyers.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Kristen Lake Cardoso
                                       Kopelowitz Ostrow Ferguson Weiselberg
                                       Gilbert
                                       1 W Las Olas Blvd
                                       Suite 500
                                       Fort Lauderdale, IL 33301
                                       (954) 525−4100
                                       Fax: Not a member
                                       Email: cardoso@kolawyers.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Melissa Susan Weiner
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 82 of 130
                                      A-83            Pearson Warshaw, LLP
                                                      328 Barry Avenue S.
                                                      Suite 200
                                                      Wayzata, MN 55391
                                                      612−389−0600
                                                      Fax: 612−389−0610
                                                      Email: mweiner@pwfirm.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Nick Suciu
                                                      Milberg Coleman Bryson Phillips
                                                      Grossman, PLLC
                                                      6905 Telegraph Rd.
                                                      Suite 115
                                                      Bloomfield Hills, MI 48301
                                                      313−303−3472
                                                      Email: nsuciu@milberg.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Russell Busch
                                                      Milberg Coleman Bryson Phillips
                                                      Grossman PLLC
                                                      800 S. Gay Street, Suite 1100
                                                      Knoxville, TN 37929
                                                      630−796−0903
                                                      Email: rbusch@milberg.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Thomas Gott
                                                      Pearson Warshaw, Llp
                                                      328 Barry Ave. South
                                                      Suite 200
                                                      Wayzata, MN 55391
                                                      (612) 389−0600
                                                      Fax: Not a member
                                                      Email: rgott@pwfirm.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Melissa S. Weiner
                                                      Pearson Warshaw, LLP
                                                      328 Barry Avenue S.
                                                      Suite 200
                                                      Wayzata, MN 55391
                                                      612−389−0600
                                                      Fax: 612−389−0610
                                                      Email: mweiner@pwfirm.com
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Rhonda Nitto                             represented by Erin J. Ruben
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Gary M. Klinger
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 83 of 130
                                      A-84
                                                      Jeff Ostrow
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      John Hunter Bryson
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Jonathan Marc Streisfeld
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Kristen Lake Cardoso
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Melissa Susan Weiner
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Nick Suciu
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Russell Busch
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ryan Thomas Gott
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Donald Krist                             represented by Erin J. Ruben
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Gary M. Klinger
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Jeff Ostrow
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Jonathan Marc Streisfeld
                                                      (See above for address)
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 84 of 130
                                       A-85            LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Kristen Lake Cardoso
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Melissa Susan Weiner
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Nick Suciu
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Russell Busch
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Ryan Thomas Gott
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Melissa S. Weiner
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Tina Tuominen                             represented by Erin J. Ruben
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Gary M. Klinger
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Jeff Ostrow
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       John Hunter Bryson
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Jonathan Marc Streisfeld
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Kristen Lake Cardoso
                                                       (See above for address)
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 85 of 130
                                     A-86            LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Melissa Susan Weiner
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Nick Suciu
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Russell Busch
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Ryan Thomas Gott
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Melissa S. Weiner
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Rose Riccio                             represented by Erin J. Ruben
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Gary M. Klinger
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Jeff Ostrow
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     John Hunter Bryson
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Jonathan Marc Streisfeld
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Kristen Lake Cardoso
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Melissa Susan Weiner
                                                     (See above for address)
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 86 of 130
                                     A-87            LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Nick Suciu
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Russell Busch
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Ryan Thomas Gott
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Melissa S. Weiner
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Paul Mateer                             represented by Nick Suciu
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                     Melissa S. Weiner
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff
William Mitchell                        represented by Nick Suciu
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                     Melissa S. Weiner
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Plaintiff
Bethany Childers                        represented by Charles R Webb
                                                       Webb Law Firm, PLLC
                                                       716 Lee Street
                                                       Charleston, WV 25301
                                                       304−344−9322
                                                       Fax: 301−344−1157
                                                       Email: Rusty@rustywebb.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Rose Riccio                             represented by Erin J. Ruben
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 87 of 130
                                        A-88
                                                         Gary M. Klinger
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Jeff Ostrow
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Hunter Bryson
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Melissa Susan Weiner
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Nick Suciu
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Russell Busch
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Ryan Thomas Gott
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Melissa S. Weiner
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Anntwanette Jones

Plaintiff
Daniel Calzado

Plaintiff
Keith Mortuiccio

Plaintiff
Pedro Urena


V.
Defendant
Johnson & Johnson Consumer Inc.            represented by Bradley Joseph Andreozzi
                                                          Faegre Drinker Biddle & Reath LLP
Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 88 of 130
                       A-89            191 North Wacker Drive
                                       Suite 3700
                                       Chicago, IL 60606−1698
                                       (312) 569−1173
                                       Fax: Active
                                       Email: bradley.andreozzi@faegredrinker.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Brianna Elizabeth Donet
                                       CARLTON FIELDS PA − MIAMI FL
                                       700 NW 1ST AVENUE
                                       SUITE 1200
                                       MIAMI, FL 33136
                                       305−530−0050
                                       Email: bdonet@carltonfields.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Hannah Y Shay Chanoine
                                       O'Melveny & Myers LLP
                                       1301 Avenue of the Americas
                                       Suite 1700
                                       New York, NY 10019−6022
                                       212−326−2000
                                       Email: hchanoine@omm.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Shannon M. Barrett
                                       O'Melveny & Myers LLP
                                       1625 Eye Street, NW
                                       Washington, DC 20006
                                       202−383−5300
                                       Fax: 202−383−5414
                                       Email: sbarrett@omm.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Sophie Honey Gotlieb
                                       Faegre Drinker Biddle & Reath LLP
                                       320 South Canal Street
                                       Ste 3300
                                       Chicago, IL 60606
                                       312−569−1128
                                       Email: sophie.gotlieb@faegredrinker.com
                                       LEAD ATTORNEY
                                       ATTORNEY TO BE NOTICED

                                       Amy J. Laurendeau
                                       O'Melveny & Myers LLP
                                       610 Newport Center Drive
                                       Newport Beach, CA 92660
                                       949−823−6900
                                       Fax: 949−823−6994
                                       Email: alaurendeau@omm.com
                                       ATTORNEY TO BE NOTICED

                                       Emilie W. Hamilton
                                       O'Melveny & Myers
                                       610 Newport Center Drive
                                       17th Floor
                                       Newport Beach, CA 10036
                                       949−823−6900
                                       Fax: 949−823−6994
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 89 of 130
                                     A-90             Email: ehamilton@omm.com
                                                      TERMINATED: 11/18/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Jeffrey A. N. Kopczynski
                                                      O'Melveny & Myers LLP
                                                      1301 Avenue of the Americas
                                                      Suite 1700
                                                      New York, NY 10019−6022
                                                      212−728−5675
                                                      Fax: 212−326−2061
                                                      Email: jkopczynski@omm.com
                                                      ATTORNEY TO BE NOTICED

Defendant
Procter & Gamble

Defendant
GlaxoSmithKline LLC                     represented by Jay P. Lefkowitz
                                                       Kirkland & Ellis
                                                       601 Lexington Avenue
                                                       New York, NY 10022
                                                       212−446−4970
                                                       Fax: 212−446−6460
                                                       Email: lefkowitz@kirkland.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Jacob Rae
                                                      Kirkland & Ellis LLP
                                                      601 Lexington Avenue
                                                      New York, NY 10022
                                                      212−446−4800
                                                      Email: jacob.rae@kirkland.com
                                                      ATTORNEY TO BE NOTICED

                                                      Robyn E. Bladow
                                                      Kirkland & Ellis LLP
                                                      555 South Flower Street
                                                      Suite 3700
                                                      Los Angeles, CA 90071
                                                      213−680−8400
                                                      Email: robyn.bladow@kirkland.com
                                                      ATTORNEY TO BE NOTICED

Defendant
Johnson & Johnson Consumer              represented by Christopher J. Schmidt
Companies, Inc                                         Bryan Cave Leighton Paisner, LLP − StL
                                                       211 North Broadway
                                                       Suite 3600
                                                       St. Louis, MO 63102−2750
                                                       (314) 259−2616
                                                       Fax: (314) 552−8616
                                                       Email: cjschmidt@bclplaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Defendant
Kenvue, Inc                             represented by Christopher J. Schmidt
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 90 of 130
                                    A-91
Defendant
Reckitt Benckiser LLC                  represented by James Lawrence Bernard
TERMINATED: 06/04/2024                                Hogan Lovells US LLP
                                                      390 Madison Avenue
                                                      New York, NY 10017
                                                      212−918−3000
                                                      Fax: 212−918−3100
                                                      Email: james.bernard@hoganlovells.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Kristen A. Cooke
                                                     Swanson Martin & Bell LLP
                                                     330 N. Wabash
                                                     Suite 3300
                                                     Chicago, IL 60611
                                                     312−321−3513
                                                     Fax: 312−321−0990
                                                     Email: kcooke@smbtrials.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Lauren Schultz Colton
                                                     Hogan Lovells US LLP
                                                     100 International Drive
                                                     Suite 2000
                                                     Baltimore, MD 21202
                                                     410−659−2700
                                                     Fax: 410−659−2701
                                                     Email: lauren.colton@hoganlovells.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
Merck

Defendant
RB Health (US) LLC                     represented by James Lawrence Bernard
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                     Julie R. Schindel
                                                     Hogan Lovells US LLP
                                                     100 International Drive
                                                     Suite 2000
                                                     Baltimore, MD 21202
                                                     (410) 659−5058
                                                     Fax: (410) 659−2701
                                                     Email: julie.schindel@hoganlovells.com
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Lauren Schultz Colton
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Pieter Van Tol
                                                     Lovells LLP
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 91 of 130
                                      A-92           590 Madison Avenue
                                                     New York, NY 10022
                                                     212−909−0600
                                                     Fax: 212−909−0660
                                                     Email: pieter.vantol@hoganlovells.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

Defendant
Glaxosmithkline Consumer Health and
Holdings

Defendant
Target Corporation                      represented by Ann Elizabeth Motl
                                                       Greenberg Traurig, LLP
                                                       3500 Wells Fargo Center
                                                       90 South Seventh Street
                                                       Minneapolis, MN 55402
                                                       612−259−9753
                                                       Email: motla@gtlaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Mark Lesko
                                                     Greenberg Traurig, P.A
                                                     900 Stewart Avenue
                                                     Garden City, NY 11530
                                                     516−629−9600
                                                     Email: mark.lesko@gtlaw.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Austin Evans
                                                     Greenberg Traurig
                                                     1144 15th St UNIT 3300
                                                     Denver, CO 80202
                                                     303−685−7422
                                                     Email: austin.evans@gtlaw.com
                                                     ATTORNEY TO BE NOTICED

                                                     Dale Goldstein
                                                     Greenberg Traurig, LLP
                                                     One Vanderbilt Avenue
                                                     New York, NY 10017
                                                     212−801−6459
                                                     Email: goldsteind@gtlaw.com
                                                     ATTORNEY TO BE NOTICED

                                                     Nilda Maria Isidro
                                                     Greenberg Traurig LLP
                                                     One Vanderbilt Avenue
                                                     New York, NY 10017
                                                     212−801−9335
                                                     Email: isidron@gtlaw.com
                                                     ATTORNEY TO BE NOTICED

                                                     Sara K. Thompson
                                                     Greenberg Traurig, LLP
                                                     3290 Northside Parkway
                                                     Suite 400
                                                     Atlanta, GA 30349
                                                     678−553−2392
                                                     Fax: 678−553−2393
                                                     Email: thompsons@gtlaw.com
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 92 of 130
                                           A-93           ATTORNEY TO BE NOTICED

Defendant
Kenvue Inc.

Defendant
McNeil Consumer Healthcare

Defendant
Bayer Healthcare L.L.C.                     represented by Cara Edwards
a Delaware limited liability corporation                   DLA Piper US LLP
                                                           1251 Avenue of the Americas
                                                           New York, NY 10020
                                                           212−335−4714
                                                           Fax: 212−884−8714
                                                           Email: cara.edwards@dlapiper.com
                                                           ATTORNEY TO BE NOTICED

                                                          Christopher G. Campbell
                                                          DLA Piper LLP (US)
                                                          1251 Avenue of the Americas
                                                          New York, NY 10020−6000
                                                          212−335−4725
                                                          Fax: 212−884−8725
                                                          Email: christopher.campbell@dlapiper.com
                                                          ATTORNEY TO BE NOTICED

                                                          Christopher Munro Young
                                                          Dla Piper
                                                          Litigation
                                                          4365 Executive Drive
                                                          Suite 1100
                                                          San Diego, CA 92121−2133
                                                          619−699−4748
                                                          Fax: 619−764−6748
                                                          Email: christopher.young@us.dlapiper.com
                                                          ATTORNEY TO BE NOTICED

                                                          Colleen Gulliver
                                                          DLA Piper LLP
                                                          1251 Avenue Of The Americas
                                                          New York, NY 10020
                                                          212−335−4737
                                                          Fax: 917−778−8037
                                                          Email: Colleen.Gulliver@us.dlapiper.com
                                                          ATTORNEY TO BE NOTICED

Defendant
Sanofi− Aventis U.S. LLC
a Delaware limited liability corporation

Defendant
Church & Dwight Co. Inc.                    represented by Baldassare Vinti , PHV
a Delaware corporation                                     Proskauer Rose LLP
                                                           11 Times Square
                                                           NY, NY 10036
                                                           212−969−3249
                                                           Fax: 212−969−2900
                                                           Email: bvinti@proskauer.com
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 93 of 130
                                      A-94
                                                      Jeffrey H. Warshafsky , PHV
                                                      Proskauer Rose LLP
                                                      Eleven Times Square
                                                      New York, NY 10036
                                                      212−969−3241
                                                      Email: jwarshafsky@proskauer.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Jennifer L. Roche
                                                      2029 Century Park East
                                                      Ste 2400
                                                      Los Angeles, CA 90067
                                                      310−557−2193
                                                      Fax: 310−557−2900
                                                      Email: jroche@proskauer.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Defendant
Walmart Inc,                             represented by Austin Evans
a Delaware corporation                                  (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                      Dale Goldstein
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Ethan Price Davis
                                                      King & Spalding
                                                      50 California Street
                                                      Suite 3300
                                                      San Francisco, CA 94111
                                                      415−318−1228
                                                      Email: edavis@kslaw.com
                                                      TERMINATED: 03/27/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Mark Lesko
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Michael L. Resch
                                                      King & Spalding
                                                      50 California Street
                                                      Suite 3300
                                                      San Francisco, CA 94111
                                                      415−318−1200
                                                      Fax: 415−318−1300
                                                      Email: mresch@kslaw.com
                                                      TERMINATED: 03/27/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Nilda Maria Isidro
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Rose J Jones
                                                      King & Spalding
                                                      1180 Peachtree Street, NE
                                                      Ste 1600
                                                      Atlanta, GA 30309
                 Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 94 of 130
                                        A-95              404−215−5828
                                                          Email: rjones@hilgersgraben.com
                                                          TERMINATED: 03/27/2024
                                                          ATTORNEY TO BE NOTICED

Defendant
CVS Pharmacy Inc.                          represented by Gregory Edward Ostfeld
a Delaware corporation                                    Greenberg Traurig, LLP
                                                          77 W. Wacker Drive
                                                          Suite 3100
                                                          Chicago, IL 60601
                                                          (312) 476−5056
                                                          Fax: Active
                                                          Email: ostfeldg@gtlaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Mark Lesko
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Austin Evans
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Dale Goldstein
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Nilda Maria Isidro
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Sara K. Thompson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Walgreen Co                                represented by Mark Lesko
an Illinois corporation                                   (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Austin Evans
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Dale Goldstein
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Nilda Maria Isidro
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Sara K. Thompson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Albertsons Companies, Inc.                 represented by Mark Lesko
a Delaware corporation                                    (See above for address)
               Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 95 of 130
                                      A-96             LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Austin Evans
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Dale Goldstein
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Nilda Maria Isidro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Sara K. Thompson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Rite Aid Corporation                     represented by Mark Lesko
a Delaware corporation                                  (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       Robert James Herrington
                                                       Greenberg Traurig, LLP
                                                       Litigation
                                                       1840 Century Park East
                                                       Ste 1900
                                                       Los Angeles, CA 90067
                                                       310−586−7700
                                                       Fax: 310−586−7800
                                                       Email: herringtonr@gtlaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Austin Evans
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Dale Goldstein
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Nilda Maria Isidro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Sara K. Thompson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Amazon.com, Inc                          represented by Jennifer Janeira Nagle
a Delaware corporation                                  K&L Gates LLP
                                                        One Congress Street
                                                        Suite 2900
                                                        Boston, MA 02114−2010
                                                        617−951−9197
                                                        Email: jennifer.nagle@klgates.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 96 of 130
                                     A-97             Robert W. Sparkes , III
                                                      K&L Gates LLP
                                                      One Congress Street
                                                      Suite 2900
                                                      Boston, MA 02114−2010
                                                      617−951−9134
                                                      Fax: 617−261−3175
                                                      Email: robert.sparkes@klgates.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Ruby A. Nagamine
                                                      K&L Gates LLP
                                                      925 Fourth Avenue
                                                      Suite 2900
                                                      Seattle, WA 98104
                                                      206−370−7843
                                                      Email: ruby.nagamine@klgates.com
                                                      ATTORNEY TO BE NOTICED

Defendant
Associated Wholesale Grocers Inc        represented by Paige Sensenbrenner
                                                       Adams and Reese LLP
                                                       701 Poydras Street
                                                       Suite 4500
                                                       New Orleans, LA 70139
                                                       504−585−0420
                                                       Email: paige.sensenbrenner@arlaw.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                      Diana Cole Surprenant
                                                      Adams and Reese
                                                      701 Poydras Street
                                                      Suite 4500
                                                      New Orleans, LA 70139
                                                      504−585−0202
                                                      Email: diana.surprenant@arlaw.com
                                                      ATTORNEY TO BE NOTICED

Defendant
Valu Merchandisers Co.                  represented by Paige Sensenbrenner
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                      Diana Cole Surprenant
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Haleon Us Capital LLC                   represented by Jay P. Lefkowitz
TERMINATED: 06/04/2024                                 (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Jacob Rae
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Robyn E. Bladow
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 97 of 130
                                     A-98            (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
CVS Health Corporation

Defendant
Haleon PLC                              represented by Haleon PLC
                                                       PRO SE

                                                     Jay P. Lefkowitz
                                                     (See above for address)
                                                     TERMINATED: 08/07/2024
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Jacob Rae
                                                     (See above for address)
                                                     TERMINATED: 08/07/2024
                                                     ATTORNEY TO BE NOTICED

                                                     Robyn E. Bladow
                                                     (See above for address)
                                                     TERMINATED: 08/07/2024
                                                     ATTORNEY TO BE NOTICED

Defendant
Pfizer Inc.                             represented by Jay P. Lefkowitz
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Jacob Rae
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

                                                     Robyn E. Bladow
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
Amazon.com Services LLC                 represented by Jennifer Janeira Nagle
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Robert W. Sparkes , III
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                     Ruby A. Nagamine
                                                     (See above for address)
                                                     ATTORNEY TO BE NOTICED

Defendant
DOES 1−200

Defendant
Perrigo Company PLC
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 98 of 130

Defendant
                                     A-99
GlaxoSmithKline Consumer                represented by Jay P. Lefkowitz
Healthcare Holdings (US) LLC                           (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Jacob Rae
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Robyn E. Bladow
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
Procter & Gamble Co.                    represented by Andrew Soukup
                                                       Covington & Burling LLP
                                                       One Citycenter
                                                       850 Tenth Street Nw
                                                       Washington, DC 20001
                                                       202−662−5066
                                                       Fax: 202−778−5066
                                                       Email: asoukup@cov.com
                                                       ATTORNEY TO BE NOTICED

                                                      Cortlin Hall Lannin
                                                      Covington & Burling LLP
                                                      Salesforce Tower
                                                      415 Mission Street
                                                      Suite 5400
                                                      San Francisco, CA 94105
                                                      415−591−7078
                                                      Email: clannin@cov.com
                                                      ATTORNEY TO BE NOTICED

Defendant
Wal−Mart Stores East 1, LP              represented by Beth C. Boggs
                                                       Boggs, Avellino, Lach & Boggs, LLC
                                                       9326 Olive Boulevard
                                                       Suite 200
                                                       St. Louis, MO 63132
                                                       (314)726−2310
                                                       Fax: 314−726−2360
                                                       Email: bboggs@balblawyers.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Austin Evans
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Dale Goldstein
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Ethan Price Davis
                                                      (See above for address)
                                                      TERMINATED: 03/27/2024
                                                      ATTORNEY TO BE NOTICED

                                                      Livia M. Kiser
                                                      King & Spalding
                                                      King & Spalding LLP
                Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 99 of 130
                                      A-100            110 N Wacker Drive
                                                       Suite 3800
                                                       60606
                                                       Chicago, IL 60606
                                                       312−764−6911
                                                       Email: lkiser@kslaw.com
                                                       TERMINATED: 03/27/2024
                                                       ATTORNEY TO BE NOTICED

                                                       Mark Lesko
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Michael L. Resch
                                                       (See above for address)
                                                       TERMINATED: 03/27/2024
                                                       ATTORNEY TO BE NOTICED

                                                       Nilda Maria Isidro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Rose J Jones
                                                       (See above for address)
                                                       TERMINATED: 03/27/2024
                                                       ATTORNEY TO BE NOTICED

                                                       Sara K. Thompson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Wal−Mart Inc.                             represented by Beth C. Boggs
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                       Dale Goldstein
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Ethan Price Davis
                                                       (See above for address)
                                                       TERMINATED: 03/27/2024
                                                       ATTORNEY TO BE NOTICED

                                                       Livia M. Kiser
                                                       (See above for address)
                                                       TERMINATED: 03/27/2024
                                                       ATTORNEY TO BE NOTICED

                                                       Mark Lesko
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Michael L. Resch
                                                       (See above for address)
                                                       TERMINATED: 03/27/2024
                                                       ATTORNEY TO BE NOTICED

                                                       Nilda Maria Isidro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 100 of 130
                                     A-101              Rose J Jones
                                                        (See above for address)
                                                        TERMINATED: 03/27/2024
                                                        ATTORNEY TO BE NOTICED

                                                        Sara K. Thompson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
Walgreens Boots Alliance Inc.

Defendant
Helen of Troy Limited

Defendant
John Doe 1−200

Defendant
Publix Super Markets, Inc.               represented by Brian T. Guthrie
                                                        Saul Ewing LLP
                                                        1500 Market Street, 38th Floor
                                                        Centre Square Building
                                                        Philadelphia, PA 19102
                                                        215−972−7125
                                                        Fax: 215−972−4168
                                                        Email: bguthrie@saul.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Daniel Brandon Rogers
                                                        Shook, Hardy & Bacon L. L. P.
                                                        201 South Biscayne Boulevard
                                                        Suite 3200
                                                        Miami, FL 33131
                                                        305−960−6968
                                                        Fax: 305−358−7470
                                                        Email: drogers@shb.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Michael Fitzgerald Healy
                                                        Shook, Hardy & Bacon L.L.P.
                                                        555 Mission Street
                                                        Suite 2300
                                                        San Francisco, CA 94105
                                                        415−544−1900
                                                        Fax: 415−391−0281
                                                        Email: mfhealy@shb.com
                                                        ATTORNEY TO BE NOTICED

Defendant
Costco Wholesale Corp.                   represented by Mark Lesko
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Austin Evans
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Dale Goldstein
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 101 of 130
                                      A-102            (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Nilda Maria Isidro
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Sara K. Thompson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant
Procter & Gamble Distributing, LLC,
The

Defendant
Dierbergs Markets, Inc.                  represented by Michael Klebanov
                                                        Husch Blackwell LLP
                                                        1801 Pennsylvania Avenue, NW
                                                        Suite 1000
                                                        Washington, DC 20006−3606
                                                        202−378−2363
                                                        Email: michael.klebanov@huschblackwell.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       Tanner Cook
                                                       Husch Blackwell LLP
                                                       8001 Forsyth Boulevard
                                                       Suite 1500
                                                       St. Louis, MO 63105
                                                       314−480−1500
                                                       Email: tanner.cook@huschblackwell.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Defendant
The Procter & Gamble Company             represented by Alyssa Marie Gregory
                                                        Locke Lord LLP
                                                        111 S. Wacker Dr.
                                                        Chicago, IL 60606
                                                        (312) 443−0355
                                                        Fax: Not a member
                                                        Email: alyssa.gregory@lockelord.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       Andrew Soukup
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Andrew James Soukup
                                                       Covington & Burling LLP
                                                       One CityCenter
                                                       850 Tenth Street NW
                                                       Washington, DC 20001
                                                       202−662−5066
                                                       Fax: 202−778−5066
                                                       Email: asoukup@cov.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 102 of 130
                                     A-103              Phillip Russell Perdew
                                                        Locke Lord LLP
                                                        111 South Wacker Drive
                                                        Chicago, IL 60606
                                                        (312) 443−1712
                                                        Fax: Active
                                                        Email: rperdew@lockelord.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Laura Flahive Wu
                                                        Covington & Burling LLP
                                                        One City Center
                                                        850 Tenth Street, NW
                                                        Washington, DC 20001
                                                        202−662−5982
                                                        Email: lflahivewu@cov.com
                                                        ATTORNEY TO BE NOTICED

Defendant
Haleon US Holdings LLC                   represented by Jay P. Lefkowitz
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Robyn E. Bladow
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
Bayer Corporation                        represented by Colleen Gulliver
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
Reckitt Benckiser Pharmaceuticals        represented by Lauren Schultz Colton
Inc.                                                    (See above for address)
TERMINATED: 06/04/2024                                  LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Defendant
The Kroger Co.                           represented by Richard Fama
                                                        Cozen O'Connor
                                                        Cozen O'Connor
                                                        3 Wtc
                                                        175 Greenwich St
                                                        10007
                                                        New York, NY 10006
                                                        212−908−1229
                                                        Email: rfama@cozen.com
                                                        ATTORNEY TO BE NOTICED

Defendant
Harris Teeter, LLC                       represented by Karl Riley
                                                        Cozen O'Connor
                                                        Florida
                                                        200 South Biscayne Blvd., Suite 3000
                                                        Miami
                                                        Miami, FL 33131
                                                        305−358−0816
                                                        Email: koriley@cozen.com
                                                        ATTORNEY TO BE NOTICED
              Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 103 of 130
                                              A-104
                                                                  Richard Fama
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

Defendant
Harris Teeter Supermarkets, Inc.                  represented by Karl Riley
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

                                                                  Richard Fama
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

Defendant
The Kroger Co.                                    represented by Karl Riley
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED

Defendant
Dolgencorp, Inc.

Defendant
Family Dollar, LLC


 Date Filed    #      Docket Text
 12/06/2023        1 JPMDL TRANSFER ORDER, In Re: Oral Phenylephrine Marketing and Sales
                     Practices Litigation, The actions listed on Schedule A and pending outside the Eastern
                     District of New York are transferred to the Eastern District of New York and, with the
                     consent of that court, assigned to the Honorable Brian M. Cogan for coordinated or
                     consolidated pretrial proceedings. IT IS FURTHER ORDERED that transfer of the
                     "Maximum Strength" Tuominem action listed on Schedule B is denied. (TLH)
                     (Entered: 12/07/2023)
 12/11/2023        2 JPMDL Conditional Transfer Order (Schedule A): The actions listed on Schedule A
                     and pending outside the Eastern District of New York are transferred to the Eastern
                     District of New York and, with the consent of that court, assigned to the Honorable
                     Brian M. Cogan for coordinated or consolidated pretrial proceedings. (AF) (Entered:
                     12/11/2023)
 12/12/2023        3 NOTICE of Appearance by Philip J. Furia on behalf of Kamonica McWhite (aty to be
                     noticed) (Furia, Philip) (Entered: 12/12/2023)
 12/19/2023        4 JPMDL Conditional Transfer Order (CTO−1): Pursuant to Rule 7.1 of the Rules of
                     Procedure of the United States Judicial Panel on Multidistrict Litigation,the action(s)
                     on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                     of New York for the reasons stated in the order of December 6, 2023, and, with the
                     consent of that court, assigned tothe Honorable Brian M. Cogan. (AF) Assigned case
                     numbers updated. (Main Document 4 replaced on 1/11/2024) (AF). Modified on
                     1/11/2024 (AF). (Entered: 12/19/2023)
 12/21/2023        5 ORDER. The parties are directed to review the attached proposed Case Management
                     Order, which outlines the Court's preliminary rules for the process of this case. By
                     2/29/2024, the parties are directed to complete and file the attached proposed CMO.
                     The parties shall meet and confer in advance of that date and jointly file only one
                     proposed CMO that is agreed upon by all parties. With respect to the Initial Status
                     Conference, please provide three dates and times at which all relevant parties are
                     available, and the Court will determine the conference date upon filing. The proposed
                     dates should fall between 3/15/2024 and 4/15/2024. Ordered by Judge Brian M. Cogan
                     on 12/21/2023. (PW) (Entered: 12/21/2023)
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 104 of 130

12/28/2023
                                         A-105
              6 MOTION to Appear Pro Hac Vice − Motion for Admission Pro Hac Vice of Stuart A.
                Davidson − Filing fee $ 150, receipt number NYEDC−17413795 by Erin Barton,
                Tatiana Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras,
                Hannah De Priest, Natasha Freeman, Samuel Gallo, Robin Glauser, Frizell Johnson,
                Anthony Rogers, Ruben Varela. (Attachments: # 1 Affidavit of S. Davidson, # 2
                Exhibit A, # 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09063−BMC, 1:23−cv−09272−BMC, 1:23−cv−09313−BMC (Davidson,
                Stuart) (Entered: 12/28/2023)
12/28/2023    7 NOTICE of Appearance by Melanie H. Muhlstock on behalf of Chioma Ozuzu (aty to
                be noticed) Associated Cases: 1:23−md−03089−BMC, 1:23−cv−07395−BMC
                (Muhlstock, Melanie) (Entered: 12/28/2023)
12/28/2023    8 NOTICE of Appearance by Melanie H. Muhlstock on behalf of Robyn Cronin (aty to
                be noticed) Associated Cases: 1:23−md−03089−BMC, 2:23−cv−06870−BMC
                (Muhlstock, Melanie) (Entered: 12/28/2023)
12/28/2023    9 NOTICE of Appearance by Jason Scott Goldstein on behalf of Robyn Cronin (aty to
                be noticed) Associated Cases: 1:23−md−03089−BMC, 2:23−cv−06870−BMC
                (Goldstein, Jason) (Entered: 12/28/2023)
12/28/2023   10 NOTICE of Appearance by Jason Scott Goldstein on behalf of Chioma Ozuzu (aty to
                be noticed) Associated Cases: 1:23−md−03089−BMC, 1:23−cv−07395−BMC
                (Goldstein, Jason) (Entered: 12/28/2023)
12/30/2023   11 NOTICE of Appearance by Michael Robert Reese on behalf of Kamonica McWhite
                (aty to be noticed) (Reese, Michael) (Entered: 12/30/2023)
01/03/2024   12 JPMDL Conditional Transfer Order (CTO−2): Pursuant to Rule 7.1 of the Rules of
                Procedure of the United States Judicial Panel on Multidistrict Litigation,the action(s)
                on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                of NewYork for the reasons stated in the order of December 6, 2023, and, with the
                consent of that court, assigned tothe Honorable Brian M. Cogan. (AF) (Entered:
                01/03/2024)
01/03/2024   13 MOTION to Appear Pro Hac Vice MOTION TO ADMIT CARI CAMPEN
                LAUFENBERG PRO HAC VICE Filing fee $ 150, receipt number NYEDC−17426336
                by Martha A. Page, Rebecca Lynn Reyes. (Attachments: # 1 Affidavit of Cari
                Laufenberg, # 2 Exhibit A − Certificate of Good Standing, # 3 Proposed Order)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09290−BMC,
                1:23−cv−09308−BMC (Laufenberg, Cari) (Entered: 01/03/2024)
01/04/2024   14 NOTICE of Appearance by Jonathan David Lindenfeld on behalf of Anthony DeRosa
                (aty to be noticed) (Lindenfeld, Jonathan) (Entered: 01/04/2024)
01/04/2024   15 NOTICE of Appearance by Christopher G. Campbell on behalf of Bayer Corporation,
                Bayer Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer
                Health Care, LLC, Bayer Corporation (aty to be noticed) Associated Cases:
                1:23−md−03089−BMC et al. (Campbell, Christopher) (Entered: 01/04/2024)
01/04/2024   16 NOTICE of Appearance by Cara Edwards on behalf of Bayer Corporation, Bayer
                Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health
                Care, LLC, Bayer Corporation (aty to be noticed) Associated Cases:
                1:23−md−03089−BMC et al. (Edwards, Cara) (Entered: 01/04/2024)
01/05/2024   17 MOTION to Appear Pro Hac Vice Motion to Admit Laura S. Dunning Pro Hac Vice
                Filing fee $ 150, receipt number ANYEDC−17433640 by Joy Taylor, Darrell Wayne
                Grimsley, Jr.. (Attachments: # 1 Affidavit of Laura Dunning, # 2 Exhibit A −
                Certificate of Good Standing, # 3 Proposed Order) (Dunning, Laura) (Entered:
                01/05/2024)
01/08/2024   18 JPMDL Conditional Transfer Order (CTO−3): Pursuant to Rule 7.1 of the Rules of
                Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                of New York for the reasons stated in the order of December 6, 2023, and, with the
                consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                01/08/2024)
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 105 of 130

01/08/2024
                                         A-106
                 ORDER granting 6 13 17 Motions for Leave to Appear Pro Hac Vice. The attorneys
                 shall register for ECF, registration is available online at www.pacer.gov. Once
                 registered, the attorneys shall file a notice of appearance and ensure that they receive
                 electronic notification of activity in this case. Also, each attorney shall ensure the $150
                 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                 Filing Fee. Ordered by Judge Brian M. Cogan on 1/8/2024. (PW) (Entered:
                 01/08/2024)
01/08/2024   19 NOTICE of Appearance by Cari Campen Laufenberg on behalf of Martha A. Page,
                Rebecca Lynn Reyes (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09290−BMC, 1:23−cv−09308−BMC (Laufenberg,
                Cari) (Entered: 01/08/2024)
01/09/2024   20 NOTICE of Appearance by Stuart A. Davidson on behalf of Erin Barton, Tatiana
                Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Hannah De
                Priest, Natasha Freeman, Samuel Gallo, Robin Glauser, Frizell Johnson, Anthony
                Rogers, Ruben Varela (aty to be noticed) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09063−BMC, 1:23−cv−09272−BMC, 1:23−cv−09313−BMC (Davidson,
                Stuart) (Entered: 01/09/2024)
01/09/2024   21 NOTICE of Appearance by Rand Patrick Nolen on behalf of Andrew Gutierrez, Emily
                Hansen, Sommer Milous (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09259−BMC (Nolen, Rand) (Entered: 01/09/2024)
01/09/2024   22 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                ANYEDC−17444202 by Anthony DeRosa. (Attachments: # 1 Affidavit in Support and
                Certificate of Good Standing) (Fegan, Elizabeth) (Entered: 01/09/2024)
01/10/2024   23 MOTION to Appear Pro Hac Vice Motion to Admit Peter J. Mougey Pro Hac Vice
                Filing fee $ 150, receipt number NYEDC−17448412 by Anthony Coleman, Darrell
                Wayne Grimsley, Jr., Joy Taylor. (Attachments: # 1 Affidavit of Peter J. Mougey, # 2
                Exhibit A − Certificate of Good Standing, # 3 Proposed Order) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09265−BMC (Mougey, Peter) (Entered:
                01/10/2024)
01/10/2024   24 NOTICE of Appearance by Ethan Price Davis on behalf of Walmart Inc,, Walmart
                Inc,, Wal−Mart Inc., Wal−Mart Stores East 1, LP, Wal−Mart Stores East, LP (aty to be
                noticed) Associated Cases: 1:23−md−03089−BMC et al. (Davis, Ethan) (Entered:
                01/10/2024)
01/12/2024   25 JPMDL Conditional Transfer Order (CTO−4):Pursuant to Rule 7.1 of the Rules of
                Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                of New York for the reasons stated in the order of December 6, 2023, and, with the
                consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                01/12/2024)
01/16/2024   26 MOTION to Appear Pro Hac Vice by Christopher Young Filing fee $ 150, receipt
                number NYEDC−17465148 by Bayer Corporation, Bayer Healthcare L.L.C., Bayer
                Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care, LLC, Bayer
                Corporation. (Attachments: # 1 Affidavit of Christopher Young, # 2 Certificate of
                Good Standing, # 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC et al.
                (Young, Christopher) (Entered: 01/16/2024)
01/16/2024   27 NOTICE of Appearance by Laura Flahive Wu on behalf of The Procter & Gamble
                Company (aty to be noticed) Associated Cases: 1:23−md−03089−BMC et al. (Flahive
                Wu, Laura) (Entered: 01/16/2024)
01/17/2024   28 MOTION to Appear Pro Hac Vice for Rose J. Jones Filing fee $ 150, receipt number
                NYEDC−17468353 by Walmart Inc,, Walmart Inc,, Wal−Mart Inc., Wal−Mart Stores
                East 1, LP, Wal−Mart Stores East, LP. (Attachments: # 1 Affidavit in Support, # 2
                Exhibit A − Certificate of Good Standing (GA), # 3 Proposed Order, # 4 Certificate of
                Service) Associated Cases: 1:23−md−03089−BMC et al. (Jones, Rose) (Entered:
                01/17/2024)
01/17/2024   29 MOTION to Appear Pro Hac Vice of Robert W. Sparkes, III Filing fee $ 150, receipt
                number NYEDC−17470064 by Amazon.com Services LLC, Amazon.com, Inc,
                Amazon.com, Inc, Amazon.com, Inc.. (Attachments: # 1 Affidavit in Support of
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 106 of 130
                                        A-107
                 Robert W. Sparkes, III, # 2 Exhibit Certificate of Good Standing (Massachusetts), # 3
                 Proposed Order) Associated Cases: 1:23−md−03089−BMC et al. (Sparkes, Robert)
                 (Entered: 01/17/2024)
01/17/2024   30 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17470274 by Eduardo Flores, Jordan Nelson, Regina Peralta, Natasha
                Hernandez. (Attachments: # 1 Affidavit of Sarah N. Westcot, # 2 Exhibit A, # 3
                Exhibit B, # 4 Proposed Order) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09257−BMC, 1:23−cv−09261−BMC, 1:23−cv−09263−BMC (Westcot,
                Sarah) (Entered: 01/17/2024)
01/17/2024   31 MOTION to Appear Pro Hac Vice for Benjamin S. McIntosh Filing fee $ 150, receipt
                number ANYEDC−17470256 by Daniel Heaghney, Daryl Means. (Attachments: # 1
                Exhibit, # 2 Affidavit, # 3 Proposed Order, # 4 Certificate of Service) (McIntosh,
                Benjamin) (Entered: 01/17/2024)
01/17/2024   32 MOTION to Appear Pro Hac Vice by Michael Resch Filing fee $ 150, receipt number
                NYEDC−17471345 by Walmart Inc,, Walmart Inc,, Wal−Mart Inc., Wal−Mart Stores
                East 1, LP, Wal−Mart Stores East, LP. (Attachments: # 1 Declaration in Support by
                Michael Resch, # 2 Exhibit A − Certificate of Good Standing (D.C.), # 3 Exhibit B −
                Certificate of Good Standing (Cal.), # 4 Proposed Order, # 5 Certificate of Service)
                Associated Cases: 1:23−md−03089−BMC et al. (Resch, Michael) (Entered:
                01/17/2024)
01/18/2024   33 NOTICE of Appearance by Mark Lesko on behalf of Albertsons Companies, Inc. (aty
                to be noticed) (Lesko, Mark) (Entered: 01/18/2024)
01/18/2024   34 NOTICE of Appearance by Nilda Maria Isidro on behalf of Albertsons Companies,
                Inc. (aty to be noticed) (Isidro, Nilda) (Entered: 01/18/2024)
01/18/2024   35 NOTICE of Appearance by Dale Goldstein on behalf of Albertsons Companies, Inc.
                (aty to be noticed) (Goldstein, Dale) (Entered: 01/18/2024)
01/22/2024   36 MOTION to Appear Pro Hac Vice of Diana Cole Surprenant Filing fee $ 150, receipt
                number ANYEDC−17483871 by Associated Wholesale Grocers Inc, Valu
                Merchandisers Co.. (Attachments: # 1 Affidavit in Support Affidavit in support of
                Motion for PHV admission, # 2 Appendix Certificate of Good Standing for Diana
                Surprenant) (Surprenant, Diana) (Entered: 01/22/2024)
01/22/2024   37 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17484931 by Andrew Gutierrez, Emily Hansen, Sommer Milous.
                (Attachments: # 1 Affidavit, # 2 Certificate of Good Standing, # 3 Proposed Order)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09259−BMC (Kershaw, William)
                (Entered: 01/22/2024)
01/22/2024   38 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17485079 by Andrew Gutierrez, Emily Hansen, Sommer Milous.
                (Attachments: # 1 Affidavit, # 2 Certificate of Good Standing, # 3 Proposed Order)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09259−BMC (Barlow, Ian)
                (Entered: 01/22/2024)
01/22/2024       ORDER granting 22 23 26 28 29 30 31 32 36 37 38 Motions for Leave to Appear Pro
                 Hac Vice. The attorney shall register for ECF, registration is available online at
                 www.pacer.gov. Once registered, the attorney shall file a notice of appearance and
                 ensure that s/he receives electronic notification of activity in this case. Also, the
                 attorney shall ensure the $150 admission fee be submitted to the Clerks Office via
                 filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on
                 1/22/2024. (PW) (Entered: 01/22/2024)
01/23/2024   39 NOTICE of Appearance by Robert W. Sparkes, III on behalf of Amazon.com Services
                LLC, Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined
                or already on case) Associated Cases: 1:23−md−03089−BMC et al. (Sparkes, Robert)
                (Entered: 01/23/2024)
01/23/2024   40 NOTICE of Appearance by Jason P. Sultzer on behalf of Pamela Joyner, Cathy
                Kleiman, Kristin Lawrence, Kamonica McWhite, Sharon Rourk, Annette Striegel (aty
                to be noticed) (Sultzer, Jason) (Entered: 01/23/2024)
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 107 of 130

01/23/2024
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             41 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                ANYEDC−17490570 by Wal−Mart Inc.. (Attachments: # 1 Affidavit Ethan Davis
                Declaration ISO Motion, # 2 Exhibit Exhibit A − DC Cert of GS, # 3 Exhibit Exhibit
                B − CA Cert of GS, # 4 Exhibit Exhibit C − NY Cert of GS, # 5 Proposed Order
                Proposed Order, # 6 Certificate of Service Certificate of Service) (Davis, Ethan)
                (Entered: 01/23/2024)
01/23/2024   42 MOTION to Appear Pro Hac Vice for Bryan F. Aylstock Filing fee $ 150, receipt
                number NYEDC−17491332 by Kaycie Coppock, Steve Audelo. (Attachments: # 1
                Affidavit in Support by Bryan F. Aylstock, # 2 Ex. A−Certificates of Good Standing, #
                3 [Proposed} Order) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09059−BMC, 1:23−cv−09062−BMC (Aylstock, Bryan) (Entered:
                01/23/2024)
01/23/2024   43 MOTION to Appear Pro Hac Vice of Ruby Nagamine Filing fee $ 150, receipt number
                NYEDC−17491293 by Amazon.com Services LLC, Amazon.com, Inc, Amazon.com,
                Inc, Amazon.com, Inc.. (Attachments: # 1 Affidavit, # 2 Admission Information
                Certificate of Good Standing, # 3 Proposed Order) Associated Cases:
                1:23−md−03089−BMC et al. (Nagamine, Ruby) (Entered: 01/23/2024)
01/23/2024   44 NOTICE of Appearance by William A. Kershaw on behalf of Andrew Gutierrez,
                Emily Hansen, Sommer Milous (notification declined or already on case) Associated
                Cases: 1:23−md−03089−BMC, 1:23−cv−09259−BMC (Kershaw, William) (Entered:
                01/23/2024)
01/23/2024   45 NOTICE of Appearance by Ian Barlow on behalf of Andrew Gutierrez, Emily Hansen,
                Sommer Milous (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09259−BMC (Barlow, Ian) (Entered: 01/23/2024)
01/24/2024   46 NOTICE of Appearance by Elizabeth A. Fegan on behalf of Anthony DeRosa
                (notification declined or already on case) (Fegan, Elizabeth) (Entered: 01/24/2024)
01/24/2024   47 NOTICE of Appearance by Diana Cole Surprenant on behalf of Associated Wholesale
                Grocers Inc, Valu Merchandisers Co. (notification declined or already on case)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09061−BMC (Surprenant, Diana)
                (Entered: 01/24/2024)
01/24/2024   48 NOTICE of Appearance by Mark Lesko on behalf of CVS Pharmacy Inc. (aty to be
                noticed) (Lesko, Mark) (Entered: 01/24/2024)
01/24/2024   49 NOTICE of Appearance by Mark Lesko on behalf of Target Corporation (aty to be
                noticed) (Lesko, Mark) (Entered: 01/24/2024)
01/24/2024   50 NOTICE of Appearance by Mark Lesko on behalf of Rite Aid Corporation (aty to be
                noticed) (Lesko, Mark) (Entered: 01/24/2024)
01/24/2024   51 NOTICE of Appearance by Mark Lesko on behalf of Costco Wholesale Corp. (aty to
                be noticed) (Lesko, Mark) (Entered: 01/24/2024)
01/24/2024   52 NOTICE of Appearance by Mark Lesko on behalf of Walgreen Co (aty to be noticed)
                (Lesko, Mark) (Entered: 01/24/2024)
01/24/2024   53 NOTICE of Appearance by Dale Goldstein on behalf of CVS Pharmacy Inc. (aty to be
                noticed) (Goldstein, Dale) (Entered: 01/24/2024)
01/24/2024   54 NOTICE of Appearance by Dale Goldstein on behalf of Target Corporation (aty to be
                noticed) (Goldstein, Dale) (Entered: 01/24/2024)
01/24/2024   55 NOTICE of Appearance by Dale Goldstein on behalf of Rite Aid Corporation (aty to
                be noticed) (Goldstein, Dale) (Entered: 01/24/2024)
01/24/2024   56 NOTICE of Appearance by Dale Goldstein on behalf of Costco Wholesale Corp. (aty
                to be noticed) (Goldstein, Dale) (Entered: 01/24/2024)
01/24/2024   57 NOTICE of Appearance by Dale Goldstein on behalf of Walgreen Co (aty to be
                noticed) (Goldstein, Dale) (Entered: 01/24/2024)
01/24/2024   58 NOTICE of Appearance by Nilda Maria Isidro on behalf of CVS Pharmacy Inc. (aty to
                be noticed) (Isidro, Nilda) (Entered: 01/24/2024)
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 108 of 130

01/24/2024
                                         A-109
             59 NOTICE of Appearance by Nilda Maria Isidro on behalf of Target Corporation (aty to
                be noticed) (Isidro, Nilda) (Entered: 01/24/2024)
01/24/2024   60 NOTICE of Appearance by Nilda Maria Isidro on behalf of Rite Aid Corporation (aty
                to be noticed) (Isidro, Nilda) (Entered: 01/24/2024)
01/24/2024   61 NOTICE of Appearance by Nilda Maria Isidro on behalf of Costco Wholesale Corp.
                (aty to be noticed) (Isidro, Nilda) (Entered: 01/24/2024)
01/24/2024   62 NOTICE of Appearance by Nilda Maria Isidro on behalf of Walgreen Co (aty to be
                noticed) (Isidro, Nilda) (Entered: 01/24/2024)
01/24/2024   63 MOTION to Appear Pro Hac Vice NOTICE OF MOTION TO ADMIT DEREK W.
                LOESER PRO HAC VICE Filing fee $ 150, receipt number NYEDC−17497499 by
                Martha A. Page, Rebecca Lynn Reyes. (Attachments: # 1 Affidavit of Derek Loeser, #
                2 Exhibit A − Certificates of Good Standing, # 3 Proposed Order) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09290−BMC, 1:23−cv−09308−BMC (Loeser,
                Derek) (Entered: 01/24/2024)
01/24/2024   64 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                ANYEDC−17497548 by Shawn L. Thomas, Charles Geoffrey Woods. (Attachments:
                # 1 Affidavit, # 2 Exhibit A − Certificate of Good Standing (PA), # 3 Exhibit B −
                Certificate of Good Standing (NY), # 4 Exhibit C − Certificate of Good Standing
                (DE), # 5 Proposed Order) (Yeates, Melissa) (Entered: 01/24/2024)
01/24/2024   65 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                ANYEDC−17497589 by Shawn L. Thomas, Charles Geoffrey Woods. (Attachments:
                # 1 Affidavit, # 2 Exhibit A − Certificate of Good Standing (PA), # 3 Exhibit A −
                Certificate of Good Standing (CA), # 4 Exhibit A − Certificate of Good Standing
                (VA)) (Jacobson, Jordan) (Entered: 01/24/2024)
01/25/2024       ORDER granting 63 in case 1:23−md−03089 Motion for Leave to Appear Pro Hac
                 Vice. The attorney shall register for ECF, registration is available online at
                 www.pacer.gov. Once registered, the attorney shall file a notice of appearance and
                 ensure that s/he receives electronic notification of activity in this case. Also, the
                 attorney shall ensure the $150 admission fee be submitted to the Clerks Office via
                 filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on
                 1/25/2024. Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09290−BMC,
                 1:23−cv−09308−BMC (PW) (Entered: 01/25/2024)
01/25/2024   66 NOTICE of Appearance by Benjamin Stephen McIntosh on behalf of Daniel
                Heaghney, Daryl Means (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09276−BMC, 1:23−cv−09282−BMC (McIntosh,
                Benjamin) (Entered: 01/25/2024)
01/25/2024   67 NOTICE of Appearance by Derek W. Loeser on behalf of Martha A. Page, Rebecca
                Lynn Reyes (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09290−BMC, 1:23−cv−09308−BMC (Loeser,
                Derek) (Entered: 01/25/2024)
01/26/2024   68 NOTICE of Appearance by Peter J Mougey on behalf of Anthony Coleman, Joy
                Taylor, Darrell Wayne Grimsley, Jr. (notification declined or already on case)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09258−BMC,
                1:23−cv−09265−BMC (Mougey, Peter) (Entered: 01/26/2024)
01/26/2024   69 NOTICE of Appearance by Laura S Dunning on behalf of Anthony Coleman, Darrell
                Wayne Grimsley, Jr., Joy Taylor (aty to be noticed) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09258−BMC, 1:23−cv−09265−BMC (Dunning,
                Laura) (Entered: 01/26/2024)
01/29/2024   70 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17508216 by Daniel Flick, Claudette Sanes, Janis Zimmerman, Karen
                Schwartz, Ruta Taito, John Jeffrey Ward, Regina Brookshier, Cece Davenport, Dena
                Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica, Michael Lee,
                Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal,
                Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan Brandman,
                Cece Davenport, Michelle Garza, Toni Heuchan, Michael Lee, Dena Fichot, Thomas
                Lewis. (Attachments: # 1 Declaration, # 2 Exhibit A: Certificate of Good Standing, # 3
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 109 of 130
                                         A-110
                 Proposed Order) Associated Cases: 1:23−md−03089−BMC et al. (Braden, Scott)
                 (Entered: 01/29/2024)
01/29/2024   71 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                ANYEDC−17509934 by Kristin Depaola. (Attachments: # 1 Affidavit, # 2 Exhibit, # 3
                Exhibit) (Goldenberg, Marlene) (Entered: 01/29/2024)
01/29/2024   72 MOTION to Appear Pro Hac Vice of Daniel B. Rogers Filing fee $ 150, receipt
                number ANYEDC−17511688 by Publix Super Markets, Inc.. (Attachments: # 1
                Affidavit of Daniel B. Rogers, # 2 Proposed Order) (Rogers, Daniel) (Entered:
                01/29/2024)
01/29/2024       ORDER granting 70 71 72 Motions for Leave to Appear Pro Hac Vice. The attorney
                 shall register for ECF, registration is available online at www.pacer.gov. Once
                 registered, the attorney shall file a notice of appearance and ensure that s/he receives
                 electronic notification of activity in this case. Also, the attorney shall ensure the $150
                 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                 Filing Fee. Ordered by Judge Brian M. Cogan on 1/29/2024. (PW) (Entered:
                 01/29/2024)
01/29/2024   73 NOTICE of Appearance by Scott G. Braden on behalf of Daniel Flick, Claudette
                Sanes, Janis Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Regina
                Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni
                Heuchan, Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco, Claudette
                Sanes, Karen Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey Ward,
                Janis Zimmerman, Jonathan Brandman, Cece Davenport, Michelle Garza, Toni
                Heuchan, Michael Lee, Dena Fichot, Thomas Lewis (notification declined or already
                on case) Associated Cases: 1:23−md−03089−BMC et al. (Braden, Scott) (Entered:
                01/29/2024)
01/30/2024   74 NOTICE of Appearance by Marlene Jaye Goldenberg on behalf of Kristin Depaola
                (notification declined or already on case) (Goldenberg, Marlene) (Entered:
                01/30/2024)
01/30/2024       ORDER granting 41 42 43 64 65 Motions for Leave to Appear Pro Hac Vice. The
                 attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                 registered, the attorney shall file a notice of appearance and ensure that s/he receives
                 electronic notification of activity in this case. Also, the attorney shall ensure the $150
                 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                 Filing Fee. Ordered by Judge Brian M. Cogan on 1/30/2024. (PW) (Entered:
                 01/30/2024)
01/30/2024   75 MOTION to Appear Pro Hac Vice of Michael Klebanov Filing fee $ 150, receipt
                number ANYEDC−17516604 by Dierbergs Markets, Inc.. (Attachments: # 1 Affidavit,
                # 2 Admission Information Certificates of Good Standing, # 3 Proposed Order)
                (Klebanov, Michael) (Entered: 01/30/2024)
01/30/2024   76 MOTION to Appear Pro Hac Vice Tanner Cook Filing fee $ 150, receipt number
                ANYEDC−17516779 by Dierbergs Markets, Inc.. (Attachments: # 1 Affidavit, # 2
                Admission Information Certificate of Good Standing, # 3 Proposed Order) (Cook,
                Tanner) (Entered: 01/30/2024)
01/30/2024   77 MOTION to Appear Pro Hac Vice for Livia M. Kiser Filing fee $ 150, receipt number
                NYEDC−17516314 by Walmart Inc,, Walmart Inc,, Wal−Mart Inc., Wal−Mart Stores
                East 1, LP, Wal−Mart Stores East, LP, Walmart Inc,. (Attachments: # 1 Declaration of
                Livia M. Kiser, # 2 Exhibit A − Certificate of Good Standing (Cal.), # 3 Exhibit B −
                Certificate of Good Standing (Ill.), # 4 Proposed Order, # 5 Certificate of Service)
                Associated Cases: 1:23−md−03089−BMC et al. (Kiser, Livia) (Entered: 01/30/2024)
01/30/2024   78 MOTION to Appear Pro Hac Vice for David P. Milian Filing fee $ 150, receipt
                number ANYEDC−17517081 by Jay Valinsky. (Attachments: # 1 Exhibit) (Milian,
                David) (Entered: 01/30/2024)
01/30/2024   79 NOTICE of Appearance by Michael L. Resch on behalf of Walmart Inc,, Walmart
                Inc,, Wal−Mart Inc., Wal−Mart Stores East 1, LP, Wal−Mart Stores East, LP, Walmart
                Inc, (aty to be noticed) (Attachments: # 1 Certificate of Service) Associated Cases:
                1:23−md−03089−BMC et al. (Resch, Michael) (Entered: 01/30/2024)
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                                         A-111
             80 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                ANYEDC−17517426 by Publix Super Markets, Inc.. (Attachments: # 1 Declaration of
                Michael Healy ISO Admission Pro Hac Vice, # 2 Proposed Order for Admission Pro
                Hac Vice of Michael Healy) (Healy, Michael) (Entered: 01/30/2024)
01/31/2024   81 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17520702 by Robert Fichera, Natalie Juneau, Harold Nyanjom, Archanatep
                Boonparn, Kristin Depaola, Mari Jones, Natalie Juneau, Harold Nyanjom, Rachel
                Parker, Richard Scoffier, Richard Scoffier, Kristin Depaola, Rachel Parker.
                (Attachments: # 1 Affidavit, # 2 Exhibit Certificates of Good Standing) Associated
                Cases: 1:23−md−03089−BMC et al. (Stanoch, David) (Entered: 01/31/2024)
01/31/2024   82 MOTION to Appear Pro Hac Vice Tyler S. Graden Filing fee $ 150, receipt number
                NYEDC−17521409 by Shawn L. Thomas, Charles Geoffrey Woods. (Attachments: #
                1 Affidavit, # 2 Exhibit A − Certificate of Good Standing (PA), # 3 Exhibit B −
                Certificate of Good Standing (NJ), # 4 Proposed Order) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09303−BMC (Graden, Tyler) (Entered: 01/31/2024)
01/31/2024   83 NOTICE of Appearance by Sarah Westcot on behalf of Eduardo Flores, Jordan
                Nelson, Regina Peralta, Natasha Hernandez (notification declined or already on case)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09257−BMC,
                1:23−cv−09261−BMC, 1:23−cv−09263−BMC (Westcot, Sarah) (Entered: 01/31/2024)
01/31/2024   84 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17521882 by Associated Wholesale Grocers Inc, Valu Merchandisers Co..
                (Attachments: # 1 Affidavit, # 2 Certificate of Good Standing) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09061−BMC (Sensenbrenner, Paige) (Entered:
                01/31/2024)
01/31/2024   85 NOTICE of Appearance by Daniel Brandon Rogers on behalf of Publix Super Market,
                Inc., Publix Super Markets, Inc. (aty to be noticed) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09264−BMC, 1:23−cv−09272−BMC,
                1:24−cv−00124−BMC (Rogers, Daniel) (Entered: 01/31/2024)
02/01/2024   86 NOTICE of Appearance by Bryan F. Aylstock on behalf of Kaycie Coppock, Steve
                Audelo (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09059−BMC, 1:23−cv−09062−BMC (Aylstock,
                Bryan) (Entered: 02/01/2024)
02/01/2024   87 NOTICE of Appearance by James Lawrence Bernard on behalf of Reckitt Benckiser
                LLC, RB Health (US) LLC, RB Health (US) LLC, Reckitt Benckiser Pharmaceuticals
                Inc., RB Health LLC, Reckitt Benckiser LLC, Reckitt & Benckiser LLC, Reckitt
                Benckiser, LLC (aty to be noticed) Associated Cases: 1:23−md−03089−BMC et al.
                (Bernard, James) (Entered: 02/01/2024)
02/01/2024   88 MOTION to Appear Pro Hac Vice of Jennifer Nagle Filing fee $ 150, receipt number
                NYEDC−17525785 by Amazon.com Services LLC, Amazon.com, Inc, Amazon.com,
                Inc, Amazon.com, Inc.. (Attachments: # 1 Affidavit In Support of Jennifer Nagle, # 2
                Exhibit Certificate of Good Standing (Massachusetts), # 3 Exhibit Certificate of Good
                Standing (New Jersey), # 4 Proposed Order) Associated Cases:
                1:23−md−03089−BMC et al. (Nagle, Jennifer) (Entered: 02/01/2024)
02/02/2024   89 MOTION to Appear Pro Hac Vice of R. Jason Richards Filing fee $ 150, receipt
                number NYEDC−17531125 by Kaycie Coppock, Steve Audelo. (Attachments: # 1
                Affidavit in Support by R. Jason Richards, # 2 Exhibit Ex. A−Certificates of Good
                Standing, # 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09059−BMC, 1:23−cv−09062−BMC (Richards, R.) (Entered: 02/02/2024)
02/05/2024       ORDER granting 75 76 77 78 80 Motions for Leave to Appear Pro Hac Vice. The
                 attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                 registered, the attorney shall file a notice of appearance and ensure that s/he receives
                 electronic notification of activity in this case. Also, the attorney shall ensure the $150
                 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                 Filing Fee. Ordered by Judge Brian M. Cogan on 2/5/2024. (PW) (Entered:
                 02/05/2024)
02/05/2024       ORDER granting 81 82 84 Motions for Leave to Appear Pro Hac Vice. The attorney
                 shall register for ECF, registration is available online at www.pacer.gov. Once
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 111 of 130
                                         A-112
                 registered, the attorney shall file a notice of appearance and ensure that s/he receives
                 electronic notification of activity in this case. Also, the attorney shall ensure the $150
                 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                 Filing Fee. Ordered by Judge Brian M. Cogan on 2/5/2024. (PW) (Entered:
                 02/05/2024)
02/05/2024   90 NOTICE of Appearance by Zarrina Ozari on behalf of Layne Barter, Jaedon Daniels,
                Lauren Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri
                Lamdon, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Amy
                Weinberg, Mychael Willon (aty to be noticed) (Ozari, Zarrina) (Entered: 02/05/2024)
02/05/2024   91 NOTICE of Appearance by Ryan Clarkson on behalf of Layne Barter, Jaedon Daniels,
                Lauren Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri
                Lamdon, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia
                Rodesta, Amy Weinberg, Mychael Willon (aty to be noticed) (Clarkson, Ryan)
                (Entered: 02/05/2024)
02/06/2024   92 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17542415 by Andrew Gutierrez, Emily Hansen, Sommer Milous.
                (Attachments: # 1 Exhibit 1 − Certificate in Good Standing, # 2 Exhibit 2 − Affidavit
                in Support of Motion to Appear, # 3 Proposed Order) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09259−BMC (Stokes, Kelsey) (Entered:
                02/06/2024)
02/06/2024   93 NOTICE of Appearance by Melissa L Yeates on behalf of Shawn L. Thomas, Charles
                Geoffrey Woods (aty to be noticed) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09303−BMC (Yeates, Melissa) (Entered: 02/06/2024)
02/06/2024   94 NOTICE of Appearance by Tyler Graden on behalf of Shawn L. Thomas, Charles
                Geoffrey Woods (notification declined or already on case) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09303−BMC (Graden, Tyler) (Entered: 02/06/2024)
02/06/2024   95 NOTICE of Appearance by Jordan Jacobson on behalf of Shawn L. Thomas, Charles
                Geoffrey Woods (aty to be noticed) Associated Cases: 1:23−md−03089−BMC,
                1:23−cv−09303−BMC (Jacobson, Jordan) (Entered: 02/06/2024)
02/06/2024   96 NOTICE of Appearance by Hannah Y Shay Chanoine on behalf of Johnson & Johnson
                Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer
                Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson
                & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
                Consumer, Inc. (aty to be noticed) Associated Cases: 1:23−md−03089−BMC et al.
                (Chanoine, Hannah Y) (Entered: 02/06/2024)
02/07/2024   97 MOTION to Appear Pro Hac Vice of Frederick Longer Filing fee $ 150, receipt
                number ANYEDC−17546616 by Millard Adkins, Rosalyn Anderson. (Attachments: #
                1 Affidavit of Frederick S. Longer, # 2 Exhibit Certificate of Good Standing, # 3
                Exhibit Certificate of Good Standing, # 4 Proposed Order, # 5 Certificate of Service)
                (Longer, Frederick) (Entered: 02/07/2024)
02/07/2024   98 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17548035 by Layne Barter, Jaedon Daniels, Lauren Debeliso, Tatyana
                Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri Lamdon, Gwen Lewi,
                Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy
                Weinberg, Mychael Willon. (Attachments: # 1 Affidavit in Support of Glenn Danas, #
                2 Exhibit A− Certificate of Good Standing, # 3 Proposed Order) Associated Cases:
                1:23−md−03089−BMC, 1:23−cv−09279−BMC (Danas, Glenn) (Entered: 02/07/2024)
02/07/2024   99 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                NYEDC−17548142 by Layne Barter, Jaedon Daniels, Lauren Debeliso, Tatyana
                Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri Lamdon, Gwen Lewi,
                Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy
                Weinberg, Mychael Willon. (Attachments: # 1 Affidavit in Support of Shireen M.
                Clarkson, # 2 Exhibit A− Certificate of Good Standing, # 3 Proposed Order)
                Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09279−BMC (Clarkson, Shireen)
                (Entered: 02/07/2024)
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             100 NOTICE of Appearance by Christopher Munro Young on behalf of Bayer
                 Corporation, Bayer Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare
                 LLC, Bayer Health Care, LLC, Bayer Corporation (notification declined or already on
                 case) Associated Cases: 1:23−md−03089−BMC et al. (Young, Christopher) (Entered:
                 02/08/2024)
02/08/2024        ORDER granting 88 89 92 97 98 99 Motions for Leave to Appear Pro Hac Vice. The
                  attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                  registered, the attorney shall file a notice of appearance and ensure that s/he receives
                  electronic notification of activity in this case. Also, the attorney shall ensure the $150
                  admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                  Filing Fee. Ordered by Judge Brian M. Cogan on 2/8/2024. (PW) (Entered:
                  02/08/2024)
02/08/2024   101 NOTICE of Appearance by Frederick S. Longer on behalf of Millard Adkins, Frank
                 Anderson, Rosalyn Anderson, Donna Bailey, Eli Erlick, Tina Haluszka, Rosalie
                 Jackson, Recoa Russell (aty to be noticed) (Attachments: # 1 Certificate of Service)
                 (Longer, Frederick) (Entered: 02/08/2024)
02/08/2024   102 MOTION to Appear Pro Hac Vice re: Amy Laurendeau Filing fee $ 150, receipt
                 number NYEDC−17551372 by Johnson & Johnson Consumer Inc., Johnson &
                 Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
                 Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer
                 Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer, Inc..
                 (Attachments: # 1 Affidavit Affidavit of Amy J. Laurendeau, # 2 Exhibit A − COGS, #
                 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC et al. (Laurendeau,
                 Amy) (Entered: 02/08/2024)
02/08/2024   103 MOTION to Appear Pro Hac Vice of Lauren S. Colton Filing fee $ 150, receipt
                 number NYEDC−17551506 by Reckitt Benckiser LLC, Reckitt Benckiser
                 Pharmaceuticals Inc., RB Health (US) LLC, RB Health (US) LLC, RB Health LLC,
                 Reckitt Benckiser LLC, Reckitt & Benckiser LLC, Reckitt Benckiser, LLC.
                 (Attachments: # 1 Affidavit of Lauren S. Colton, # 2 Exhibit A − Cerificate of Good
                 Standing, # 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC et al.
                 (Colton, Lauren) (Entered: 02/08/2024)
02/08/2024   104 NOTICE of Appearance by Michael Klebanov on behalf of Dierbergs Markets, Inc.
                 (notification declined or already on case) Associated Cases: 1:23−md−03089−BMC,
                 1:23−cv−09282−BMC (Klebanov, Michael) (Entered: 02/08/2024)
02/08/2024   105 NOTICE of Appearance by Tanner Cook on behalf of Dierbergs Markets, Inc.
                 (notification declined or already on case) Associated Cases: 1:23−md−03089−BMC,
                 1:23−cv−09282−BMC (Cook, Tanner) (Entered: 02/08/2024)
02/08/2024   106 NOTICE of Appearance by Glenn Danas, I on behalf of Layne Barter, Jaedon Daniels,
                 Lauren Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri
                 Lamdon, Gwen Lewi, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El
                 Rai, Olivia Rodesta, Amy Weinberg, Mychael Willon (notification declined or already
                 on case) Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09279−BMC (Danas,
                 Glenn) (Entered: 02/08/2024)
02/08/2024   107 NOTICE of Appearance by Shireen M. Clarkson on behalf of Layne Barter, Jaedon
                 Daniels, Lauren Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney,
                 Dimitri Lamdon, Gwen Lewi, Robert Lundin, Lateef Murdock, Marcel Perez Pirio,
                 Elie El Rai, Olivia Rodesta, Amy Weinberg, Mychael Willon (notification declined or
                 already on case) Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09279−BMC
                 (Clarkson, Shireen) (Entered: 02/08/2024)
02/09/2024   108 NOTICE of Appearance by Jennifer Janeira Nagle on behalf of Amazon.com Services
                 LLC, Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined
                 or already on case) Associated Cases: 1:23−md−03089−BMC et al. (Nagle, Jennifer)
                 (Entered: 02/09/2024)
02/09/2024   109 NOTICE of Appearance by Kelsey Stokes on behalf of Andrew Gutierrez, Emily
                 Hansen, Sommer Milous (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:23−cv−09259−BMC (Stokes, Kelsey) (Entered:
                 02/09/2024)
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02/09/2024
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             110 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number
                 ANYEDC−17556526 by Procter & Gamble Co.. (Attachments: # 1 Declaration, # 2
                 Exhibit A. Certificate of Good Standing DC, # 3 Exhibit B. Certificate of Good
                 Standing Ill., # 4 Proposed Order) (Soukup, Andrew) (Entered: 02/09/2024)
02/09/2024   111 MOTION to Appear Pro Hac Vice OF CORTLIN H. LANNIN Filing fee $ 150, receipt
                 number ANYEDC−17556764 by Procter & Gamble Co.. (Attachments: # 1
                 Declaration, # 2 Exhibit A. Certificate of Good Standing Cal., # 3 Proposed Order)
                 (Soukup, Andrew) (Entered: 02/09/2024)
02/09/2024   112 NOTICE of Appearance by Jay P. Lefkowitz on behalf of GlaxoSmithKline Consumer
                 Healthcare Holdings (US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us
                 Capital LLC, Pfizer Inc. (aty to be noticed) Associated Cases: 1:23−md−03089−BMC
                 et al. (Lefkowitz, Jay) (Entered: 02/09/2024)
02/09/2024   113 NOTICE of Appearance by Jacob Rae on behalf of GlaxoSmithKline Consumer
                 Healthcare Holdings (US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us
                 Capital LLC, Pfizer Inc. (aty to be noticed) Associated Cases: 1:23−md−03089−BMC
                 et al. (Rae, Jacob) (Entered: 02/09/2024)
02/09/2024   114 MOTION to Appear Pro Hac Vice of Robyn E. Bladow Filing fee $ 150, receipt
                 number ANYEDC−17557933 by GlaxoSmithKline Consumer Healthcare Holdings
                 (US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us Capital LLC, Pfizer Inc..
                 (Attachments: # 1 Declaration in Support, # 2 Exhibit − Certificate of Good Standing
                 (CA), # 3 Certificate of Service, # 4 Proposed Order) (Bladow, Robyn) (Entered:
                 02/09/2024)
02/09/2024   115 MOTION to Appoint Counsel by Plaintiffs. (Attachments: # 1 Memorandum in
                 Support, # 2 Proposed Order, # 3 Exhibit B. List of Firms Supporting Slate, # 4
                 Exhibit C. Declaration of Michael A. London, # 5 Exhibit D. Declaration of Bryan A.
                 Aylstock, # 6 Exhibit E. Declaration of James E. Cecchi, # 7 Exhibit F. Declaration of
                 Kiley L. Grombacher, # 8 Exhibit G. Declaration of Adam J. Levitt, # 9 Exhibit H.
                 Declaration of Elizabeth A. Fegan, # 10 Exhibit I. Declaration of Jonathan D. Selbin, #
                 11 Exhibit J. Declaration of Christopher A. Seeger, # 12 Exhibit K. Declaration of
                 Jason P. Sultzer, # 13 Exhibit L. Declaration of Lindsey N. Scarcello, # 14 Exhibit M.
                 Declaration of Sarah N. Wescot, # 15 Exhibit N. Declaration of Michael A. Sacchet, #
                 16 Exhibit O. Declaration of Shireen M. Clarkson, # 17 Exhibit P. Declaration of
                 Alexander E. Barnett, # 18 Exhibit Q. Declaration of Kelsey L. Stokes, # 19 Exhibit R.
                 Declaration of Darren E. Kaplan, # 20 Exhibit S. Declaration of Jordan E. Jacobson, #
                 21 Exhibit T. Declaration of Laura S. Dunning, # 22 Exhibit U. Declaration of Fred S.
                 Longer, # 23 Exhibit V. Declaration of Marlene J. Goldenberg, # 24 Exhibit W.
                 Declaration of Stuart A. Davidson, # 25 Exhibit X. Declaration of Melanie H.
                 Muhlstock) (London, Michael) (Entered: 02/09/2024)
02/12/2024   116 NOTICE of Appearance by Ruby A. Nagamine on behalf of Amazon.com Services
                 LLC, Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined
                 or already on case) Associated Cases: 1:23−md−03089−BMC et al. (Nagamine, Ruby)
                 (Entered: 02/12/2024)
02/12/2024   117 NOTICE of Appearance by YuQing Emily Min on behalf of All Plaintiffs (aty to be
                 noticed) Associated Cases: 1:23−md−03089−BMC et al. (Min, YuQing) (Entered:
                 02/12/2024)
02/12/2024   118 MOTION to Appear Pro Hac Vice YuQing Min Filing fee $ 200, receipt number
                 NYEDC−17561420 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                 Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                 Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                 Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                 Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # 1 Exhibit
                 Certificate of Standing, # 2 Proposed Order) Associated Cases:
                 1:23−md−03089−BMC et al. (Min, YuQing) (Entered: 02/12/2024)
02/12/2024   119 NOTICE of Appearance by Andrew Daniel Bluth on behalf of Robert Haid, Rethea
                 Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas,
                 Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez,
                 Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher
                 McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 114 of 130
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                   Jergins, Richard Chavez (aty to be noticed) Associated Cases: 1:23−md−03089−BMC
                   et al. (Bluth, Andrew) (Entered: 02/12/2024)
02/12/2024   120 MOTION to Appear Pro Hac Vice Andrew D. Bluth Filing fee $ 200, receipt number
                 NYEDC−17562848 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                 Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                 Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                 Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                 Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # 1 Exhibit
                 Certificate of Standing, # 2 Proposed Order) Associated Cases:
                 1:23−md−03089−BMC et al. (Bluth, Andrew) (Entered: 02/12/2024)
02/12/2024   121 NOTICE of Appearance by Christopher Ross Rodriguez on behalf of Robert Haid,
                 Rethea Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel
                 Pena−Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
                 Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill
                 Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi
                 Hipkins, Abby Jergins, Richard Chavez (aty to be noticed) Associated Cases:
                 1:23−md−03089−BMC et al. (Rodriguez, Christopher) (Entered: 02/12/2024)
02/12/2024   122 MOTION to Appear Pro Hac Vice Christopher R. Rodriguez Filing fee $ 200, receipt
                 number NYEDC−17562985 by Robert Haid, Rethea Morris, William Bryan, Jack
                 Hinsberger, Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward, Min Ji Jung,
                 Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger,
                 Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin
                 Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez.
                 (Attachments: # 1 Exhibit Certificate of Standing, # 2 Proposed Order) Associated
                 Cases: 1:23−md−03089−BMC et al. (Rodriguez, Christopher) (Entered: 02/12/2024)
02/12/2024   123 NOTICE of Appearance by Kevin S. Hannon on behalf of Robert Haid, Rethea
                 Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas,
                 Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez,
                 Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher
                 McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby
                 Jergins, Richard Chavez (aty to be noticed) Associated Cases: 1:23−md−03089−BMC
                 et al. (Hannon, Kevin) (Entered: 02/12/2024)
02/12/2024   124 MOTION to Appear Pro Hac Vice Kevin S. Hannon Filing fee $ 200, receipt number
                 NYEDC−17563285 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                 Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                 Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                 Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                 Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # 1 Exhibit
                 Certificate of Standing, # 2 Proposed Order) Associated Cases:
                 1:23−md−03089−BMC et al. (Hannon, Kevin) (Entered: 02/12/2024)
02/13/2024   125 JPMDL Conditional Transfer Order (CTO−5): Pursuant to Rule 7.1 of the Rules of
                 Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                 on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                 of New York for the reasons stated in the order of December 6, 2023, and, with the
                 consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                 02/13/2024)
02/13/2024   126 NOTICE of Appearance by Trent James Nelson on behalf of Robert Haid, Rethea
                 Morris, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi
                 Hipkins, Abby Jergins, Bill Jergins, Min Ji Jung, Christopher McPhee, Rethea Morris,
                 Kenneth Levi Pack, Izabel Pena−Venegas, Justin Vorise, Beverly Ward, Nancy
                 Welharticky (aty to be noticed) Associated Cases: 1:23−md−03089−BMC,
                 1:24−cv−00269−BMC (Nelson, Trent) (Entered: 02/13/2024)
02/13/2024   127 MOTION to Appear Pro Hac Vice Trent J. Nelson Filing fee $ 200, receipt number
                 NYEDC−17565496 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                 Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                 Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                 Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                 Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # 1 Exhibit
                 Certificate of Standing, # 2 Proposed Order) Associated Cases:
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 115 of 130
                                           A-116
                   1:23−md−03089−BMC et al. (Nelson, Trent) (Entered: 02/13/2024)
02/13/2024   128 JPMDL Conditional Transfer Order (CTO−6): Pursuant to Rule 7.1 of the Rules of
                 Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                 on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                 of New York for the reasons stated in the order of December 6, 2023, and, with the
                 consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                 02/13/2024)
02/13/2024         ORDER denying Motions for Leave to Appear Pro Hac Vice as to 118 YuQing Min;
                   120 Andrew D. Bluth; 122 Christopher R. Rodriguez; 124 Kevin S. Hannon; 127 Trent
                   J. Nelson, without prejudice to renewal upon compliance with Local Civil Rule 1.3(c)
                   (1) and (2) which requires that in order to be admitted pro hac vice, the applicant must
                   file an affidavit stating whether he/she has been the subject of a criminal conviction
                   and/or disciplinary sanction. Ordered by Judge Brian M. Cogan on 2/13/2024. (PW)
                   (Entered: 02/13/2024)
02/13/2024         ORDER granting 102 103 110 111 114 Motions for Leave to Appear Pro Hac Vice.
                   The attorney shall register for ECF, registration is available online at www.pacer.gov.
                   Once registered, the attorney shall file a notice of appearance to ensure electronic
                   notification of activity in this case. Also, the attorney shall ensure the $200 admission
                   fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                   Ordered by Judge Brian M. Cogan on 2/13/2024. (PW) (Entered: 02/13/2024)
02/13/2024   129 DECLARATION re (121 in 1:23−md−03089−BMC) Notice of Appearance,, re 122
                 Motion to Admit Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William
                 Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward,
                 Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack
                 Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea
                 Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
                 Chavez Associated Cases: 1:23−md−03089−BMC et al. (Rodriguez, Christopher)
                 (Entered: 02/13/2024)
02/13/2024   130 DECLARATION re (119 in 1:23−md−03089−BMC) Notice of Appearance,, 120
                 Motion to Admit Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William
                 Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward,
                 Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack
                 Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea
                 Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
                 Chavez Associated Cases: 1:23−md−03089−BMC et al. (Bluth, Andrew) (Entered:
                 02/13/2024)
02/13/2024   131 DECLARATION re (123 in 1:23−md−03089−BMC) Notice of Appearance, 124
                 Motion to Admit Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William
                 Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward,
                 Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack
                 Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea
                 Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
                 Chavez Associated Cases: 1:23−md−03089−BMC et al. (Hannon, Kevin) (Entered:
                 02/13/2024)
02/13/2024   132 DECLARATION re (126 in 1:23−md−03089−BMC) Notice of Appearance, 127
                 Motion to Admit Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William
                 Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward,
                 Min Ji Jung, Kenneth Levi Pack, William Bryan, Robert Haid, Jack Hinsberger, Archi
                 Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin
                 Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez Associated
                 Cases: 1:23−md−03089−BMC et al. (Nelson, Trent) (Entered: 02/13/2024)
02/13/2024   133 DECLARATION re (117 in 1:23−md−03089−BMC) Notice of Appearance 118
                 Motion to Admit Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William
                 Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena−Venegas, Beverly Ward,
                 Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack
                 Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea
                 Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
                 Chavez Associated Cases: 1:23−md−03089−BMC et al. (Min, YuQing) (Entered:
                 02/13/2024)
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 116 of 130

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             134 NOTICE of Appearance by R. Jason Richards on behalf of Kaycie Coppock, Steve
                 Audelo (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:23−cv−09059−BMC, 1:23−cv−09062−BMC (Richards, R.)
                 (Entered: 02/14/2024)
02/14/2024   135 Amended MOTION to Appoint Counsel by Plaintiffs. (Attachments: # 1
                 Memorandum in Support Amended, # 2 Proposed Order Amended, # 3 Exhibit Exhibit
                 B. List of Firms Supporting Slate, # 4 Exhibit Exhibit C. Declaration of Michael A.
                 London, # 5 Exhibit Exhibit D. Declaration of Bryan A. Aylstock, # 6 Exhibit Exhibit
                 E. Declaration of James E. Cecchi, # 7 Exhibit Exhibit F. Declaration of Kiley L.
                 Grombacher, # 8 Exhibit Exhibit G. Declaration of Adam J. Levitt, # 9 Exhibit Exhibit
                 H. Declaration of Elizabeth A. Fegan, # 10 Exhibit Exhibit I. Declaration of Jonathan
                 D. Selbin, # 11 Exhibit Exhibit J. Declaration of Christopher A. Seeger, # 12 Exhibit
                 Exhibit K. Declaration of Jason P. Sultzer, # 13 Exhibit Exhibit L. Declaration of
                 Lindsey N. Scarcello, # 14 Exhibit Exhibit M. Declaration of Sarah N. Wescot, # 15
                 Exhibit Exhibit N. Declaration of Michael A. Sacchet, # 16 Exhibit Exhibit O.
                 Declaration of Shireen M. Clarkson, # 17 Exhibit Exhibit P. Declaration of Alexander
                 E. Barnett, # 18 Exhibit Exhibit Q. Declaration of Kelsey L. Stokes, # 19 Exhibit
                 Exhibit R. Declaration of Darren E. Kaplan, # 20 Exhibit Exhibit S. Declaration of
                 Cari Laufenberg, # 21 Exhibit Exhibit T. Declaration of Jordan E. Jacobson, # 22
                 Exhibit Exhibit U. Declaration of Laura S. Dunning, # 23 Exhibit Exhibit V.
                 Declaration of Fred S. Longer, # 24 Exhibit Exhibit W. Declaration of Marlene J.
                 Goldenberg, # 25 Exhibit Exhibit X. Declaration of Melanie H. Muhlstock, # 26
                 Exhibit Exhibit Y. Declaration of Stuart A. Davidson) (London, Michael) (Entered:
                 02/14/2024)
02/14/2024        ORDER. The Court has reviewed Declarations of YuQing Min 133 , Trent J. Nelson
                  132 , Kevin S. Hannon 131 , Andrew D. Bluth 130 , Christopher R. Rodriguez 129 ,
                  and finds that they have complied with Local Rule 1.3(c). Counsels' motions to appear
                  pro hac are therefore granted. The attorney shall register for ECF, registration is
                  available online at www.pacer.gov. Once registered, the attorney shall file a notice of
                  appearance to ensure electronic notification of activity in this case. Also, each attorney
                  shall ensure the $200 admission fee be submitted to the Clerk's Office via filing the
                  event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 2/14/2024. (PW)
                  (Entered: 02/14/2024)
02/15/2024        ORDER terminating 115 Motion to Appoint Counsel as superseded by 135 Amended
                  Motion to Appoint Counsel. Ordered by Judge Brian M. Cogan on 2/15/2024. (PW)
                  (Entered: 02/15/2024)
02/15/2024   136 NOTICE of Appearance by Cortlin Hall Lannin on behalf of Procter & Gamble Co.
                 (aty to be noticed) (Lannin, Cortlin) (Entered: 02/15/2024)
02/15/2024   137 NOTICE of Appearance by Demet Basar on behalf of Haley Hadden, Bonnie Van Noy
                 (aty to be noticed) Associated Cases: 1:23−md−03089−BMC, 1:24−cv−01104−BMC
                 (Basar, Demet) (Entered: 02/15/2024)
02/15/2024   138 NOTICE of Appearance by Andrew Soukup on behalf of Procter & Gamble Co.
                 (notification declined or already on case) (Soukup, Andrew) (Entered: 02/15/2024)
02/15/2024   139 MOTION to Appear Pro Hac Vice of Rebecca Gilliland Filing fee $ 200, receipt
                 number NYEDC−17575621 by Haley Hadden, Bonnie Van Noy. (Attachments: # 1
                 Declaration Declaration in Support of Pro Hac, # 2 Exhibit Certificate of Good
                 Standing, # 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC,
                 1:24−cv−01104−BMC (Basar, Demet) (Entered: 02/15/2024)
02/16/2024   140 NOTICE of Appearance by Robyn E. Bladow on behalf of GlaxoSmithKline
                 Consumer Healthcare Holdings (US) LLC, GlaxoSmithKline LLC, Haleon US
                 Holdings LLC, Haleon Us Capital LLC, Pfizer Inc. (aty to be noticed) Associated
                 Cases: 1:23−md−03089−BMC et al. (Bladow, Robyn) (Entered: 02/16/2024)
02/16/2024   141 NOTICE of Appearance by Lauren Schultz Colton on behalf of Reckitt Benckiser
                 LLC, RB Health (US) LLC, RB Health (US) LLC, Reckitt Benckiser Pharmaceuticals
                 Inc., RB Health LLC, Reckitt & Benckiser LLC, Reckitt Benckiser, LLC (aty to be
                 noticed) Associated Cases: 1:23−md−03089−BMC et al. (Colton, Lauren) (Entered:
                 02/16/2024)
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 117 of 130

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             142 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 ANYEDC−17578754 by Jamieka Holmes, Pamela Joyner, Cathy Kleiman, Kristin
                 Lawrence, Kamonica McWhite, Krystal Rampalli, Sharon Rourk, Annette Striegel,
                 Sierra Vent. (Attachments: # 1 Affidavit In support of Motion Pro Has Vice, # 2
                 Proposed Order, # 3 Exhibit Certificate of Good Standing SC) (Doolittle, Paul)
                 (Entered: 02/16/2024)
02/16/2024   143 MOTION to Appoint Counsel as to Leadership by Haley Hadden, Bonnie Van Noy.
                 (Attachments: # 1 Exhibit Resume of Gilliland, # 2 Exhibit Firm Bio, # 3 Exhibit
                 Order) (Basar, Demet) (Entered: 02/16/2024)
02/20/2024   144 NOTICE of Appearance by Daniel Brandon Rogers on behalf of Publix Supermarkets,
                 Inc. (aty to be noticed) Associated Cases: 1:23−md−03089−BMC,
                 1:24−cv−01099−BMC (Rogers, Daniel) (Entered: 02/20/2024)
02/20/2024   145 NOTICE of Appearance by Emilie W. Hamilton on behalf of Johnson & Johnson
                 Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer
                 Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson
                 & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
                 Consumer, Inc. (aty to be noticed) Associated Cases: 1:23−md−03089−BMC et al.
                 (Hamilton, Emilie) (Entered: 02/20/2024)
02/20/2024   146 NOTICE of Appearance by David Philip Milian on behalf of Jay Valinsky
                 (notification declined or already on case) Associated Cases: 1:23−md−03089−BMC,
                 1:24−cv−00124−BMC (Milian, David) (Entered: 02/20/2024)
02/21/2024   147 NOTICE of Appearance by Colleen Gulliver on behalf of Bayer Corporation, Bayer
                 Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health
                 Care, LLC, Bayer Corporation (aty to be noticed) Associated Cases:
                 1:23−md−03089−BMC et al. (Gulliver, Colleen) (Entered: 02/21/2024)
02/22/2024   148 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 NYEDC−17593061 by Haley Hadden, Bonnie Van Noy. (Attachments: # 1
                 Declaration Declaration in Support of Motion for Pro Hac, # 2 Exhibit Certificate of
                 Good Standing, # 3 Proposed Order Pro Hac Order for Jessica Haynes) Associated
                 Cases: 1:23−md−03089−BMC, 1:24−cv−01104−BMC (Haynes, Jessica) (Entered:
                 02/22/2024)
02/27/2024   149 Proposed Scheduling Order Case Management Order #1 by Plaintiffs (Attachments: #
                 1 Proposed Order) (London, Michael) (Entered: 02/27/2024)
02/28/2024   150 NOTICE by Haley Hadden, Bonnie Van Noy re 143 MOTION to Appoint Counsel as
                 to Leadership withdrawal (Basar, Demet) (Entered: 02/28/2024)
02/28/2024        ORDER terminating 143 Motion to Appoint Counsel as withdrawn. Ordered by Judge
                  Brian M. Cogan on 2/28/2024. (PW) (Entered: 02/28/2024)
02/28/2024   151 RESPONSE to Motion re 135 Amended MOTION to Appoint Counsel / Defendants'
                 Joint Response to Plaintiffs' Amended Motion for an Order Appointing Plaintiffs'
                 Proposed Leadership Structure and Appointing Interim Class Counsel filed by
                 Albertsons Companies, Inc., Amazon.com Services LLC, Amazon.com, Inc,
                 Associated Wholesale Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc.,
                 Costco Wholesale Corp., Dierbergs Markets, Inc., Haleon US Holdings LLC, Johnson
                 & Johnson Consumer Inc., Procter & Gamble Co., Publix Super Markets, Inc., RB
                 Health (US) LLC, Rite Aid Corporation, Target Corporation, Valu Merchandisers Co.,
                 Wal−Mart Inc., Wal−Mart Stores East 1, LP, Walgreen Co. (Lefkowitz, Jay) (Entered:
                 02/28/2024)
02/28/2024        ORDER granting 139 142 148 Motions for Leave to Appear Pro Hac Vice. The
                  attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                  registered, the attorney shall file a notice of appearance to ensure electronic
                  notification of activity in this case. Also, each attorney shall ensure the $200 admission
                  fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                  Ordered by Judge Brian M. Cogan on 2/28/2024. (PW) (Entered: 02/28/2024)
02/28/2024   152 NOTICE of Appearance by Rebecca D Gilliland on behalf of Haley Hadden, Bonnie
                 Van Noy (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:24−cv−01104−BMC (Gilliland, Rebecca) (Entered:
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 118 of 130
                                           A-119
                   02/28/2024)
02/28/2024   153 NOTICE of Appearance by Rebecca D Gilliland on behalf of Haley Hadden, Bonnie
                 Van Noy (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:24−cv−01104−BMC (Gilliland, Rebecca) (Entered:
                 02/28/2024)
02/28/2024   154 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 NYEDC−17616324 by Daniel Flick, Claudette Sanes, Janis Zimmerman, Karen
                 Schwartz, Ruta Taito, John Jeffrey Ward, Regina Brookshier, Cece Davenport, Dena
                 Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica, Michael Lee,
                 Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal,
                 Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan Brandman,
                 Cece Davenport, Michelle Garza, Toni Heuchan, Michael Lee, Dena Fichot, Thomas
                 Lewis. (Attachments: # 1 Declaration, # 2 Exhibit A: Certificate of Good Standing, # 3
                 Proposed Order) Associated Cases: 1:23−md−03089−BMC et al. (French, Jenn)
                 (Entered: 02/28/2024)
02/28/2024   155 NOTICE of Appearance by Richard Fama on behalf of The Kroger Co., Harris Teeter,
                 LLC, Harris Teeter Supermarkets, Inc. (aty to be noticed) (Fama, Richard) (Entered:
                 02/28/2024)
02/28/2024   156 MOTION to Appear Pro Hac Vice (also filed by The Kroger Co.) Filing fee $ 200,
                 receipt number ANYEDC−17616685 by Harris Teeter Supermarkets, Inc., Harris
                 Teeter, LLC. (Attachments: # 1 Affidavit, # 2 Proposed Order) (Fama, Richard)
                 (Entered: 02/28/2024)
02/28/2024   157 NOTICE of Appearance by Michael Fitzgerald Healy on behalf of Publix Super
                 Markets, Inc. (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:23−cv−09264−BMC, 1:23−cv−09272−BMC,
                 1:24−cv−00124−BMC (Healy, Michael) (Entered: 02/28/2024)
02/28/2024   158 RESPONSE to Motion re 135 Amended MOTION to Appoint Counsel filed by Regina
                 Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni
                 Heuchan, Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco, Claudette
                 Sanes, Karen Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey Ward,
                 Janis Zimmerman, Jonathan Brandman. (Attachments: # 1 Declaration of Jennifer M.
                 French) (Braden, Scott) (Entered: 02/28/2024)
02/29/2024   159 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 NYEDC−17617701 by Haley Hadden, Bonnie Van Noy. (Attachments: # 1
                 Declaration Declaration in Support of Pro Hac Vice, # 2 Exhibit Certificate of Good
                 Standing− Alabama, # 3 Exhibit Certificate of Good Standing− Georgia, # 4 Proposed
                 Order) Associated Cases: 1:23−md−03089−BMC, 1:24−cv−01104−BMC (Hawthorne,
                 Alison) (Entered: 02/29/2024)
02/29/2024   160 Letter Letter to Judge Cogan and Amended Proposed Order on Pro Hac Vice of Karl
                 O. Riley by Harris Teeter Supermarkets, Inc., Harris Teeter, LLC, The Kroger Co.
                 (Attachments: # 1 Proposed Order) (Fama, Richard) (Entered: 02/29/2024)
02/29/2024   161 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 NYEDC−17619250 by Haley Hadden, Bonnie Van Noy. (Attachments: # 1
                 Declaration Declaration in Support of Pro Hac Vice, # 2 Exhibit Certificate of Good
                 Standing− Alabama, # 3 Proposed Order) Associated Cases: 1:23−md−03089−BMC,
                 1:24−cv−01104−BMC (Miles, Wilson) (Entered: 02/29/2024)
02/29/2024   162 CASE MANAGEMENT ORDER; SCHEDULING ORDER. First, the Court hereby
                 adopts the parties' proposed Case Management Order No. 1 with minor revisions,
                 which is attached. Second, an initial status conference is set for 4/2/2024 at 6:00 pm
                 EST. A ZoomGov link will be emailed to counsel of record. The parties are directed to
                 review Section V for instructions regarding who shall attend the initial status
                 conference. The parties are reminded that, if they wish to propose agenda items for the
                 initial conference, they must do so by 3/29/2024. Third, the parties are directed to
                 review the revisions to the pro hac vice application process in Section IV.

                   Finally, regarding the appointment of lead plaintiffs' counsel, the Consensus Plaintiffs
                   are ordered to meet and confer with the LC Plaintiffs. By 3/8/2024, the LC Plaintiffs
             Case: 25-119, 01/14/2025, DktEntry: 5.2, Page 119 of 130
                                           A-120
                  are ordered to either (1) notify the Court of their intent to join the Consensus Plaintiffs'
                  motion 135 , or (2) file their own motion to appoint lead plaintiffs' counsel. Ordered by
                  Judge Brian M. Cogan on 2/29/2024. (PW) (Entered: 02/29/2024)
02/29/2024        Email Notification Test − DO NOT REPLY (AM) (Entered: 02/29/2024)
03/01/2024   163 NOTICE of Appearance by Alison D Hawthorne on behalf of Haley Hadden, Bonnie
                 Van Noy (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:24−cv−01104−BMC (Hawthorne, Alison) (Entered:
                 03/01/2024)
03/05/2024        ORDER granting 154 156 159 161 Motions for Leave to Appear Pro Hac Vice. The
                  attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                  registered, the attorney shall file a notice of appearance to ensure electronic
                  notification of activity in this case. Also, the attorney shall ensure the $200 admission
                  fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                  Ordered by Judge Brian M. Cogan on 3/5/2024. (PW) (Entered: 03/05/2024)
03/05/2024   164 NOTICE of Appearance by Wilson D. Miles on behalf of Haley Hadden, Bonnie Van
                 Noy (notification declined or already on case) Associated Cases:
                 1:23−md−03089−BMC, 1:24−cv−01104−BMC (Miles, Wilson) (Entered: 03/05/2024)
03/05/2024   165 NOTICE of Appearance by Jenn French on behalf of Daniel Flick, Claudette Sanes,
                 Janis Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Jonathan
                 Brandman, Regina Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle
                 Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco,
                 Claudette Sanes, Karen Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John
                 Jeffrey Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport, Michelle
                 Garza, Toni Heuchan, Michael Lee, Dena Fichot, Thomas Lewis (aty to be noticed)
                 Associated Cases: 1:23−md−03089−BMC et al. (French, Jenn) (Entered: 03/05/2024)
03/06/2024   166 NOTICE of Appearance by Karl Riley on behalf of Harris Teeter Supermarkets, Inc.,
                 Harris Teeter, LLC, The Kroger Co. (aty to be noticed) (Riley, Karl) (Entered:
                 03/06/2024)
03/08/2024   167 First MOTION to Appear Pro Hac Vice for Sophie A. Zavaglia Filing fee $ 200,
                 receipt number ANYEDC−17647053 by Daniel Heaghney, Daryl Means.
                 (Attachments: # 1 Exhibit, # 2 Affidavit, # 3 Proposed Order, # 4 Certificate of
                 Service) (Zavaglia, Sophie) (Entered: 03/08/2024)
03/08/2024   168 NOTICE by Jonathan Brandman, Regina Brookshier, Cece Davenport, Dena Fichot,
                 Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas
                 Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Ruta Taito, Hollie Verdi,
                 John Jeffrey Ward, Janis Zimmerman re Order,, 162 Scheduling Order,,,, LC Plaintiffs'
                 Response to Case Management Order No. 1 and Notice of Intent to Join Consensus
                 Plaintiffs' Motion for Appointment (Braden, Scott) (Entered: 03/08/2024)
03/11/2024   169 REPLY in Support re 135 Amended MOTION to Appoint Counsel , 151 Response to
                 Motion,, filed by Plaintiffs. (London, Michael) (Entered: 03/11/2024)
03/11/2024        ORDER granting 167 Sophie A. Zavaglia Motion's for Leave to Appear Pro Hac Vice.
                  The attorney shall register for ECF, registration is available online at www.pacer.gov.
                  Once registered, the attorney shall file a notice of appearance to ensure electronic
                  notification of activity in this case. Also, the attorney shall ensure the $200 admission
                  fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                  Ordered by Judge Brian M. Cogan on 3/11/2024. (PW) (Entered: 03/11/2024)
03/11/2024        ORDER deferring ruling on 135 Amended Motion to Appoint Counsel. Because the
                  deadline for the parties to file a motion to appoint counsel passed on 3/8/2024, the
                  Court will not consider any further motions. However, the Court defers ruling on 135
                  pending discussion at the Initial Status Conference. Ordered by Judge Brian M. Cogan
                  on 3/11/2024. (PW) (Entered: 03/11/2024)
03/14/2024   170 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 NYEDC−17668153 by Cody Morgan. (Attachments: # 1 Affidavit of Michael A.
                 Sacchet with Exhibit 1) Associated Cases: 1:23−md−03089−BMC,
                 1:23−cv−09266−BMC (Sacchet, Michael) (Entered: 03/14/2024)
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03/22/2024
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             171 NOTICE of Appearance by Scott Alan George on behalf of Erin Barton, Tatiana
                 Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                 Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (George,
                 Scott) (Entered: 03/22/2024)
03/22/2024   172 NOTICE of Appearance by Christopher A. Seeger on behalf of Erin Barton, Tatiana
                 Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                 Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Seeger,
                 Christopher) (Entered: 03/22/2024)
03/22/2024   173 NOTICE of Appearance by David R. Buchanan on behalf of Erin Barton, Tatiana
                 Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                 Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed)
                 (Buchanan, David) (Entered: 03/22/2024)
03/22/2024   174 NOTICE of Appearance by Diogenes P. Kekatos on behalf of Erin Barton, Tatiana
                 Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                 Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Kekatos,
                 Diogenes) (Entered: 03/22/2024)
03/25/2024   175 NOTICE of Appearance by Lindsey Scarcello on behalf of Heather Fong, Michael
                 Walker, Krista Wright (aty to be noticed) (Scarcello, Lindsey) (Entered: 03/25/2024)
03/26/2024   176 Consent MOTION to Substitute Attorney by Wal−Mart Inc., Wal−Mart Stores East 1,
                 LP, Walmart Inc,. (Goldstein, Dale) (Entered: 03/26/2024)
03/26/2024   177 Consent MOTION to Substitute Attorney by Wal−Mart Inc., Wal−Mart Stores East 1,
                 LP, Walmart Inc,. (Lesko, Mark) (Entered: 03/26/2024)
03/26/2024   178 Consent MOTION to Substitute Attorney by Wal−Mart Inc., Wal−Mart Stores East 1,
                 LP, Walmart Inc,. (Isidro, Nilda) (Entered: 03/26/2024)
03/26/2024   179 JPMDL Conditional Transfer Order (CTO−7):Pursuant to Rule 7.1 of the Rules of
                 Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                 on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                 of New York for the reasons stated in the order of December 6, 2023, and, with the
                 consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                 03/28/2024)
03/27/2024         ORDER granting 176 177 178 Motions to Substitute Attorney. Attorneys Livia M.
                   Kiser; Michael L. Resch; Ethan Price Davis and Rose J Jones terminated as attorneys
                   for defendant Walmart Inc.

                   Attorneys Dale Rose Goldstein; Mark J Lesko; Nilda M Isidro shall file their Notices
                   of Appearance on behalf defendant Walmart Inc. to ensure they receive electronic
                   notification of activity in this case. Ordered by Judge Brian M. Cogan on 3/27/2024.
                   (PW) (Entered: 03/27/2024)
03/27/2024         ORDER granting 170 Michael A. Sacchet's Motion for Leave to Appear Pro Hac Vice.
                   The attorney shall register for ECF, registration is available online at www.pacer.gov.
                   Once registered, the attorney shall file a notice of appearance to ensure electronic
                   notification of activity in this case. Also, the attorney shall ensure the $200 admission
                   fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                   Ordered by Judge Brian M. Cogan on 3/27/2024. (PW) (Entered: 03/27/2024)
03/28/2024   180 MOTION to Withdraw Reference , MOTION to Withdraw as Attorney Motion for
                 Leave to Withdraw Nia Barberousse Binns as Counsel by Joey Cohen, Viva Cohen.
                 (Kanner, Steven) (Entered: 03/28/2024)
03/28/2024   181 NOTICE of Appearance by Dale Goldstein on behalf of Wal−Mart Inc., Wal−Mart
                 Stores East 1, LP, Walmart Inc, (notification declined or already on case) (Goldstein,
                 Dale) (Entered: 03/28/2024)
03/28/2024   182 NOTICE of Appearance by Nilda Maria Isidro on behalf of Wal−Mart Inc., Wal−Mart
                 Stores East 1, LP, Walmart Inc, (notification declined or already on case) (Isidro,
                 Nilda) (Entered: 03/28/2024)
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             183 NOTICE of Appearance by Mark Lesko on behalf of Wal−Mart Inc., Wal−Mart Stores
                 East 1, LP, Walmart Inc, (notification declined or already on case) (Lesko, Mark)
                 (Entered: 03/28/2024)
03/28/2024        ORDER granting 180 Motion to Withdraw as Attorney. Attorney Nia−imara Atu
                  Barberousse Binns terminated. Ordered by Judge Brian M. Cogan on 3/28/2024. (PW)
                  (Entered: 03/28/2024)
03/28/2024   184 STATUS REPORT Proposed Agenda by Plaintiffs (London, Michael) (Entered:
                 03/28/2024)
03/28/2024   190 MOTION to Appear Pro Hac Vice Vice Filing fee $ 200, receipt number
                 ANYEDC−17715615 by Heather Fong. (Attachments: # 1 Affidavit, # 2 Exhibit
                 Certificate of Good Standing, # 3 Exhibit Certificate of Good Standing) Associated
                 Cases: 1:23−md−03089−BMC et al. (TLH) (Entered: 04/04/2024)
03/28/2024   191 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 ANYEDC−17715729 by Michael Walker. (Attachments: # 1 Affidavit, # 2 Exhibit
                 Certificate of Good Standing, # 3 Exhibit Certificate of Good Standing) (TLH)
                 (Entered: 04/04/2024)
03/28/2024   192 MOTION to Appear Pro Hac Vice Vice Filing fee $ 200, receipt number
                 ANYEDC−17715642 by Krista Wright. (Attachments: # 1 Affidavit, # 2 Exhibit
                 Certificate of Good Standing, # 3 Exhibit Certificate of Good Standing) (TLH)
                 (Entered: 04/04/2024)
03/29/2024   185 STATUS REPORT Defendants' Proposed Additional Agenda Items by Albertsons
                 Companies, Inc., Amazon.com Services LLC, Amazon.com, Inc, Associated
                 Wholesale Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc., Costco
                 Wholesale Corp., Dierbergs Markets, Inc., Haleon US Holdings LLC, Harris Teeter
                 Supermarkets, Inc., Harris Teeter, LLC, Johnson & Johnson Consumer Inc., Publix
                 Super Markets, Inc., RB Health (US) LLC, Rite Aid Corporation, Target Corporation,
                 The Kroger Co., The Procter & Gamble Company, Valu Merchandisers Co.,
                 Wal−Mart Inc., Wal−Mart Stores East 1, LP, Walgreen Co (Soukup, Andrew)
                 (Entered: 03/29/2024)
04/01/2024   186 NOTICE of Appearance by Michael A. Sacchet on behalf of Cody Morgan
                 (notification declined or already on case) Associated Cases: 1:23−md−03089−BMC,
                 1:23−cv−09266−BMC (Sacchet, Michael) (Entered: 04/01/2024)
04/01/2024   187 MOTION to Appear Pro Hac Vice Daniel R. Schwartz Filing fee $ 200, receipt
                 number ANYEDC−17728548 by Erin Barton. (Attachments: # 1 Affidavit Affidavit in
                 Support of Motion to Admit Counsel Pro Hac Vice, # 2 Exhibit State of Illinois
                 Certificate of Good Standing, # 3 Exhibit State of New York Certificate of Good
                 Standing, # 4 Proposed Order Proposed Order) (Schwartz, Daniel) (Entered:
                 04/01/2024)
04/01/2024   188 MOTION to Appear Pro Hac Vice for Sara K. Thompson Filing fee $ 200, receipt
                 number ANYEDC−17729690 by Albertsons Companies, Inc., CVS Pharmacy Inc.,
                 Costco Wholesale Corp., Rite Aid Corporation, Target Corporation, Wal−Mart Inc.,
                 Wal−Mart Stores East 1, LP, Walgreen Co. (Attachments: # 1 Affidavit, # 2 Exhibit A
                 − Certificates of Good Standing, # 3 Proposed Order, # 4 Certificate of Service)
                 (Goldstein, Dale) (Entered: 04/01/2024)
04/02/2024        ORDER granting 187 188 Motions for Leave to Appear Pro Hac Vice. The attorney
                  shall register for ECF, registration is available online at www.pacer.gov. Once
                  registered, the attorney shall file a notice of appearance to ensure electronic
                  notification of activity in this case. Also, each attorney shall ensure the $200 admission
                  fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                  Ordered by Judge Brian M. Cogan on 4/2/2024. (PW) (Entered: 04/02/2024)
04/02/2024        ORDER. Members of the public may join today's 6:00 pm conference in a listen−only
                  mode by calling 571−353−2301 and entering Meeting ID: 208955910#. Ordered by
                  Judge Brian M. Cogan on 4/2/2024. (PW) (Entered: 04/02/2024)
04/03/2024        Minute Entry and Order for Initial Status Conference held before Judge Brian M.
                  Cogan on 4/2/2024. Counsel for Interim Class Counsel and defendants appeared via
                  Zoom. First, plaintiffs' amended motion to appoint counsel 135 is granted. Second,
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                   plaintiffs must file their bellwether complaint by 5/3/2024. Third, the parties shall
                   exchange Rule 26(a) initial disclosures by 5/17/2024. Finally, the Court will hold a
                   status conference on 5/23/2024 at 10:00 am via Zoom. A ZoomGov link will be
                   emailed to counsel for defendants, members of the Plaintiffs' Executive Committee,
                   and members of the Plaintiffs' Steering Committee. See transcript for details (Court
                   Reporter: Rivka Teich). (PW) (Entered: 04/03/2024)
04/04/2024   189 NOTICE of Appearance by Tyler Hudson on behalf of Heather Fong, Michael Walker,
                 Krista Wright (notification declined or already on case) (Hudson, Tyler) (Entered:
                 04/04/2024)
04/04/2024         ORDER granting 190 in case 1:23−md−03089, Tyler Hudson's Motion for Leave to
                   Appear Pro Hac Vice. The attorney shall register for ECF, registration is available
                   online at www.pacer.gov. Once registered, the attorney shall file a notice of
                   appearance to ensure electronic notification of activity in this case. Also, the attorney
                   shall ensure the $200 admission fee be submitted to the Clerks Office via filing the
                   event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 4/4/2024.
                   Associated Cases: 1:23−md−03089−BMC et al. (PW) (Entered: 04/04/2024)
04/04/2024   193 NOTICE of Appearance by Daniel Schwartz on behalf of Erin Barton (notification
                 declined or already on case) (Schwartz, Daniel) (Entered: 04/04/2024)
04/05/2024   194 NOTICE of Appearance by Laura Flahive Wu on behalf of The Procter & Gamble
                 Company (aty to be noticed) Associated Cases: 1:23−md−03089−BMC,
                 2:23−cv−06870−BMC (Flahive Wu, Laura) (Entered: 04/05/2024)
04/11/2024   195 JPMDL Conditional Transfer Order (Schedule A): Pursuant to Rule 7.1 of the Rules of
                 Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                 on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                 of New York for the reasons stated in the order of December 6, 2023, and, with the
                 consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                 04/15/2024)
04/16/2024   196 Letter MOTION to Amend/Correct/Supplement for Entry of a Proposed Order
                 Governing Complaint and Dismissal Process by Plaintiffs. (Attachments: # 1 Proposed
                 Order) (London, Michael) (Entered: 04/16/2024)
04/17/2024   197 ORDER granting re: 196 Governing Complaint and Dismissal Process. ( Ordered by
                 Judge Brian M. Cogan on 4/16/2024 ) (RG) (Entered: 04/17/2024)
04/18/2024   198 JPMDL Conditional Transfer Order (CTO−8):Pursuant to Rule 7.1 of the Rules of
                 Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                 on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                 of New York for the reasons stated in the order of December 6, 2023, and, with the
                 consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                 04/18/2024)
04/26/2024   199 JPMDL Conditional Transfer Order (CTO−9):Pursuant to Rule 7.1 of the Rules of
                 Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s)
                 on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District
                 of New York for the reasons stated in the order of December 6, 2023, and, with the
                 consent of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered:
                 04/26/2024)
05/02/2024         Email Notification Test − DO NOT REPLY (EF) (Entered: 05/02/2024)
05/03/2024   200 AMENDED COMPLAINT against All Defendants, Supplemental COMPLAINT
                 INTITIAL STREAMLINED CONSOLIDATED NEW YORK BELLWETHER CLASS
                 ACTION COMPLAINT, filed by Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit A
                 (Contd.), # 3 Exhibit A (Contd.), # 4 Exhibit A (Contd.), # 5 Exhibit A (Contd.), # 6
                 Exhibit A (Contd.), # 7 Exhibit A (Contd.), # 8 Exhibit A (Contd.), # 9 Exhibit A
                 (Contd.), # 10 Exhibit A (Contd.), # 11 Exhibit A (Contd.), # 12 Exhibit A (Contd.), #
                 13 Exhibit A (Contd.), # 14 Exhibit A (Contd.), # 15 Exhibit A (Contd.), # 16 Exhibit
                 A (Contd.), # 17 Exhibit A (Contd.), # 18 Exhibit A (Contd.), # 19 Exhibit A (Contd.),
                 # 20 Exhibit A (Contd.), # 21 Exhibit A (Contd.), # 22 Exhibit A (Contd.), # 23
                 Exhibit A (Contd.), # 24 Exhibit A (Contd.), # 25 Exhibit A (Contd.)) (London,
                 Michael) (Entered: 05/03/2024)
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             201 Proposed Summons. Re 200 Amended Complaint,,,, Supplemental Complaint,,, by
                 Plaintiffs (London, Michael) (Entered: 05/06/2024)
05/06/2024        ORDER granting 191 192 Tyler Hudson's Motions for Leave to Appear Pro Hac Vice
                  as counsel for plaintiffs Michael Walker and Krista Wright. Ordered by Judge Brian
                  M. Cogan on 5/6/2024. (PW) (Entered: 05/06/2024)
05/10/2024   202 Summons Issued as to Perrigo Company PLC. (RG) (Entered: 05/10/2024)
05/16/2024   203 Letter MOTION to Amend/Correct/Supplement 197 Order on Motion to
                 Amend/Correct/Supplement Order Governing Complaint and Dismissal Process by
                 Albertsons Companies, Inc., Amazon.com Services LLC, Amazon.com, Inc,
                 Associated Wholesale Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc.,
                 Costco Wholesale Corp., Dierbergs Markets, Inc., Haleon US Holdings LLC, Harris
                 Teeter Supermarkets, Inc., Harris Teeter, LLC, Johnson & Johnson Consumer Inc.,
                 Publix Super Markets, Inc., RB Health (US) LLC, Rite Aid Corporation, Target
                 Corporation, The Kroger Co., The Procter & Gamble Company, Valu Merchandisers
                 Co., Wal−Mart Stores East 1, LP, Walgreen Co, Walmart Inc,. (Attachments: # 1
                 Exhibit A (Proposed Order)) (Soukup, Andrew) (Entered: 05/16/2024)
05/16/2024   204 ORDER granting 203 Motion to Amend/Correct/Supplement; AMENDED ORDER
                 GOVERNING INITIAL STREAMLINED CONSOLIDATED CLASS ACTION
                 COMPLAINT AND DEFENDANTS' MOTION TO DISMISS IN RESPONSE. (
                 Ordered by Judge Brian M. Cogan on 5/16/2024 ) (RG) (Entered: 05/16/2024)
05/16/2024        SCHEDULING ORDER: In lieu of the upcoming status conference, the Court directs
                  the parties to submit a joint discovery status report not to exceed 3 pages. The
                  5/23/2024 status conference is adjourned. Upon review of the parties' status report, the
                  Court will set a date for a further status conference. Ordered by Judge Brian M. Cogan
                  on 5/16/2024. (PW) (Entered: 05/16/2024)
05/17/2024   205 CORRECTED CASE MANAGEMENT ORDER NO. 1. The Court amends its prior
                 order regarding motions for admission pro hac vice. Ordered by Judge Brian M. Cogan
                 on 5/17/2024. (PW) (Entered: 05/17/2024)
05/17/2024   206 SUMMONS Returned Executed by Plaintiffs. Perrigo Company PLC served on
                 5/15/2024, answer due 6/5/2024. (London, Michael) (Entered: 05/17/2024)
05/17/2024   207 NOTICE of Appearance by Sara K. Thompson on behalf of Albertsons Companies,
                 Inc., CVS Pharmacy Inc., Costco Wholesale Corp., Rite Aid Corporation, Target
                 Corporation, Wal−Mart Inc., Wal−Mart Stores East 1, LP, Walgreen Co (aty to be
                 noticed) (Thompson, Sara) (Entered: 05/17/2024)
05/21/2024   208 NOTICE of Appearance by Melissa S. Weiner on behalf of Donald Krist, Paul Mateer,
                 William Mitchell, Rose Riccio, Mohamad Tlaib, Tina Tuominen (aty to be noticed)
                 (Weiner, Melissa) (Entered: 05/21/2024)
05/23/2024   209 STATUS REPORT Joint Discovery Status Report by Plaintiffs (London, Michael)
                 (Entered: 05/23/2024)
06/03/2024        SCHEDULING ORDER re: 209 . The Court will hold a status conference to discuss
                  the issues raised in the parties' joint letter on June 11, 2024 at 11:00 am. A ZoomGov
                  link will be emailed to counsel for defendants, members of the Plaintiffs' Executive
                  Committee, and members of the Plaintiffs' Steering Committee. By June 17, 2024, the
                  parties are directed to submit the agreed−upon protective and ESI orders, or if the
                  parties cannot reach agreement, a joint submission that clearly indicates areas of
                  agreement and disagreement as to both orders and provides the parties' respective
                  arguments for the same. Ordered by Judge Brian M. Cogan on 6/3/2024. (PW)
                  (Entered: 06/03/2024)
06/03/2024   210 NOTICE of Voluntary Dismissal by Plaintiffs of Defendant Haleon US Capital LLC
                 Only without Prejudice in the Initial Streamlined Consolidated New York Bellwether
                 Class Action Complaint (London, Michael) (Entered: 06/03/2024)
06/03/2024   211 NOTICE of Voluntary Dismissal by Plaintiffs of Defendants Reckitt Benckiser
                 Pharmaceuticals Inc., and Reckitt Benckiser LLC Only without Prejudice in the Initial
                 Streamlined Consolidated New York Bellwether Class Action Complaint (London,
                 Michael) (Entered: 06/03/2024)
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             212 MOTION to Dismiss for Failure to State a Claim by Bayer Healthcare L.L.C., CVS
                 Pharmacy Inc., Haleon US Holdings LLC, Johnson & Johnson Consumer Inc., RB
                 Health (US) LLC, Target Corporation, The Procter & Gamble Company, Wal−Mart
                 Inc., Walgreen Co. (Soukup, Andrew) (Entered: 06/03/2024)
06/03/2024   213 MEMORANDUM in Support re 212 MOTION to Dismiss for Failure to State a Claim
                 filed by Bayer Healthcare L.L.C., CVS Pharmacy Inc., Haleon US Holdings LLC,
                 Johnson & Johnson Consumer Inc., RB Health (US) LLC, Target Corporation, The
                 Procter & Gamble Company, Wal−Mart Inc., Walgreen Co. (Soukup, Andrew)
                 (Entered: 06/03/2024)
06/06/2024   214 NOTICE of Appearance by Sara Castronuova on behalf of Plaintiffs (aty to be noticed)
                 (Castronuova, Sara) (Entered: 06/06/2024)
06/06/2024   215 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 04/02/24,
                 before Judge COGAN. Court Reporter/Transcriber RIVKA TEICH, Telephone
                 number (718)613−2268. Email address: RIVKATEICH@GMAIL.COM. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER.File redaction request using event
                 "Redaction Request − Transcript" located under "Other Filings − Other Documents".
                 Redaction Request due 6/27/2024. Redacted Transcript Deadline set for 7/8/2024.
                 Release of Transcript Restriction set for 9/4/2024. (Teich, Rivka) (Entered:
                 06/06/2024)
06/06/2024   216 NOTICE of Appearance by Debra Nicole Guntner on behalf of Cody Morgan (aty to
                 be noticed) Associated Cases: 1:23−md−03089−BMC, 1:23−cv−09266−BMC
                 (Guntner, Debra) (Entered: 06/06/2024)
06/07/2024   217 NOTICE of Appearance by Jeffrey Scott Grand on behalf of Erin Barton, Tatiana
                 Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                 Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Grand,
                 Jeffrey) (Entered: 06/07/2024)
06/07/2024   218 NOTICE of Appearance by Jennifer M. Hoekstra on behalf of Kaycie Coppock
                 (notification declined or already on case) (Hoekstra, Jennifer) (Entered: 06/07/2024)
06/10/2024         ORDER. Members of the public may join the conference scheduled for June 11, 2024
                   at 11:00 am in a listen−only mode by calling 571−353−2301 and entering Meeting ID:
                   208955910#. Ordered by Judge Brian M. Cogan on 6/10/2024. (PW) (Entered:
                   06/10/2024)
06/10/2024   219 NOTICE of Appearance by Jeffrey A. N. Kopczynski on behalf of Johnson & Johnson
                 Consumer Inc. (aty to be noticed) (Kopczynski, Jeffrey) (Entered: 06/10/2024)
06/11/2024   220 Minute Entry and Order for Status Conference held before Judge Brian M. Cogan on
                 6/11/2024. Counsel for the Interim Class and defendants appeared via Zoom. First, the
                 parties may begin to hold Rule 26(f) conferences. Second, the parties are permitted to
                 serve discovery requests on one another, but they are not obligated to produce
                 discovery until the Court rules on defendants' initial motion to dismiss. Third, the
                 Court will post as "Court's Exhibit 1" the list of plaintiffs' attorneys identified by
                 Interim Class Counsel (attached to this Order). Finally, the Court sets a further
                 conference on 8/20/2024 at 11:00 am. A ZoomGov link will be emailed to counsel of
                 record. See transcript for details (Court Reporter: Victoria Torres−Butler). (PW)
                 (Entered: 06/11/2024)
06/11/2024   221 TRANSCRIPT REQUEST by Johnson & Johnson Consumer Companies, Inc, Johnson
                 & Johnson Consumer Inc. for proceedings held on 06/11/2024 before Judge Cogan.
                 (Hamilton, Emilie) (Entered: 06/11/2024)
06/11/2024   222 MOTION to Appear Pro Hac Vice NOTICE OF MOTION TO ADMIT ERIC
                 LOMBARDO PRO HAC VICE Filing fee $ 200, receipt number ANYEDC−17967197
                 by Martha A. Page, Rebecca Lynn Reyes. (Attachments: # 1 Affidavit of Eric
                 Lombardo, # 2 Exhibit A − Certificate of Good Standing, # 3 Proposed Order)
                 (Lombardo, Eric) (Entered: 06/11/2024)
06/12/2024         ORDER granting 222 Motion for Leave to Appear Pro Hac Vice. The attorney shall
                   register for ECF, registration is available online at www.pacer.gov. Once registered,
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                  the attorney shall file a notice of appearance to ensure electronic notification of
                  activity in this case. Also, the attorney shall ensure the $200 admission fee be
                  submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered
                  by Judge Brian M. Cogan on 6/12/2024. (PW) (Entered: 06/12/2024)
06/12/2024   223 NOTICE of Appearance by Eric Lombardo on behalf of Martha A. Page, Rebecca
                 Lynn Reyes (notification declined or already on case) (Lombardo, Eric) (Entered:
                 06/12/2024)
06/14/2024   224 Letter MOTION for Extension of Time to File Proposed ESI Protocol and Protective
                 Order until August 1, 2024 (Joint Motion) by Plaintiffs. (London, Michael) (Entered:
                 06/14/2024)
06/17/2024        ORDER granting 224 . The parties will file their agreed−to or competing ESI and
                  Protective Orders by August 1, 2024. Ordered by Judge Brian M. Cogan on 6/17/2024.
                  (PW) (Entered: 06/17/2024)
07/15/2024   225 MEMORANDUM in Opposition re 212 MOTION to Dismiss for Failure to State a
                 Claim filed by All Plaintiffs. (Selbin, Jonathan) (Entered: 07/15/2024)
07/16/2024   226 NOTICE by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
                 Welharticky, Izabel Pena−Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack,
                 Mohanad Abdelkarim, Millard Adkins, Frank Anderson, Rosalyn Anderson, Steve
                 Audelo, John Jeffrey Bader, Donna Bailey, Layne Barter, Erin Barton, Tatiana
                 Benjamin, Archanatep Boonparn, John Boswell, Jonathan Brandman, Regina
                 Brookshier, William Bryan, Kimberly Buscaglia, Timothy Butler, James Carrigan,
                 Francis W. Catanese, Tamula Chamberlain, Richard Chavez, Steven Checchia,
                 Bethany Childers, Emily Cohen, Joey Cohen, Viva Cohen, Anthony Coleman, Scott
                 Collier, Christine Contreras, Kaycie Coppock, John Coyle, Robyn Cronin, Jaedon
                 Daniels, Cece Davenport, Hannah De Priest, Anthony DeRosa, Lauren Debeliso,
                 Tatyana Dekhtyar, Kristin Depaola, Kathleen Emmons, Greg Enriquez, Eli Erlick,
                 Robert Fichera, Dena Fichot, Brian Lloyd Fireng, Daniel Flick, Eduardo Flores,
                 Michael Folks, Heather Fong, Natasha Freeman, Samuel Gallo, Michelle Garza, Robin
                 Glauser, Darrell Wayne Grimsley, Jr., Andrew Gutierrez, Haley Hadden, Robert Haid,
                 Tina Haluszka, Emily Hansen, Christine Harrison, Daniel Heaghney, Jose Cortez
                 Hernandez, Natasha Hernandez, Toni Heuchan, Jack Hinsberger, Archi Hipkins,
                 Jamieka Holmes, Robert Housman, James Hsieh, Carrie Diane Huff, Andrew Isom,
                 Nathan Jackson, Rosalie Jackson, Kimberly James, Abby Jergins, Bill Jergins, Frizell
                 Johnson, Janet Jones, Mari Jones, Pamela Joyner, Natalie Juneau, Michele Kasparie,
                 Lorette Kenney, Cathy Kleiman, Erzen Krica, Donald Krist, Dimitri Lamdon, Kristin
                 Lawrence, Michael Lee, Gwen Lewi, Thomas Lewis, Robert Lundin, Sharon Manier,
                 Paul Mateer, Christopher McPhee, Kamonica McWhite, Daryl Means, Sommer
                 Milous, William Mitchell, Cody Morgan, Rethea Morris, Lateef Murdock, Jordan
                 Nelson, Newton's Pharmacy, Inc., Rhonda Nitto, Shelby Noviskis, Bonnie Van Noy,
                 Harold Nyanjom, Chioma Ozuzu, Martha A. Page, Rachel Parker, Regina Peralta,
                 Marcel Perez Pirio, Plaintiffs, Elie El Rai, Krystal Rampalli, Stacy Rankin, Jacob
                 Reinkraut, Rebecca Lynn Reyes, Rose Riccio, Dominic Rio, Olivia Rodesta, Anthony
                 Rogers, Sharon Rourk, Recoa Russell, Allison Sammarco, Claudette Sanes, Marisol
                 Scharon, Karen Schwartz, Richard Scoffier, Joanne Silva, Joseph Samuel Sorge,
                 Joshua Edward Sorge, Annette Striegel, Randall Sygal, Stan Szrajer, Ruta Taito, Joy
                 Taylor, Gwen Thomas, Shawn L. Thomas, Jessica Thompson, Amanda Thorns,
                 Achorea Tisdale, Mohamad Tlaib, Tiffany Travis, Tina Tuominen, Hector Valdes, Jay
                 Valinsky, Ruben Varela, Sierra Vent, Hollie Verdi, Justin Vorise, Michael Walker,
                 John Jeffrey Ward, Christine Ann Waters, Amy Weinberg, Nancy Welharticky,
                 Mychael Willon, Andrea Wilson, Charles Geoffrey Woods, Krista Wright, Sandra
                 Yousefzadeh, Janis Zimmerman, Archi Hipkins, Abby Jergins, Richard Chavez re
                 (117 in 1:23−md−03089−BMC) Notice of Appearance Withdrawal of Appearance
                 Associated Cases: 1:23−md−03089−BMC et al. (Min, YuQing) (Entered: 07/16/2024)
07/19/2024   227 SUMMONS Returned Executed by Plaintiffs. Haleon PLC served on 7/3/2024, answer
                 due 7/24/2024. (London, Michael) (Entered: 07/19/2024)
07/19/2024   228 SUMMONS Returned Executed by Plaintiffs. Perrigo Company PLC served on
                 6/20/2024, answer due 7/11/2024. (London, Michael) (Entered: 07/19/2024)
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08/01/2024
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             229 Letter MOTION for Extension of Time to File proposed ESI Order (Joint Motion) by
                 Plaintiffs. (London, Michael) (Entered: 08/01/2024)
08/01/2024   230 Letter enclosing proposed Protective Order by Plaintiffs (Attachments: # 1 Proposed
                 Order) (London, Michael) (Entered: 08/01/2024)
08/02/2024   231 CASE MANAGEMENT ORDER NO. 2: Qualified Protective Order and Agreed
                 Confidentiality Order. ( Ordered by Judge Brian M. Cogan on 8/1/2024 ) (RG)
                 (Entered: 08/02/2024)
08/02/2024         ORDER granting 229 . The parties shall file their agreed−to or competing ESI Order
                   by August 15, 2024. Ordered by Judge Brian M. Cogan on 8/2/2024. (PW) (Entered:
                   08/02/2024)
08/05/2024   232 REPLY in Support re 212 MOTION to Dismiss for Failure to State a Claim filed by
                 Bayer Healthcare L.L.C., CVS Pharmacy Inc., Haleon US Holdings LLC, Johnson &
                 Johnson Consumer Inc., RB Health (US) LLC, Target Corporation, The Procter &
                 Gamble Company, Wal−Mart Inc., Walgreen Co. (Soukup, Andrew) (Entered:
                 08/05/2024)
08/06/2024   233 SUMMONS Returned Executed by Sharon Rourk. (Furia, Philip) (Entered:
                 08/06/2024)
08/06/2024   234 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 ANYEDC−18150136 by Sandra Yousefzadeh. (Attachments: # 1 Affidavit in Support
                 of Motion to Admit Counsel Pro Hac Vice, # 2 Appendix Certificate of Good Standing
                 (NY), # 3 Appendix Certificate of Good Standing (TN), # 4 Appendix Certificate of
                 Good Standing (WI)) (Kaufman, Andrew) (Entered: 08/06/2024)
08/07/2024         ORDER granting 234 Andrew Kaufman's Motion for Leave to Appear Pro Hac Vice.
                   The attorney shall register for ECF, registration is available online at www.pacer.gov.
                   Once registered, the attorney shall file a notice of appearance to ensure electronic
                   notification of activity in this case. Also, the attorney shall ensure the $200 admission
                   fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                   Ordered by Judge Brian M. Cogan on 8/7/2024. (PW) (Entered: 08/07/2024)
08/07/2024   235 Letter to Judge Cogan to remove Kirkland & Ellis LLP and its attorneys Jay P.
                 Lefkowitz, Jacob Rae, and Robyn E. Bladow as counsel for Defendant Haleon plc. by
                 Haleon US Holdings LLC (Bladow, Robyn) (Entered: 08/07/2024)
08/07/2024         ORDER re: 235 . Attorneys Jacob Rae; Robyn E. Bladow and Jay P. Lefkowitz
                   terminated as counsel for Haleon PLC. Ordered by Judge Brian M. Cogan on
                   8/7/2024. (PW) (Entered: 08/07/2024)
08/14/2024         ORDER. Members of the public may join the conference scheduled for August 20,
                   2024 at 11:00 am in a listen−only mode by calling 571−353−2301 and entering
                   Meeting ID: 208955910#. Ordered by Judge Brian M. Cogan on 8/14/2024. (PW)
                   (Entered: 08/14/2024)
08/15/2024   236 Letter enclosing proposed ESI Protocol Order by Plaintiffs (Attachments: # 1
                 Proposed Order) (London, Michael) (Entered: 08/15/2024)
08/15/2024   237 STATUS REPORT /Joint Proposed Agenda by Plaintiffs (London, Michael) (Entered:
                 08/15/2024)
08/19/2024   238 CASE MANAGEMENT ORDER NO. 3

                   ORDER REGARDING PROTOCOL FOR PRODUCTION OF HARD COPY
                   DOCUMENTS AND ELECTRONICALLY STORED INFORMATION. ( Ordered by
                   Judge Brian M. Cogan on 8/19/2024 ) (RG) (Entered: 08/19/2024)
08/20/2024   239 Minute Entry and Order for Status Conference held before Judge Brian M. Cogan on
                 8/20/2024. Counsel for the Interim Class and defendants appeared via Zoom. First, the
                 Court scheduled Oral Argument on Defendants' Motion to Dismiss Plaintiffs'
                 Bellwether Complaint 212 , to be followed by a status conference, for 9/23/2024 at
                 12pm. A ZoomGov link will be emailed to counsel of record. Second, the Court will
                 post as "Court's Exhibit 2" the list of plaintiffs' attorneys identified by Interim Class
                 Counsel (attached to this Order). See transcript for details. (Court Reporter: Andronikh
                 Barna.) (PW) (Entered: 08/20/2024)
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             240 TRANSCRIPT REQUEST by Johnson & Johnson Consumer Inc. for proceedings held
                 on August 20, 2024 before Judge Brian M. Cogan. (Hamilton, Emilie) (Entered:
                 08/20/2024)
08/20/2024        ORDER re: 240 . Transcript requests should not be filed on the docket. They will not
                  be acted on. Ordered by Judge Brian M. Cogan on 8/20/2024. (PW) (Entered:
                  08/20/2024)
08/26/2024   241 NOTICE of Appearance by Andrew Kaufman on behalf of Sandra Yousefzadeh
                 (notification declined or already on case) (Kaufman, Andrew) (Entered: 08/26/2024)
09/10/2024   242 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 ANYEDC−18264653 by Sandra Yousefzadeh. (Attachments: # 1 Affidavit in Support
                 of Motion to Admit Counsel Pro Hac Vice, # 2 Appendix Certificate of Good Standing
                 (CA)) (Lewis, Faith) (Entered: 09/10/2024)
09/11/2024        ORDER granting 242 Motion for Leave to Appear Pro Hac Vice. The attorney shall
                  register for ECF, registration is available online at www.pacer.gov. Once registered,
                  the attorney shall file a notice of appearance to ensure electronic notification of
                  activity in this case. Also, the attorney shall ensure the $200 admission fee be
                  submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered
                  by Judge Brian M. Cogan on 9/11/2024. (PW) (Entered: 09/11/2024)
09/12/2024   243 NOTICE of Appearance by Faith E. A. Lewis on behalf of Sandra Yousefzadeh
                 (notification declined or already on case) (Lewis, Faith) (Entered: 09/12/2024)
09/17/2024        ORDER. Members of the public may join the hearing scheduled for September 23,
                  2024 at 12 noon in a listen−only mode by calling 571−353−2301 and entering Meeting
                  ID: 208955910#. Ordered by Judge Brian M. Cogan on 9/17/2024. (PW) (Entered:
                  09/17/2024)
09/23/2024   244 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number
                 ANYEDC−18310682 by Albertsons Companies, Inc., CVS Pharmacy Inc., Costco
                 Wholesale Corp., Rite Aid Corporation, Target Corporation, Wal−Mart Stores East 1,
                 LP, Walgreen Co, Walmart Inc,. (Attachments: # 1 Exhibit A, # 2 Declaration of
                 Austin A. Evans in Support of Motion for Admission Pro Hac Vice, # 3 Certificate of
                 Service, # 4 Proposed Order for Admission Pro Hac Vice of Austin A. Evans) (Evans,
                 Austin) (Entered: 09/23/2024)
09/24/2024        ORDER granting 244 Austin A. Evans' Motion for Leave to Appear Pro Hac Vice.
                  The attorney shall register for ECF, registration is available online at www.pacer.gov.
                  Once registered, the attorney shall file a notice of appearance to ensure electronic
                  notification of activity in this case. Also, the attorney shall ensure the $200 admission
                  fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
                  Ordered by Judge Brian M. Cogan on 9/24/2024. (PW) (Entered: 09/24/2024)
09/26/2024        Minute Entry and Order for Oral Argument on Defendants' Motion to Dismiss based
                  on Preemption 212 and Status Conference held before Judge Brian M. Cogan on
                  9/24/2024. Counsel for the Interim Class and defendants appeared via Zoom. The
                  Court heard argument on the motion and reserved decision. The Court deferred setting
                  a further schedule until it issues decision on the pending motion. See transcript for
                  details (Court Reporter: Victoria Torres−Butler). (PW) (Entered: 09/26/2024)
09/27/2024   245 NOTICE by Rite Aid Corporation of Notice of Permanent Injunction and Discharge
                 (Attachments: # 1 Exhibit A − Confirmation Order and Plan, # 2 Exhibit B −
                 2024−09−03 Notice Doc# 4800) (Goldstein, Dale) (Entered: 09/27/2024)
09/30/2024   246 NOTICE of Appearance by Austin Evans on behalf of Albertsons Companies, Inc.,
                 CVS Pharmacy Inc., Costco Wholesale Corp., Rite Aid Corporation, Target
                 Corporation, Wal−Mart Stores East 1, LP, Walgreen Co, Walmart Inc, (notification
                 declined or already on case) (Evans, Austin) (Entered: 09/30/2024)
10/02/2024   247 Letter to Judge Cogan by Sandra Yousefzadeh (Selbin, Jonathan) (Entered:
                 10/02/2024)
10/03/2024        ORDER STRIKING 247 . This is an ill−advised submission. The Court did not
                  request this commentary, and since it was present at the argument, it heard what
                  everyone said. In addition, counsel is advised that in the future, any letter filed in this
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                   action must include in the ECF entry line a brief description of the subject matter of
                   the letter, e.g., "Letter regarding Plaintiffs' RICO claims" not simply "Letter", so that
                   the docket remains intelligible. Do not refile. Ordered by Judge Brian M. Cogan on
                   10/3/2024. (PW) (Entered: 10/03/2024)
10/07/2024         ORDER re: 245 . Rite Aid Corporation has filed a "notice" requesting that this Court
                   "administratively terminate" these cases as to it and certain unnamed affiliates and
                   subsidiaries based on proceedings in the New Jersey Bankruptcy Court. The Court is
                   unsure what Rite Aid means by "administratively terminate", and the Court does not
                   rule on claims based on "notices." Rite Aid has been sued and there are pending claims
                   against it before this Court. If its position is that those claims have been discharged by
                   the New Jersey Bankruptcy Court, as it appears to be, it needs to file a stipulation or
                   motion to dismiss those claims without prejudice to their treatment under the
                   Bankruptcy Court's Orders. Dismissal, not "administrative termination," is the
                   appropriate disposition of claims that have been discharged in bankruptcy. Ordered by
                   Judge Brian M. Cogan on 10/7/2024. (PW) (Entered: 10/07/2024)
10/08/2024   248 Corporate Disclosure Statement by Bayer Healthcare L.L.C. identifying Other
                 Affiliate Bayer Essure Inc., Other Affiliate Bayer Consumer Care Holdings LLC,
                 Other Affiliate Bayer West Coast Corporation, Other Affiliate NippoNex Inc., Other
                 Affiliate Bayer Medical Care Inc., Other Affiliate Bayer Healthcare US Funding LLC
                 for Bayer Healthcare L.L.C.. (Campbell, Christopher) (Entered: 10/08/2024)
10/29/2024   249 MEMORANDUM DECISION AND ORDER dated 10/29/24 re: that defendants'
                 motion to dismiss the streamlined complaint is GRANTED. ( Ordered by Judge Brian
                 M. Cogan on 10/29/2024 ) (RG) (Entered: 10/29/2024)
10/29/2024         SCHEDULING ORDER: An in−person Status Conference will be held on 11/21/2024
                   at 1:00 PM in Courtroom 10A South. Ordered by Judge Brian M. Cogan on
                   10/29/2024. (PW) (Entered: 10/29/2024)
11/06/2024         ORDER. The Court gives the parties the option to appear either in−person in
                   Courtroom 10A South, by audio, or by video at the Status Conference scheduled for
                   11/21/2024 at 1:00 pm. A ZoomGov link will be emailed to all counsel of record. By
                   11/20/2024, the parties will email a list of speakers to
                   Tasha_townsend@nyed.uscourts.gov. Ordered by Judge Brian M. Cogan on
                   11/6/2024. (PW) (Entered: 11/06/2024)
11/06/2024   250 Letter MOTION for Leave to File Document / Letter Motion to Judge Cogan
                 Regarding Entry of Judgment by Haleon US Holdings LLC. (Attachments: # 1
                 Proposed Judgment) (Lefkowitz, Jay) (Entered: 11/06/2024)
11/08/2024   251 Letter (Joint) Regarding Recent FDA Announcement by Plaintiffs (London, Michael)
                 (Entered: 11/08/2024)
11/12/2024         ORDER granting 250 . The Court has considered plaintiffs' subsequent request that the
                   Court hold entry of final judgment "in abeyance" pending further interparty and
                   intraparty discussions and has considered defendants' opposition to delaying entry of
                   judgment. The Court is going to enter judgment now. The Court does not see how,
                   even if the FDA amends the monograph at some unknown point in the future (which it
                   well may not do), it would have any impact on this Court's decision. At all times
                   relevant to the consolidated cases, the FDA's monograph for nasal decongestants
                   remained the same. If the FDA amends the monograph in the future, and defendants'
                   labels at that point have to be changed but are not, perhaps individuals who then buy
                   defendants' products containing phenylephrine will experience harm that creates the
                   basis of a new claim against defendants. But, as the Court explained in its opinion,
                   defendants' labels conform to the current federal regulations, and those regulations
                   preempt plaintiffs' state law claims. The fact that the FDA might change the
                   monograph in the future would not change this analysis. The Court therefore will enter
                   the parties proposed judgment. The status conference scheduled for 11/21/2024 is
                   canceled. So Ordered by Judge Brian M. Cogan on 11/12/2024. (TLH) (Entered:
                   11/12/2024)
11/12/2024   252 JUDGMENT, All claims in the complaints transferred into the above−captioned
                 master docket are dismissed with prejudice. The Clerk is instructed to enter
                 JUDGMENT dismissing all claims in any complaint in this multidistrict litigation.
                 This is a final, appealable judgment that resolves all of the claims in all of the cases in
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                   this multidistrict litigation. The in−person Status Conference currently scheduled for
                   1:00 p.m. ET on November 21, 2024, is hereby adjourned. So Ordered by Judge Brian
                   M. Cogan on 11/12/2024. Associated Cases: 1:23−md−03089−BMC et al. (TLH)
                   (Entered: 11/12/2024)
11/15/2024   253 MOTION to Alter Judgment pursuant to Federal Rule of Civil Procedure 60(b), for
                 Partial Relief from the Order Entering Judgment entered by this Court on November
                 12, 2024, and for Remand of its individual lawsuit to the Federal District Court for the
                 Southern District of Ohio by Newton's Pharmacy, Inc.. (Attachments: # 1
                 Memorandum in Support, # 2 Exhibit A − Complaint, # 3 Exhibit B − Conditional
                 Transfer Order) (Beridon, Alyson) (Entered: 11/15/2024)
11/18/2024   254 MOTION to Withdraw as Attorney by Johnson & Johnson Consumer Inc.. (Hamilton,
                 Emilie) (Entered: 11/18/2024)
11/18/2024         ORDER granting 254 Motion to Withdraw as Attorney. Attorney Emilie W. Hamilton
                   terminated. Ordered by Judge Brian M. Cogan on 11/18/2024. (PW) (Entered:
                   11/18/2024)
11/27/2024   255 MEMORANDUM in Opposition re 253 MOTION to Alter Judgment pursuant to
                 Federal Rule of Civil Procedure 60(b), for Partial Relief from the Order Entering
                 Judgment entered by this Court on November 12, 2024, and for Remand of its
                 individual lawsuit to the Federal District Court for t filed by The Procter & Gamble
                 Company, Haleon US Holdings LLC, Johnson & Johnson Consumer Inc., RB Health
                 (US) LLC. (Soukup, Andrew) (Entered: 11/27/2024)
12/04/2024   256 REPLY in Support re 253 MOTION to Alter Judgment pursuant to Federal Rule of
                 Civil Procedure 60(b), for Partial Relief from the Order Entering Judgment entered by
                 this Court on November 12, 2024, and for Remand of its individual lawsuit to the
                 Federal District Court for t filed by Newton's Pharmacy, Inc.. (Attachments: # 1
                 Exhibit 1 − April 2, 2024, Hearing Transcript) (Beridon, Alyson) (Entered:
                 12/04/2024)
12/09/2024   257 NOTICE OF APPEAL as to 252 Judgment,, 249 Order on Motion to Dismiss for
                 Failure to State a Claim by Plaintiffs. Filing fee $ 605, receipt number
                 ANYEDC−18563090. Appeal Record due by 12/23/2024. (Selbin, Jonathan) (Entered:
                 12/09/2024)
12/09/2024         Electronic Index to Record on Appeal sent to US Court of Appeals. 257 Notice of
                   Appeal Documents are available via Pacer. For docket entries without a hyperlink or
                   for documents under seal, contact the court and we'll arrange for the document(s) to be
                   made available to you. (VJ) (Entered: 12/09/2024)
12/11/2024   258 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on
                 8/20/2024, for hearing type Status Conference, before Judge Brian M. Cogan. Court
                 Reporter/Transcriber Andronikh Barna, Telephone number 718−613−2178. Email
                 address: ambarna.crr@gmail.com. Transcript may be viewed at the court public
                 terminal or purchased through the Court Reporter/Transcriber before the deadline for
                 Release of Transcript Restriction. After that date it may be obtained through
                 PACER.File redaction request using event "Redaction Request − Transcript" located
                 under "Other Filings − Other Documents". Redaction Request due 1/2/2025. Redacted
                 Transcript Deadline set for 1/13/2025. Release of Transcript Restriction set for
                 3/11/2025. (Barna, Andronikh) (Entered: 12/11/2024)
12/16/2024   259 MEMORANDUM DECISION AND ORDER dated 12/13/24 denying 253 Motion to
                 Alter Judgment re: Plaintiff Newton's Pharmacy, Inc., ("NPI") has moved for
                 reconsideration of the Court's dismissal of its Lanham Act claim. Reasoning that the
                 Court's order dismissing the initial streamlined complaint does not apply to federal
                 false−advertising claims, NPI seeks a remand of its claim to the Southern District of
                 Ohio. The Motion is Denied. ( Ordered by Judge Brian M. Cogan on 12/13/2024 )
                 (RG) (Entered: 12/16/2024)
01/10/2025   260 NOTICE OF APPEAL as to 259 Order on Motion to Alter Judgment,,, Memorandum
                 & Opinion,, 252 Judgment,, by Newton's Pharmacy, Inc.. Filing fee $ 605, receipt
                 number ANYEDC−18654579. (Beridon, Alyson) (Entered: 01/10/2025)
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                 Electronic Index to Record on Appeal sent to US Court of Appeals. 260 Notice of
                 Appeal Documents are available via Pacer. For docket entries without a hyperlink or
                 for documents under seal, contact the court and we'll arrange for the document(s) to be
                 made available to you. (VJ) (Entered: 01/13/2025)
